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      · · · · · · · · UNITED STATES DISTRICT COURT

      · · · · · · · · EASTERN DISTRICT OF MICHIGAN

      · · · · · · · · · · ·SOUTHERN DIVISION



      JOHNATHAN L. BURKS,

      · · · · · · ·Plaintiff,

      vs.· · · · · · · · · · · · · ·Case No. 2:19-cv-10027

      · · · · · · · · · · · · · · · Hon. Gershwin A. Drain

      BENNY NAPOLEAN, ET AL.,· · · ·Magistrate Judge Anthony Patti

      · · · · · · ·Defendants.

      ________________________/



      · · The Expert Deposition of CHIEF JAMES DAVIS,

      · · Taken at 4747 Woodward Avenue,

      · · Detroit, Michigan,

      · · Commencing at 9:12 a.m.,

      · · Friday, September 24, 2021,

      · · Before Laura T. Ambro, CSR-5882.




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                                 Chief James Davis
                                September 24, 2021

∑∑∑∑∑∑∑∑∑∑∑UNITED STATES DISTRICT COURT

∑∑∑∑∑∑∑∑∑∑∑EASTERN DISTRICT OF MICHIGAN

∑∑∑∑∑∑∑∑∑∑∑∑∑SOUTHERN DIVISION

∑

∑∑∑JOHNATHAN L. BURKS,

∑∑∑∑∑∑∑∑∑Plaintiff,

∑∑∑vs.∑∑∑∑∑∑∑∑∑∑∑∑∑∑Case No. 2:19-cv-10027

∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑Hon. Gershwin A. Drain

∑∑∑BENNY NAPOLEAN, ET AL.,∑∑∑∑Magistrate Judge Anthony Patti

∑∑∑∑∑∑∑∑∑Defendants.

∑∑∑________________________/

∑

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                                September 24, 2021
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     ∑1∑∑APPEARANCES:                                                       ∑1∑∑Detroit, Michigan
     ∑2                                                                     ∑2∑∑Friday, September 24, 2021
     ∑3∑∑SARAH S. PRESCOTT                                                  ∑3∑∑9:12 a.m.
     ∑4∑∑Porter & Porter, PLLC                                              ∑4
     ∑5∑∑105 East Main Street                                               ∑5∑∑∑∑∑∑∑∑∑∑∑∑CHIEF JAMES DAVIS,
     ∑6∑∑Northville, Michigan 48167                                         ∑6∑∑∑∑was thereupon called as a witness herein, and after
     ∑7∑∑248.679.8711                                                       ∑7∑∑∑∑having first been duly sworn to testify to the truth,
     ∑8∑∑prescott@sppplaw.com                                               ∑8∑∑∑∑the whole truth and nothing but the truth, was examined
     ∑9∑∑∑∑Appearing on behalf of the Plaintiff.                            ∑9∑∑∑∑and testified as follows:
     10                                                                     10∑∑∑∑∑∑∑∑∑∑∑∑∑∑EXAMINATION
     11∑∑PAUL T. O'NEILL                                                    11∑∑BY MS. PRESCOTT:
     12∑∑Assistant Corporation Counsel                                      12∑∑Q.∑∑Hello, Mr. Davis.∑It's nice to meet you in person.
     13∑∑500 Griswold                                                       13∑∑∑∑And thank you for your time here today.∑So, just as
     14∑∑30th Floor                                                         14∑∑∑∑before, we are in person.∑So, it's maybe a little
     15∑∑Detroit, Michigan 48226                                            15∑∑∑∑easier, I hope.∑I'm going to ask you questions.
     16∑∑313.967.6402                                                       16∑∑∑∑You're going to tell me what you know.∑Whatever your
     17∑∑poneill@waynecounty.com                                            17∑∑∑∑answers are.∑We have to try not to talk over each
     18∑∑∑∑Appearing on behalf of the Defendants.                           18∑∑∑∑other because Laura has to do her best to get exactly
     19                                                                     19∑∑∑∑what the words are.∑And when two people are speaking,
     20                                                                     20∑∑∑∑it makes it harder than the regular job.∑It's really
     21                                                                     21∑∑∑∑important that we also communicate clearly.∑So, there
     22                                                                     22∑∑∑∑might be times where you nod or you shrug your
     23                                                                     23∑∑∑∑shoulders.∑I might know what you mean, but I might ask
     24                                                                     24∑∑∑∑you to just say a yes or no for the record.∑And that's
     25                                                                     25∑∑∑∑why I do that.∑So, again, the record is really clear.

                                                                   Page 3                                                                      Page 5
     ∑1∑∑∑∑∑∑∑∑∑∑∑∑TABLE OF CONTENTS                                        ∑1∑∑∑∑It's also really important, in that vein of
     ∑2                                                                     ∑2∑∑∑∑communicating, that you let me know if you don't
     ∑3∑∑WITNESS∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑PAGE                                  ∑3∑∑∑∑understand anything.∑If you're not sure what I'm
     ∑4∑∑CAPTAIN REID CHAKRABARTY                                           ∑4∑∑∑∑asking, please let me know.∑Or if you need me to
     ∑5                                                                     ∑5∑∑∑∑clarify or define a term, okay?
     ∑6∑∑EXAMINATION                                                        ∑6∑∑A.∑∑Yes.
     ∑7∑∑BY MS. PRESCOTT: ..................................∑∑4             ∑7∑∑Q.∑∑All right.∑So, you are here today in what capacities
     ∑8                                                                     ∑8∑∑∑∑for the sheriff's office, as you understand it?
     ∑9∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑EXHIBITS                                              ∑9∑∑A.∑∑As I understand it, I believe I'm here in the capacity
     10                                                                     10∑∑∑∑of PREA director.
     11∑∑EXHIBIT∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑PAGE                                  11∑∑Q.∑∑And one of the things that we sent to counsel is a
     12∑∑Exhibits attached to transcript.                                   12∑∑∑∑request for you to bring along documents that relate to
     13                                                                     13∑∑∑∑your return to the county.∑So, I would ask you just
     14∑∑DEPOSITION EXHIBIT 1 ..............................∑∑8             14∑∑∑∑some background questions.∑As I understand it, you had
     15∑∑DEPOSITION EXHIBIT 2 ..............................∑15             15∑∑∑∑a career with the sheriff's office and it ended with a
     16∑∑DEPOSITION EXHIBIT 3 ..............................∑36             16∑∑∑∑retirement in 2014; is that right?
     17∑∑DEPOSITION EXHIBIT 4 .............................. 114            17∑∑A.∑∑Yes.
     18∑∑DEPOSITION EXHIBIT 5 .............................. 116            18∑∑Q.∑∑Okay.∑And then was the next thing that you did for the
     19∑∑DEPOSITION EXHIBIT 6 .............................. 120            19∑∑∑∑county a consulting position in the form of James Davis
     20                                                                     20∑∑∑∑Consulting, LLC?
     21                                                                     21∑∑A.∑∑No.
     22                                                                     22∑∑Q.∑∑Okay.∑So, what was between those two, between your
     23                                                                     23∑∑∑∑retirement and when you entered a consultancy under the
     24                                                                     24∑∑∑∑LLC?
     25                                                                     25∑∑A.∑∑I came back in a part-time capacity, I believe, some


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     ∑1∑∑∑∑time in 2015.                                                        ∑1∑∑Q.∑∑And did you bring the contract here with you today?
     ∑2∑∑Q.∑∑Okay.∑And did you have a title or a particular role                ∑2∑∑A.∑∑What you have today is what could be supplied by the
     ∑3∑∑∑∑that was assigned in that part-time capacity?                        ∑3∑∑∑∑administration director from her records.
     ∑4∑∑A.∑∑The reason for my return, as indicated by the sheriff's            ∑4∑∑Q.∑∑Okay.
     ∑5∑∑∑∑office, was to assist in police discipline and internal              ∑5∑∑A.∑∑And she sent those I think just yesterday or the day
     ∑6∑∑∑∑affairs investigations.                                              ∑6∑∑∑∑before.
     ∑7∑∑Q.∑∑And what was your understanding about why there would              ∑7∑∑Q.∑∑Okay.∑So, why don't we mark this first packet. I
     ∑8∑∑∑∑be somebody that would be doing that part time as                    ∑8∑∑∑∑don't want to write on it, since it's the only one.
     ∑9∑∑∑∑opposed to the regular staffing being able to cover                  ∑9∑∑∑∑But it consists of resolution 2017-590.∑Modifications,
     10∑∑∑∑those areas fully?                                                   10∑∑∑∑number 2 between the county of Wayne and James Davis
     11∑∑A.∑∑My understanding was I was brought in to augment the               11∑∑∑∑Consulting, LLC, which looks like a two-page document.
     12∑∑∑∑existing deputy chief over discipline and internal                   12∑∑∑∑And appendix B to that document.∑Modifications number
     13∑∑∑∑affairs and work in her stead while she attended the                 13∑∑∑∑3 between the county of Wayne and James Davis
     14∑∑∑∑FBI academy.                                                         14∑∑∑∑Consulting, LLC.∑And that was executed, it looks like,
     15∑∑Q.∑∑Okay.∑Did you, in fact -- was that, in fact, what you              15∑∑∑∑3/6/18.∑There might be two copies of that.∑But I'll
     16∑∑∑∑did?∑In other words, did you, in fact, assist with                   16∑∑∑∑hand them to the witness.∑So, there's apparently two
     17∑∑∑∑police discipline and IA during that part-time                       17∑∑∑∑copies of the modifications number 3.∑But we'll ask
     18∑∑∑∑consultancy?                                                         18∑∑∑∑the witness if they're different.
     19∑∑A.∑∑Yes.                                                               19∑∑∑∑∑∑∑∑∑So, that's the resolution of one page;
     20∑∑Q.∑∑Were there other duties or responsibilities during that            20∑∑∑∑modifications 2, two pages; the appendix is one page;
     21∑∑∑∑part-time period before you formed the LLC and entered               21∑∑∑∑modifications number 3 is two pages; and there might be
     22∑∑∑∑an agreement with the LLC?                                           22∑∑∑∑a duplicate of two pages.∑So, we're going to mark this
     23∑∑A.∑∑Yes.∑Because of my experience in the agency, I also                23∑∑∑∑as Exhibit 1.
     24∑∑∑∑assisted with policy.∑I assisted in litigation. I                    24∑∑∑∑∑∑∑∑∑MARKED FOR IDENTIFICATION:
     25∑∑∑∑assisted in labor arbitration and general duties.                    25∑∑∑∑∑∑∑∑∑DEPOSITION EXHIBIT 1

                                                                       Page 7                                                                     Page 9
     ∑1∑∑Q.∑∑Okay.∑And are there any other areas of assistance that             ∑1∑∑∑∑∑∑∑∑∑9:20 a.m.
     ∑2∑∑∑∑you worked in that you can recall right now during this              ∑2∑∑BY MS. PRESCOTT:
     ∑3∑∑∑∑part-time period?                                                    ∑3∑∑Q.∑∑My question is is Exhibit 1 the item that you were
     ∑4∑∑A.∑∑No.                                                                ∑4∑∑∑∑referring to that had been supplied by administration
     ∑5∑∑Q.∑∑And are there particular areas of policy that you                  ∑5∑∑∑∑in the last day or so relative to your agreements with
     ∑6∑∑∑∑worked in during that part-time period?                              ∑6∑∑∑∑the county?
     ∑7∑∑A.∑∑I generally assisted the current, the undersheriff of              ∑7∑∑A.∑∑Yes.
     ∑8∑∑∑∑that time frame and helped him with whatever policies                ∑8∑∑Q.∑∑And what it looks like is you first entered into an
     ∑9∑∑∑∑he was working on, which I didn't know would be many                 ∑9∑∑∑∑agreement with the county under the format of the LLC
     10∑∑∑∑different types.                                                     10∑∑∑∑in November of 2015.∑It says the parties entered into
     11∑∑Q.∑∑Who was the undersheriff at the time?                              11∑∑∑∑a contract for the term of November 1st, 2015 through
     12∑∑A.∑∑Daniel Phannas.                                                    12∑∑∑∑September 30th, 2016.∑Have I read that correctly on
     13∑∑Q.∑∑P-h-a-n-n-a-s?                                                     13∑∑∑∑the first page?∑So, that's the first page of
     14∑∑A.∑∑Yes.                                                               14∑∑∑∑modifications number 2.∑Do you think that November
     15∑∑Q.∑∑And do you know how long you filled this part-time role            15∑∑∑∑1st, 2015 was the time when you became full time?
     16∑∑∑∑in which you were assisting in these ways you've just                16∑∑A.∑∑Yes.
     17∑∑∑∑described?                                                           17∑∑Q.∑∑Okay.∑And is it the case that you do not have the
     18∑∑A.∑∑As you may know, the county of Wayne allows retired                18∑∑∑∑original copy that we're seeing a modifications number
     19∑∑∑∑workers to work in a part-time capacity up to 1,000                  19∑∑∑∑2 of?
     20∑∑∑∑hours.∑I would have reached the hour maximum, I can't                20∑∑A.∑∑I believe that the county has it.∑And the supervisor
     21∑∑∑∑recall if it's the end of '15 or the beginning of '16.               21∑∑∑∑is out due to Covid until the beginning of October.
     22∑∑∑∑And then I returned in the full-time capacity.                       22∑∑∑∑And I think at that point we could find the complete
     23∑∑Q.∑∑Okay.∑And did you create an LLC in which to do that                23∑∑∑∑contract.
     24∑∑∑∑and enter under a contract?                                          24∑∑Q.∑∑Okay.∑You don't have a copy of the original?
     25∑∑A.∑∑Yes.                                                               25∑∑A.∑∑I may.∑I would have to -- I would need more time to


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     ∑1∑∑∑∑look for a copy.                                                     ∑1∑∑∑∑you would want as an appointment.
     ∑2∑∑Q.∑∑Okay.∑And so, was the county increasing your pay in                ∑2∑∑Q.∑∑Okay.∑And so --
     ∑3∑∑∑∑these different modifications?                                       ∑3∑∑A.∑∑The rest of those are together.
     ∑4∑∑A.∑∑My recollection is not an increase.∑It's each year                 ∑4∑∑Q.∑∑So, the memo, 2016 summary of service and activities,
     ∑5∑∑∑∑we're building on the previous year.∑The compensation                ∑5∑∑∑∑goes with the remaining document as like an attachment?
     ∑6∑∑∑∑did not increase.                                                    ∑6∑∑A.∑∑Yes.
     ∑7∑∑Q.∑∑Are you working under the same original contract, just             ∑7∑∑Q.∑∑So, what are you doing in this memo?∑What is this memo
     ∑8∑∑∑∑with labor modifications, all the way up to now?                     ∑8∑∑∑∑for?
     ∑9∑∑A.∑∑No.                                                                ∑9∑∑A.∑∑That memo, I recall, was -- the purpose of it was to
     10∑∑Q.∑∑Is there a time that you ended the contracts reflected             10∑∑∑∑provide the current commissioners a summary of
     11∑∑∑∑in Exhibit 1?                                                        11∑∑∑∑activities.
     12∑∑A.∑∑I believe in '18.                                                  12∑∑Q.∑∑All right.∑And so, was it for the purpose of just
     13∑∑Q.∑∑And then what happened with regard to your employment              13∑∑∑∑letting them know a year end, or a period year ending,
     14∑∑∑∑or consultancy or whatever arrangements you had with                 14∑∑∑∑or periodic update, or why?
     15∑∑∑∑the county?                                                          15∑∑A.∑∑It may have been requested by the commissioner's staff
     16∑∑A.∑∑I continued from then until now as a part-time                     16∑∑∑∑that present contracts to the commissioners.
     17∑∑∑∑1,000-hour employee.                                                 17∑∑Q.∑∑Okay.∑And so, in that year that you come on board,
     18∑∑Q.∑∑Okay.∑And because you worked under the thousand hours,             18∑∑∑∑around November of '15 and up to September of '16, you
     19∑∑∑∑you don't need to have a separate consultancy?                       19∑∑∑∑say year long advising and assisting with departmental
     20∑∑A.∑∑Correct.                                                           20∑∑∑∑discipline and assistance to the deputy chief.∑And
     21∑∑Q.∑∑I see.                                                             21∑∑∑∑that's one of the things you were spending your time
     22∑∑A.∑∑Correct.                                                           22∑∑∑∑doing, right?
     23∑∑Q.∑∑I see.∑Let me just give this a look.∑Do you recall                 23∑∑A.∑∑Correct.
     24∑∑∑∑the date -- well, let me back up before we move off of               24∑∑Q.∑∑And then you were also, as you said, you were advising
     25∑∑∑∑this.                                                                25∑∑∑∑and assisting with litigation and assistance to the

                                                                      Page 11                                                                       Page 13
     ∑1∑∑∑∑∑∑∑∑∑Do you know of any difference between the two                   ∑1∑∑∑∑sheriff's legal advisor, right?
     ∑2∑∑∑∑versions of modifications number 3 that are the last                 ∑2∑∑A.∑∑Yes.
     ∑3∑∑∑∑four pages of the exhibit?                                           ∑3∑∑Q.∑∑And you were also -- you mentioned earlier you were
     ∑4∑∑A.∑∑It looks like our administrator sent a double.                     ∑4∑∑∑∑working on some policies here.∑You say departmental
     ∑5∑∑Q.∑∑Okay.∑All right.∑Fair enough.∑I didn't see any                     ∑5∑∑∑∑policy review handcuffing, transportation of prisoners.
     ∑6∑∑∑∑differences, but we can look at them minutely later.                 ∑6∑∑∑∑Did you work on that policy?
     ∑7∑∑∑∑∑∑∑∑∑These contracts don't seem, or at least the                     ∑7∑∑A.∑∑Yes.
     ∑8∑∑∑∑Exhibit 1, I don't see a title for you.∑Do you know                  ∑8∑∑Q.∑∑And then you worked with the county department of
     ∑9∑∑∑∑when you obtained the title of the capacity you are                  ∑9∑∑∑∑technology as well to develop and implement a database
     10∑∑∑∑talking about being here today, the PREA director?                   10∑∑∑∑for background checks of investigators during that same
     11∑∑A.∑∑My recollection is 2016.                                           11∑∑∑∑year?
     12∑∑Q.∑∑Okay.∑Do you know when in that year?                               12∑∑A.∑∑Yes.
     13∑∑A.∑∑I don't remember exactly, but I think it would                     13∑∑Q.∑∑And then you worked on counseling of female victims of
     14∑∑∑∑correspond with that first full-time contract.∑So,                   14∑∑∑∑sexual abuse and there is a SAFE contract that you
     15∑∑∑∑perhaps November of '15.                                             15∑∑∑∑worked on that same year?
     16∑∑Q.∑∑Okay.∑The other document that you've supplied here                 16∑∑A.∑∑Yes.
     17∑∑∑∑reads Wayne County Sheriff's Office departmental                     17∑∑Q.∑∑And you did a whole policy review of the whole library
     18∑∑∑∑communications.∑It's a memo to all concerned from                    18∑∑∑∑service?
     19∑∑∑∑James Davis Consulting, LLC dated September 14th, 2016.              19∑∑A.∑∑Yes.
     20∑∑∑∑And the subject line is 2016 summary of services and                 20∑∑Q.∑∑And you worked on knock and announce rules for when
     21∑∑∑∑activities.∑And then that's -- let's mark that -- is                 21∑∑∑∑people would be coming in, for example, a male into a
     22∑∑∑∑this its own document?∑It was clipped with other ones.               22∑∑∑∑woman's bathroom or female into men's?
     23∑∑A.∑∑It goes with the attachments, except for the                       23∑∑A.∑∑Not into the bathroom.∑The PREA rules require that
     24∑∑∑∑appointment.∑I was trying to find this for today, the                24∑∑∑∑cross gender viewing is curtailed as much as possible.
     25∑∑∑∑appointment.∑I thought that would be something that                  25∑∑∑∑And my advisory to the jails was to create a rule that


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     ∑1∑∑∑∑would require opposite gender deputies, when they were                ∑1∑∑BY MS. PRESCOTT:
     ∑2∑∑∑∑assigned to a unit in that capacity, that they announce               ∑2∑∑Q.∑∑Can you tell me what that is.∑I've just handed it to
     ∑3∑∑∑∑that the opposite sex is present and will be doing                    ∑3∑∑∑∑you.
     ∑4∑∑∑∑rounds.                                                               ∑4∑∑A.∑∑This is the sheriff officially appointing me as a
     ∑5∑∑Q.∑∑Okay.∑Do you work with jail command and advise jail                 ∑5∑∑∑∑police officer in his department.
     ∑6∑∑∑∑command on rules regarding the youthful inmate                        ∑6∑∑Q.∑∑Had you been initially appointed police officer in his
     ∑7∑∑∑∑population as well as inmates in general?                             ∑7∑∑∑∑department prior to this date at any time after your
     ∑8∑∑A.∑∑Yes.                                                                ∑8∑∑∑∑2014 retirement?∑In other words, was there a gap in
     ∑9∑∑Q.∑∑You worked in collaboration with Wayne State during                 ∑9∑∑∑∑there?
     10∑∑∑∑that same year?                                                       10∑∑A.∑∑There was.∑To have my police powers expire, there was
     11∑∑A.∑∑Yes.                                                                11∑∑∑∑a gap, but it was --
     12∑∑Q.∑∑And I think you previously have mentioned this. I                   12∑∑Q.∑∑From when?
     13∑∑∑∑don't remember in your testimony, but when you work on                13∑∑A.∑∑From retirement on 1/1/2014 until I returned in '15.
     14∑∑∑∑a policy, that's not you sitting in a room and I'm                    14∑∑∑∑Some time in 2015 is my recollection, in a part-time
     15∑∑∑∑going to write up a policy.∑You have to coordinate                    15∑∑∑∑capacity.
     16∑∑∑∑with lots of different groups of people and go through                16∑∑Q.∑∑Okay.∑So then, why did he need to do an appointment in
     17∑∑∑∑iterations, drafts?∑There is a whole process that goes                17∑∑∑∑Exhibit 2 if they weren't expired?
     18∑∑∑∑with those things, right?                                             18∑∑A.∑∑The Michigan Commission On Law Enforcement Standards
     19∑∑A.∑∑Yes.                                                                19∑∑∑∑says if you're a sworn police officer in the state of
     20∑∑Q.∑∑And it takes quite a lot of time, doesn't it?                       20∑∑∑∑Michigan, and employment ends, and you worked a
     21∑∑A.∑∑Yes.                                                                21∑∑∑∑sufficient amount of time, you are eligible to be
     22∑∑Q.∑∑In your memo that you summarize what you've been doing,             22∑∑∑∑re-sworn in by any state police agency within two
     23∑∑∑∑could you, sitting here today, tell how much time you                 23∑∑∑∑years.∑The sheriff would have to officially swear me
     24∑∑∑∑spent on any one of the bullet points in your memo                    24∑∑∑∑back in upon return after an official separation.
     25∑∑∑∑versus any other time?                                                25∑∑Q.∑∑But only after the two years?

                                                                       Page 15                                                                     Page 17
     ∑1∑∑A.∑∑That would be very difficult.                                       ∑1∑∑A.∑∑Any time there was a break in service.∑Two standards,
     ∑2∑∑Q.∑∑You don't have -- so us lawyers, we will write down, at             ∑2∑∑∑∑state of Michigan standards and police department
     ∑3∑∑∑∑the end of the day, whatever, depose James Davis.∑You                 ∑3∑∑∑∑standards.
     ∑4∑∑∑∑didn't do that?                                                       ∑4∑∑Q.∑∑Okay.∑So, which standard required -- or both required
     ∑5∑∑A.∑∑I did not.                                                          ∑5∑∑∑∑Exhibit 2 to happen?
     ∑6∑∑Q.∑∑You didn't have to submit billing that accounted for                ∑6∑∑A.∑∑To be employed as a police officer, Exhibit 2 has to be
     ∑7∑∑∑∑like today I accounted for this policy and today I met                ∑7∑∑∑∑signed and executed.
     ∑8∑∑∑∑with so and so on that program at Wayne State?                        ∑8∑∑Q.∑∑Right.∑And is that according to which standard, or
     ∑9∑∑A.∑∑That was not required.                                              ∑9∑∑∑∑both?
     10∑∑Q.∑∑Did you do it?                                                      10∑∑A.∑∑According to a police agency standard.∑To work as a
     11∑∑A.∑∑No.                                                                 11∑∑∑∑police officer, you have to be sworn in as a police
     12∑∑Q.∑∑Are the items that you brought today that were attached             12∑∑∑∑officer for the agency that you work for.∑Separate
     13∑∑∑∑to your 2016 summary of services and activities                       13∑∑∑∑from the MCOLES standard of the ability to be sworn in
     14∑∑∑∑attachments that went with the memo originally?                       14∑∑∑∑as a certified police officer in the state of Michigan
     15∑∑A.∑∑Yes.                                                                15∑∑∑∑through training.
     16∑∑Q.∑∑And are they the only attachments that went with the                16∑∑Q.∑∑So, MCOLES says you can be sworn in.∑The police agency
     17∑∑∑∑memo originally?                                                      17∑∑∑∑standard says you need to be sworn in -- not that --
     18∑∑A.∑∑Yes.                                                                18∑∑∑∑it's possible you could go to Grosse Ile or Lansing or
     19∑∑Q.∑∑Okay.∑One of the items you brought here today you                   19∑∑∑∑wherever and take your history and your experience with
     20∑∑∑∑mentioned was something called appointment?                           20∑∑∑∑you.∑But at the sheriff's office, there was an agency
     21∑∑A.∑∑Yes.                                                                21∑∑∑∑standard that said you need to be appointed and sworn,
     22∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑Let's mark that as 2.                              22∑∑∑∑right?
     23∑∑∑∑∑∑∑∑∑MARKED FOR IDENTIFICATION:                                       23∑∑A.∑∑All 612 agencies would require a swear-in document for
     24∑∑∑∑∑∑∑∑∑DEPOSITION EXHIBIT 2                                             24∑∑∑∑their own documentation that you're qualified through
     25∑∑∑∑∑∑∑∑∑9:33 a.m.                                                        25∑∑∑∑MCOLES training to be a -- it's the final act to be an


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     ∑1∑∑∑∑employee for a police department.                                    ∑1∑∑A.∑∑The document we turned in today.
     ∑2∑∑Q.∑∑Fair.∑So, you had your MCOLES.∑There is no question                ∑2∑∑Q.∑∑Anything else?
     ∑3∑∑∑∑about it.∑And in '14 you go to retire.∑In order to                   ∑3∑∑A.∑∑No.
     ∑4∑∑∑∑return to the Wayne County Sheriff, because you had a                ∑4∑∑Q.∑∑You were part of a larger deposition in which there was
     ∑5∑∑∑∑full retirement and you were separated, you then needed              ∑5∑∑∑∑a technical court rule that is called 30(b)(6) where
     ∑6∑∑∑∑to be re-appointed and sworn, correct?                               ∑6∑∑∑∑you spoke for the department.∑But there were other
     ∑7∑∑A.∑∑If you want to work in the capacity of police officer.             ∑7∑∑∑∑people in other areas of specialty that also spoke and
     ∑8∑∑∑∑The sheriff certainly can hire a civilian who is an                  ∑8∑∑∑∑also testified.∑Did you review any of their
     ∑9∑∑∑∑unsworn police officer.                                              ∑9∑∑∑∑depositions?
     10∑∑Q.∑∑Okay.∑And that's what he did with you, right?∑You                  10∑∑A.∑∑No.
     11∑∑∑∑weren't technically a sworn officer in 2015 until                    11∑∑Q.∑∑So, for example, Mr. Ramel, classifications director,
     12∑∑∑∑Exhibit 2 happens in 2016, and then eventually he                    12∑∑∑∑have you seen his deposition?
     13∑∑∑∑actually re-swears you as an officer; is that right?                 13∑∑A.∑∑I did not review his deposition.
     14∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Excuse me.∑Objection as to the                     14∑∑Q.∑∑How about Commander Cane?
     15∑∑∑∑date of the document you're showing him, the witness.                15∑∑A.∑∑No.
     16∑∑BY MS. PRESCOTT:                                                       16∑∑Q.∑∑Am I correct -- well, with regard to your own
     17∑∑Q.∑∑Okay.∑Am I right?                                                  17∑∑∑∑deposition testimony, was there anything in the
     18∑∑A.∑∑Yes.                                                               18∑∑∑∑testimony that you feel needs to be contradicted or
     19∑∑Q.∑∑And so, was there any time before Exhibit 2 is issued              19∑∑∑∑corrected here today?
     20∑∑∑∑that you, or somebody with a title or duties of the                  20∑∑A.∑∑No.
     21∑∑∑∑deputy sheriff -- because this document appoints you                 21∑∑Q.∑∑Am I correct that you never met Mr. Martin Solomon, the
     22∑∑∑∑deputy sheriff.∑So, was that applicable before this                  22∑∑∑∑rapist in this case?
     23∑∑∑∑document, just not officially?∑Or how would you                      23∑∑A.∑∑That is correct.
     24∑∑∑∑describe it?                                                         24∑∑Q.∑∑You've never met my client, Mr. Burks, correct?
     25∑∑A.∑∑It is and was applicable.∑And this is a document I                 25∑∑A.∑∑Correct.

                                                                      Page 19                                                                        Page 21
     ∑1∑∑∑∑could find that represented 2016.                                    ∑1∑∑Q.∑∑Have you ever, all the way up to today, reviewed the
     ∑2∑∑Q.∑∑Okay.∑So, you're saying before it was technically --               ∑2∑∑∑∑internal affairs file relative to the rape?
     ∑3∑∑∑∑that you were deputy sheriff under this document, you                ∑3∑∑A.∑∑Yes.
     ∑4∑∑∑∑were operating as deputy sheriff?                                    ∑4∑∑Q.∑∑When did you do that?
     ∑5∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Objection, vague.∑I don't                          ∑5∑∑A.∑∑I did that prior to the first deposition.∑I believe it
     ∑6∑∑∑∑understand the question.                                             ∑6∑∑∑∑was part of that.
     ∑7∑∑BY MS. PRESCOTT:                                                       ∑7∑∑Q.∑∑Okay.∑I think you testified that you looked through it
     ∑8∑∑Q.∑∑Is that right?                                                     ∑8∑∑∑∑and not in detail; is that correct?
     ∑9∑∑A.∑∑There may be a previous signed appointment from the                ∑9∑∑A.∑∑I don't recall.
     10∑∑∑∑part-time phase.                                                     10∑∑Q.∑∑Okay.∑Whether you said that or not, would it be
     11∑∑Q.∑∑Fair.∑There might be.∑I get you.∑But all I'm asking                11∑∑∑∑correct to say that you looked through it but not in
     12∑∑∑∑is were you acting in a role called deputy sheriff                   12∑∑∑∑great detail?
     13∑∑∑∑before Exhibit 2?                                                    13∑∑A.∑∑Yes.
     14∑∑A.∑∑Yes.                                                               14∑∑Q.∑∑Am I correct that you were not in your capacity of a
     15∑∑Q.∑∑That's all I wanted to understand.                                 15∑∑∑∑part-time employee or under the James Davis, LLC
     16∑∑∑∑∑∑∑∑∑You had the pleasure and honor of                               16∑∑∑∑consultancy?∑You did not have any role whatsoever in
     17∑∑∑∑representing the sheriff's office previously in this                 17∑∑∑∑running the internal affairs investigation as to
     18∑∑∑∑case.∑You were deposed.∑Since that day, right up                     18∑∑∑∑Solomon and Burks?
     19∑∑∑∑until we sat down and I started asking you questions,                19∑∑A.∑∑Other than ensuring that it happened and communicating
     20∑∑∑∑what have you reviewed in terms of documents or                      20∑∑∑∑with them that they were conducting an investigation.
     21∑∑∑∑materials having anything to do with this case?                      21∑∑Q.∑∑Is that your total role, from beginning to end,
     22∑∑A.∑∑I reviewed my original deposition testimony. I                     22∑∑∑∑anything to do with the IA investigation of Solomon and
     23∑∑∑∑reviewed two documents supplied by you as expert                     23∑∑∑∑Burks?
     24∑∑∑∑testimony.                                                           24∑∑A.∑∑Yes.
     25∑∑Q.∑∑Anything else?                                                     25∑∑Q.∑∑Internal affairs, when you say communicating with them


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     ∑1∑∑∑∑that they were conducting an investigation, who                       ∑1∑∑∑∑investigation?
     ∑2∑∑∑∑specifically do you mean?                                             ∑2∑∑A.∑∑I believe it was Builivant.∑I just recall that
     ∑3∑∑A.∑∑The practice would have been to talk to the captain or              ∑3∑∑∑∑Chakrabarty did take a turn at that job, but I don't
     ∑4∑∑∑∑e-mail the captain.∑We would be notified as an                        ∑4∑∑∑∑recall when that was.
     ∑5∑∑∑∑executive group that there was an assault.                            ∑5∑∑Q.∑∑Did you talk to Chakrabarty about Solomon and Burks at
     ∑6∑∑Q.∑∑Okay.∑Do you have a specific memory, sitting here, of               ∑6∑∑∑∑any time?
     ∑7∑∑∑∑talking to or e-mailing a captain about the Solomon and               ∑7∑∑A.∑∑No.
     ∑8∑∑∑∑Burks allegations?                                                    ∑8∑∑Q.∑∑Or e-mail?
     ∑9∑∑A.∑∑Not other than it was my practice.                                  ∑9∑∑A.∑∑Not that I can recall.
     10∑∑Q.∑∑Do you remember who the captain was that was                        10∑∑Q.∑∑And you haven't seen any e-mails with him about, you
     11∑∑∑∑responsible and in charge?                                            11∑∑∑∑know, following up on the unfolding of the case, that
     12∑∑A.∑∑I imagine that would be Builivant.                                  12∑∑∑∑sort of thing?
     13∑∑Q.∑∑But that you don't know for positive?                               13∑∑A.∑∑No, not on my computer.
     14∑∑A.∑∑I'm fairly certain he was in that role in 2016.                     14∑∑Q.∑∑Did you ever listen to the investigatory tapes, the
     15∑∑Q.∑∑And do you recall any communications that you and he                15∑∑∑∑questioning by the investigator that went on in this
     16∑∑∑∑had, about the Solomon and Burks allegations, other                   16∑∑∑∑sexual assault matter?
     17∑∑∑∑than that it would have been your practice to say are                 17∑∑A.∑∑No.
     18∑∑∑∑you sure you are investigating?                                       18∑∑Q.∑∑Would it be correct to say that you were not on board
     19∑∑A.∑∑We would have follow-up communication regarding the                 19∑∑∑∑6/10 the night of the sexual assault?
     20∑∑∑∑unfolding of the case.∑That there wasn't going to be a                20∑∑A.∑∑I would be working days.
     21∑∑∑∑charge.∑That they were going to refer to the                          21∑∑Q.∑∑And in fact, you didn't go into the wards as part of
     22∑∑∑∑prosecutor for charges.                                               22∑∑∑∑your regular day-to-day activity, right?
     23∑∑Q.∑∑Do you remember, sitting here today, having that                    23∑∑A.∑∑No.
     24∑∑∑∑particular conversation with anyone, Builivant or                     24∑∑Q.∑∑Am I correct?
     25∑∑∑∑anyone else?                                                          25∑∑A.∑∑Correct.

                                                                       Page 23                                                                       Page 25
     ∑1∑∑A.∑∑I believe it's too long ago to have that clarity of                 ∑1∑∑Q.∑∑Thank you.∑Did you ever talk to Commander Cane about
     ∑2∑∑∑∑memory other than that was my practice.                               ∑2∑∑∑∑the Burks and Solomon sexual assault?
     ∑3∑∑Q.∑∑You haven't seen any documents that reflect an e-mail               ∑3∑∑A.∑∑Not that I can recall.
     ∑4∑∑∑∑exchange of the kind you've just described, have you?                 ∑4∑∑Q.∑∑Or e-mail with her about it?
     ∑5∑∑A.∑∑No.                                                                 ∑5∑∑A.∑∑Not that I recall.∑It's possible, but I don't recall.
     ∑6∑∑Q.∑∑Do you think that e-mails might exist?∑Or have you                  ∑6∑∑Q.∑∑Do you know -- would either Chakrabarty or Builivant be
     ∑7∑∑∑∑looked?                                                               ∑7∑∑∑∑essentially the head of IA at the time, being a
     ∑8∑∑A.∑∑I believe we searched for e-mails and we would have                 ∑8∑∑∑∑captain?
     ∑9∑∑∑∑turned those over.∑So, my guess is we would have                      ∑9∑∑A.∑∑Yes.∑They would both be captains in their role.
     10∑∑∑∑talked on that.                                                       10∑∑Q.∑∑And is that -- is AI headed by a captain?
     11∑∑Q.∑∑Have you talked to -- he is now Commander Builivant.                11∑∑A.∑∑Yes.
     12∑∑∑∑Have you talked to Builivant about the Solomon and                    12∑∑Q.∑∑You didn't interview any witness, you personally in the
     13∑∑∑∑Burks matter since the lawsuit was filed at any time?                 13∑∑∑∑Burks and Solomon effort, right?
     14∑∑A.∑∑I don't think in any detail.∑I think I know he was                  14∑∑A.∑∑No.
     15∑∑∑∑deposed.∑I don't know if we were deposed on the same                  15∑∑Q.∑∑And have you ever read any witness statements in that
     16∑∑∑∑day.∑Not regarding the case.                                          16∑∑∑∑matter?
     17∑∑Q.∑∑Do you know Mr. Chakrabarty's role in IA at the time of             17∑∑A.∑∑It's possible if it was part of the IA packet.
     18∑∑∑∑the Solomon and Burks allegations?                                    18∑∑Q.∑∑But you're not sure?
     19∑∑A.∑∑I imagine he's working in the jail.∑But he did have a               19∑∑A.∑∑No.
     20∑∑∑∑short stint as IA captain.∑And he left, and I'm not                   20∑∑Q.∑∑Do you know who did do the witness interviews or the
     21∑∑∑∑sure, sitting here today, what the dates are.∑But if                  21∑∑∑∑investigation of the Solomon and Burks matter?
     22∑∑∑∑he wasn't the IA captain, he was certainly assigned in                22∑∑A.∑∑I don't recall who signed that report.
     23∑∑∑∑the jail.                                                             23∑∑Q.∑∑Okay.∑Do you know of any discussion or dialogue
     24∑∑Q.∑∑So, do you know whether it was Builivant or Chakrabarty             24∑∑∑∑between IA and Commander Cane about Burks and Solomon,
     25∑∑∑∑that was responsible at the time of the IA                            25∑∑∑∑even if you weren't the one sort of making this happen?


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      ∑1∑∑∑∑Do you know of dialogue they had with regard to Burks                 ∑1∑∑∑∑whatever would be in the internal affairs file are the
      ∑2∑∑∑∑and Solomon?                                                          ∑2∑∑∑∑things that you might have seen.∑If it wasn't in that
      ∑3∑∑A.∑∑I do not.                                                           ∑3∑∑∑∑file, then you wouldn't have seen any intake or
      ∑4∑∑Q.∑∑Did you participate in any sort of review of the file               ∑4∑∑∑∑classification documents?
      ∑5∑∑∑∑after the IA investigation was -- the steps of the                    ∑5∑∑A.∑∑Generally not.
      ∑6∑∑∑∑investigation were complete with anyone in the chain of               ∑6∑∑Q.∑∑Have you ever reviewed the Odyssey, the history of
      ∑7∑∑∑∑command at the sheriff's office?                                      ∑7∑∑∑∑charges against Solomon?
      ∑8∑∑A.∑∑As I previously stated, I would have had a discussion               ∑8∑∑A.∑∑I've seen the jail charge sheet, but not the Odyssey
      ∑9∑∑∑∑with the captain regarding its status, which would be                 ∑9∑∑∑∑sheets or any LEIN information.
      10∑∑∑∑my practice.                                                          10∑∑Q.∑∑Have you ever reviewed his medical for any time before
      11∑∑Q.∑∑Anything beyond that?                                               11∑∑∑∑the rape?
      12∑∑A.∑∑We would have had our -- we would have met regarding                12∑∑A.∑∑No.
      13∑∑∑∑quarterly report or annual report.∑We would discuss                   13∑∑Q.∑∑Have you ever spoken with -- do you know who the named
      14∑∑∑∑the cases over the time frame of reporting time to                    14∑∑∑∑defendants are in this case, the individual officers?
      15∑∑∑∑discuss them.                                                         15∑∑A.∑∑No.
      16∑∑Q.∑∑Who are you talking about as we there, we would have                16∑∑Q.∑∑Have you talked to any individual officers who were
      17∑∑∑∑met?                                                                  17∑∑∑∑floor security staff on the night of the assault?
      18∑∑A.∑∑The internal affairs captain and myself.                            18∑∑A.∑∑No.
      19∑∑Q.∑∑Okay.∑When you talk about reporting, are you talking                19∑∑Q.∑∑About the case?
      20∑∑∑∑about to the bureau of prisons?                                       20∑∑A.∑∑No.
      21∑∑A.∑∑Both reports -- the report to the bureau of prisons and             21∑∑Q.∑∑Did you ever speak with any of the prosecutors or
      22∑∑∑∑the report for the three-months accounting of assaults                22∑∑∑∑police officers who were involved in the prosecution of
      23∑∑∑∑in jails.                                                             23∑∑∑∑Solomon as to Burks?
      24∑∑Q.∑∑And who did the three months of accounting of the                   24∑∑A.∑∑Other than the captain, no.
      25∑∑∑∑assaults in jails go to?                                              25∑∑Q.∑∑The captain wasn't -- do you know who the police

                                                                        Page 27                                                                        Page 29
      ∑1∑∑A.∑∑The three month report that we created we send to the               ∑1∑∑∑∑officers were that were involved in the criminal
      ∑2∑∑∑∑commission.                                                           ∑2∑∑∑∑prosecution?
      ∑3∑∑Q.∑∑Okay.∑So, am I -- if I'm understanding, every --                    ∑3∑∑A.∑∑No.
      ∑4∑∑∑∑periodically, in order to complete reports that had to                ∑4∑∑Q.∑∑You didn't talk to anybody from Kim Worthy's office,
      ∑5∑∑∑∑go out, you would meet with the head of IA to go over                 ∑5∑∑∑∑the DPD, did you?
      ∑6∑∑∑∑what the statistics are of how many allegations and                   ∑6∑∑A.∑∑No.
      ∑7∑∑∑∑what are the different resolutions?                                   ∑7∑∑Q.∑∑You obviously had an array of responsibilities in 2016.
      ∑8∑∑A.∑∑Yes.∑As well as the outcomes, the progress.                         ∑8∑∑∑∑But you were not in a supervisorial or command chain of
      ∑9∑∑Q.∑∑Am I correct that those aren't dialogues that are                   ∑9∑∑∑∑any of the floor security officers for 2016?
      10∑∑∑∑specific to the merits or the underlying claims as                    10∑∑A.∑∑Correct.
      11∑∑∑∑opposed to accounting for where are we in the process,                11∑∑Q.∑∑And you also weren't responsible for delivering
      12∑∑∑∑how many have been resolved, which categories do they                 12∑∑∑∑training to floor security staff, were you?
      13∑∑∑∑fit into?                                                             13∑∑A.∑∑Personally I did not deliver the training.
      14∑∑A.∑∑So, if you're talking about the criminal merits of the              14∑∑Q.∑∑And there is a whole training unit of people who do the
      15∑∑∑∑case, we would mention that, but I would not have an                  15∑∑∑∑development of the training and then track who is
      16∑∑∑∑opinion on that.                                                      16∑∑∑∑getting it and roll it out, right?
      17∑∑Q.∑∑All the way up to today, have you seen any of the                   17∑∑A.∑∑In a general sense, yes.∑But in 2016, the training
      18∑∑∑∑intake or classification documents for Burks or                       18∑∑∑∑that we rolled out was provided by the National
      19∑∑∑∑Solomon?                                                              19∑∑∑∑Institute of Corrections.∑They were computerized
      20∑∑A.∑∑Unless they were part of the investigatory packet that              20∑∑∑∑modules.
      21∑∑∑∑I reviewed, I would have seen what was provided by                    21∑∑Q.∑∑Okay.∑In terms of following up who is getting the
      22∑∑∑∑internal affairs.∑That could include charging sheets.                 22∑∑∑∑training on what schedule, is it happening,
      23∑∑∑∑But not anything specific to classification or any                    23∑∑∑∑accountability for is it happening, you weren't
      24∑∑∑∑computerized sorts of documents.                                      24∑∑∑∑operationalizing that for floor security staff in ward
      25∑∑Q.∑∑Okay.∑So, if I've understood correctly, your point is               25∑∑∑∑610 in 2016 or before, were you?


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      ∑1∑∑A.∑∑No.∑It was happening at a lower command level.                      ∑1∑∑∑∑academies put in some format of training relative to
      ∑2∑∑Q.∑∑When were you first appointed to do anything relative               ∑2∑∑∑∑the Prison Rape Elimination Act?∑Was it a requirement
      ∑3∑∑∑∑to training or studying, enforcing the Prison Rape                    ∑3∑∑∑∑to do so?
      ∑4∑∑∑∑Elimination Act?                                                      ∑4∑∑A.∑∑I don't think it was a requirement in 2003.∑And I
      ∑5∑∑A.∑∑Is there a window you're asking me to comment on, or                ∑5∑∑∑∑can't speak for today, because I no longer have an
      ∑6∑∑∑∑forever?                                                              ∑6∑∑∑∑administrative role with the Michigan Sheriff's
      ∑7∑∑Q.∑∑When was it your role to be somebody that was looking               ∑7∑∑∑∑Training and Coordinating Council.
      ∑8∑∑∑∑at the Prison Rape Elimination Act, how we need to                    ∑8∑∑Q.∑∑So, can you speak to when it became a requirement for
      ∑9∑∑∑∑behave under it, how we need to enforce it?                           ∑9∑∑∑∑all of the correctional academies that are accepted by
      10∑∑A.∑∑In 2003, I was the training director of the agency as a             10∑∑∑∑the Wayne County jail to be sufficient as hired?
      11∑∑∑∑lieutenant and we incorporated PREA into our then                     11∑∑A.∑∑I can speak to ours.∑It's always been included since
      12∑∑∑∑correctional academy.                                                 12∑∑∑∑2003.
      13∑∑Q.∑∑Okay.∑When were you responsible for any other aspect                13∑∑Q.∑∑Right.∑But you can't speak to others?
      14∑∑∑∑of the training or enforcing any Prison Rape                          14∑∑A.∑∑Not sitting here today without looking into it, asking
      15∑∑∑∑Elimination Act requirements?∑So, you were in the                     15∑∑∑∑the question.
      16∑∑∑∑training unit in 2003.∑Was there a time where PREA                    16∑∑Q.∑∑Okay.∑And did you personally create the programming
      17∑∑∑∑enforcement was one of your job duties under your                     17∑∑∑∑that went into the Wayne County Sheriff's Office
      18∑∑∑∑title?                                                                18∑∑∑∑correctional academy relative to the Prison Rape
      19∑∑A.∑∑Other than 2016?                                                    19∑∑∑∑Elimination Act?
      20∑∑Q.∑∑No, 2016.                                                           20∑∑A.∑∑Not the current modules developed.
      21∑∑A.∑∑I was the PREA director in 2016.                                    21∑∑Q.∑∑But back in 2003, you said you were a lieutenant, and
      22∑∑Q.∑∑Okay.∑So, 2016 you became the PREA director, right?                 22∑∑∑∑you said there was an effort to put some training into
      23∑∑A.∑∑Yes.                                                                23∑∑∑∑the correctional academy?
      24∑∑Q.∑∑Any other --                                                        24∑∑A.∑∑Yes.
      25∑∑A.∑∑That's possible that that went into 2017 when I became              25∑∑Q.∑∑Did you lead that?

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      ∑1∑∑∑∑the grants director in '17 and '18.∑And then I became                 ∑1∑∑A.∑∑Yes.
      ∑2∑∑∑∑the PREA director again when I went back to my                        ∑2∑∑Q.∑∑Okay.∑And so, was that same module that you developed,
      ∑3∑∑∑∑part-time role maybe in '19 until today.                              ∑3∑∑∑∑was there like a module or a written policy?∑Or what
      ∑4∑∑Q.∑∑The Wayne County sheriff's office runs a correctional               ∑4∑∑∑∑did you develop?
      ∑5∑∑∑∑academy?                                                              ∑5∑∑A.∑∑I believe we expanded the prison supervision module to
      ∑6∑∑A.∑∑Yes.                                                                ∑6∑∑∑∑contain sexual safety.
      ∑7∑∑Q.∑∑And you knew and understood that officers -- so, is                 ∑7∑∑Q.∑∑Okay.∑And so, what does that mean?∑You did a
      ∑8∑∑∑∑that entity within the sheriff's department, or is it a               ∑8∑∑∑∑PowerPoint, a written policy, or reenactments?∑What
      ∑9∑∑∑∑separate like property or non-property agency?                        ∑9∑∑∑∑did you develop?
      10∑∑A.∑∑That's the training unit that you referred to earlier.              10∑∑A.∑∑There may have been a PowerPoint that we developed and
      11∑∑∑∑The training unit runs the academy.                                   11∑∑∑∑awareness.∑What I'm recalling today sitting here is
      12∑∑Q.∑∑So, your point is in 2003, Wayne County knew and                    12∑∑∑∑there was an awareness module regarding the Prison Rape
      13∑∑∑∑understood that it needed to have PREA training for its               13∑∑∑∑Elimination Act.
      14∑∑∑∑recruits that were going to the correctional academy,                 14∑∑Q.∑∑Fair.∑Can you describe it any --
      15∑∑∑∑right?                                                                15∑∑A.∑∑Not any closer than the obvious factors of ensuring
      16∑∑A.∑∑We voluntarily added it.                                            16∑∑∑∑that officers are aware of the safety of the prisoners,
      17∑∑Q.∑∑Because you felt that it was necessary?                             17∑∑∑∑sexual safety and rape.
      18∑∑A.∑∑Because we saw it on the horizon as being important.                18∑∑Q.∑∑I guess what is confusing to me, I assume, since the
      19∑∑Q.∑∑Okay.∑So, you don't have to go to the Wayne County                  19∑∑∑∑Wayne county jail has been in operation, officers have
      20∑∑∑∑sheriff's office correctional academy to become a                     20∑∑∑∑been trained that they are supposed to attend to the
      21∑∑∑∑correctional officer in the Wayne County jail, right?                 21∑∑∑∑safety of prisoners?
      22∑∑A.∑∑Correct.∑You just have to attend a certified academy                22∑∑A.∑∑So, if I'm not being clear, of course you're correct.
      23∑∑∑∑in the state of Michigan by the Michigan Sheriff's                    23∑∑∑∑That's all we do.∑That's all we do is provide for the
      24∑∑∑∑Coordinating and Training Council.                                    24∑∑∑∑custodial care of prisoners in the jail setting.∑And
      25∑∑Q.∑∑And did the Coordinating Council all across its                     25∑∑∑∑officers are expert at that.∑And they were expert


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      ∑1∑∑∑∑before 2003.∑2003 we made a point to emphasize sexual                 ∑1∑∑∑∑the memo and the stack of papers that you brought as 3.
      ∑2∑∑∑∑safety.∑It was still a consideration prior.                           ∑2∑∑∑∑∑∑∑∑∑MARKED FOR IDENTIFICATION:
      ∑3∑∑Q.∑∑So, what I'm trying to understand is what changed in                ∑3∑∑∑∑∑∑∑∑∑DEPOSITION EXHIBIT 3
      ∑4∑∑∑∑2003; if you have any detail that you can give me?                    ∑4∑∑∑∑∑∑∑∑∑10:11 a.m.
      ∑5∑∑A.∑∑What changed is Michigan Sheriff's Coordinating and                 ∑5∑∑BY MS. PRESCOTT:
      ∑6∑∑∑∑Training Council became a body in the state of                        ∑6∑∑Q.∑∑I marked as Exhibit 3 your memo September 14, 2016.
      ∑7∑∑∑∑Michigan.∑And I was interested in being part of that                  ∑7∑∑∑∑It's two pages.∑And then, you know, there's quite a
      ∑8∑∑∑∑organization; and I was.∑We not only added Prison Rape                ∑8∑∑∑∑number of attachments.∑Oh, I do see -- I'm just
      ∑9∑∑∑∑Elimination Act awareness, but we increased our academy               ∑9∑∑∑∑looking at this.∑But is Exhibit 3 what you were
      10∑∑∑∑length and we participated in creating the entire                     10∑∑∑∑referring to when you said that whatever dates you
      11∑∑∑∑correctional module that the state uses.                              11∑∑∑∑would have would be in that exhibit?
      12∑∑Q.∑∑Okay.∑So, my question wasn't super clear.∑My question               12∑∑A.∑∑Yes.∑And my guess was it was in January, and I took
      13∑∑∑∑is what specifically in the training modules changed in               13∑∑∑∑all the modules that were available to take.
      14∑∑∑∑2003 relative to awareness of prisoner safety,                        14∑∑Q.∑∑Was there a PREA director before you?
      15∑∑∑∑including sexual safety; if you recall?                               15∑∑A.∑∑My understanding is yes.∑Chuck Pappas.
      16∑∑A.∑∑Well, what I recall from Wayne County in 2003 is we                 16∑∑Q.∑∑Can you spell his name for us.
      17∑∑∑∑were becoming aware of this federal legislation.∑We                   17∑∑A.∑∑It's Charles P-a-p-p-a-s.
      18∑∑∑∑wanted officers to be aware of federal rules.∑I'm                     18∑∑Q.∑∑Okay.∑And do you know how long he was in that role?
      19∑∑∑∑sorry.∑We wanted to be aware, officers to be aware.                   19∑∑A.∑∑I do not.
      20∑∑Q.∑∑Okay.∑So, you wanted them to know there was this new                20∑∑Q.∑∑Do you know why he didn't create PREA coordinators at
      21∑∑∑∑act and that it increased or had an emphasis or focused               21∑∑∑∑the different jails during his term?
      22∑∑∑∑on the risks of sexual violation in conditions of                     22∑∑A.∑∑I do not.
      23∑∑∑∑confinement?                                                          23∑∑Q.∑∑Do you know why he didn't order training for all the
      24∑∑A.∑∑Yes.                                                                24∑∑∑∑floor security staff during his term?
      25∑∑Q.∑∑Was there any more content that you can tell us about               25∑∑A.∑∑I do not.

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      ∑1∑∑∑∑here today?                                                           ∑1∑∑Q.∑∑Do you know why he didn't create pamphlets and handbook
      ∑2∑∑A.∑∑I cannot recall.∑I can say from my 1989 jailers                     ∑2∑∑∑∑provisions about the Prison Rape Elimination Act during
      ∑3∑∑∑∑training that I attended personally, there was still                  ∑3∑∑∑∑his tenure?
      ∑4∑∑∑∑sexual safety discussed regarding prisoner housing                    ∑4∑∑A.∑∑I recall us having a discussion that may have been an
      ∑5∑∑∑∑supervision.                                                          ∑5∑∑∑∑idea he had.∑And I think he was also working on the
      ∑6∑∑Q.∑∑When was the first time you took a module that was                  ∑6∑∑∑∑policy, but it was not completed.∑The next generation
      ∑7∑∑∑∑developed by the people who focused or have expertise                 ∑7∑∑∑∑of sexual safety policy.
      ∑8∑∑∑∑in sexual safety in prisons, whether it was PREA or any               ∑8∑∑Q.∑∑The one that was promulgated when you became the PREA
      ∑9∑∑∑∑other, you know, training module from beyond your                     ∑9∑∑∑∑director?
      10∑∑∑∑academy years?                                                        10∑∑A.∑∑Correct.
      11∑∑A.∑∑When I became the PREA director, I was the first one to             11∑∑Q.∑∑So, he was working on the policy, but do you have any
      12∑∑∑∑take the NIC modules from the PREA center, and I took                 12∑∑∑∑information on why he didn't get a pamphlet put
      13∑∑∑∑them all.∑And after that, I directed the rest of the                  13∑∑∑∑together for prisoners?∑Or was that specific to PREA?
      14∑∑∑∑jail staff to take modules that I thought were                        14∑∑A.∑∑I do not.
      15∑∑∑∑appropriate to their role.                                            15∑∑Q.∑∑You worked on the policy is it 1417?
      16∑∑Q.∑∑Okay.∑So, is this 2016?                                             16∑∑A.∑∑Yes.
      17∑∑A.∑∑'16.                                                                17∑∑Q.∑∑1417.∑For months of your time as PREA coordinator
      18∑∑Q.∑∑And when did you complete the modules?                              18∑∑∑∑before it was revised and promulgated in its more
      19∑∑A.∑∑It might be in the exhibit.∑I'm not sure.∑But it                    19∑∑∑∑recent form, right, in its updated form?
      20∑∑∑∑would have been pretty fairly early on.∑Perhaps                       20∑∑A.∑∑Correct.
      21∑∑∑∑January.                                                              21∑∑Q.∑∑In fact, you went through at least five revisions of
      22∑∑Q.∑∑Are there records of that?                                          22∑∑∑∑the policy, back and forth with all the different
      23∑∑A.∑∑It might be in what we provided.                                    23∑∑∑∑stakeholders and looking at what was necessary and
      24∑∑Q.∑∑Okay.∑So, I'll look through these.∑Is there any other               24∑∑∑∑whatnot; is that correct?
      25∑∑∑∑records?∑Then let's mark the rest of it.∑Let's mark                   25∑∑A.∑∑That's correct.


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      ∑1∑∑Q.∑∑How long had Mr. Pappas been working on the policy                  ∑1∑∑Q.∑∑When?
      ∑2∑∑∑∑before you started?                                                   ∑2∑∑A.∑∑In conjunction with the issuance of my memo to internal
      ∑3∑∑A.∑∑I don't know.                                                       ∑3∑∑∑∑affairs.
      ∑4∑∑Q.∑∑Do you know why he wasn't able to promulgate it and get             ∑4∑∑Q.∑∑I understand.∑I'm asking about a date.
      ∑5∑∑∑∑it out during his term as PREA director?                              ∑5∑∑A.∑∑I do not know what date the captain gave them to
      ∑6∑∑A.∑∑No.                                                                 ∑6∑∑∑∑complete it.∑But I'm aware they completed it.
      ∑7∑∑Q.∑∑Do you know how many drafts were done under his                     ∑7∑∑Q.∑∑Do you know what date?
      ∑8∑∑∑∑stewardship when he was in that role?                                 ∑8∑∑A.∑∑I do not.
      ∑9∑∑A.∑∑I do not.                                                           ∑9∑∑Q.∑∑And you don't know when the captain gave the order
      10∑∑Q.∑∑Do you know whether he had sexual assault response                  10∑∑∑∑either?
      11∑∑∑∑meetings?                                                             11∑∑A.∑∑I do not.∑But my recollection is it was in conjunction
      12∑∑A.∑∑I do not.                                                           12∑∑∑∑with the date of the memo.
      13∑∑Q.∑∑Did you ever attend any sexual assault response                     13∑∑Q.∑∑Are you saying that it happened the day the memo was
      14∑∑∑∑meeting?                                                              14∑∑∑∑issued?∑Is that what you mean in conjunction with?
      15∑∑A.∑∑Yes.                                                                15∑∑A.∑∑Very shortly thereafter.
      16∑∑Q.∑∑Did you ever do so before you were the PREA director?               16∑∑Q.∑∑Have you ever seen that order?
      17∑∑A.∑∑No.                                                                 17∑∑A.∑∑Mostly it was verbal and with my memo.
      18∑∑Q.∑∑When is the earliest you can recall attending one?                  18∑∑Q.∑∑So, that's a no, you haven't seen anything in writing?
      19∑∑A.∑∑The reports from that meeting are in the packet that we             19∑∑A.∑∑No.∑My memo contains the instructions for accessing
      20∑∑∑∑supplied today.∑I think it was 2016.                                  20∑∑∑∑the training.∑So, that's what they would have gotten.
      21∑∑Q.∑∑Do you know whether there were any meetings being held              21∑∑Q.∑∑Do you know if the IA investigation relative to sexual
      22∑∑∑∑before that, like a sexual assault response team --                   22∑∑∑∑assaults was carried out pursuant to training that was
      23∑∑A.∑∑I do not know.                                                      23∑∑∑∑specifically informed by PREA?
      24∑∑Q.∑∑-- meeting?                                                         24∑∑A.∑∑My thought is that they took that training prior to
      25∑∑A.∑∑I do not.                                                           25∑∑∑∑August.∑But we'd have to look at the date on my memo.

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      ∑1∑∑Q.∑∑Do you know whether Mr. Pappas attended any specialized             ∑1∑∑∑∑And then they may have kept their certificates that
      ∑2∑∑∑∑training for investigating sexual assaults?                           ∑2∑∑∑∑they received from the training.∑That would be dated.
      ∑3∑∑A.∑∑I don't know.                                                       ∑3∑∑∑∑But I don't know that I have that.
      ∑4∑∑Q.∑∑Did you order internal affairs to attend specialized                ∑4∑∑Q.∑∑Okay.∑So, there's two questions I guess you could -- I
      ∑5∑∑∑∑training for sexual assault investigations?                           ∑5∑∑∑∑mean, we could take this as two different thoughts.
      ∑6∑∑A.∑∑Yes.                                                                ∑6∑∑∑∑One is they have the training, yes or no, before
      ∑7∑∑Q.∑∑Do you know when?                                                   ∑7∑∑∑∑August.∑And maybe you can find that out.∑I have a
      ∑8∑∑A.∑∑The paperwork is in that handout.∑It was in that -- in              ∑8∑∑∑∑slightly different follow-up question, which is are you
      ∑9∑∑∑∑2016 I ordered them to -- well, I asked supervisors to                ∑9∑∑∑∑able to assess the quality of the IA investigation in
      10∑∑∑∑have them take the specialized investigator training                  10∑∑∑∑terms of its alignment with PREA based on what you
      11∑∑∑∑from the PREA website.∑And I also recall them saying                  11∑∑∑∑know?
      12∑∑∑∑that they attended some kind of in-person PREA                        12∑∑A.∑∑Yes.
      13∑∑∑∑investigator training.∑And that may have been before                  13∑∑Q.∑∑Okay.∑Did I ask you who did it?∑You said you don't
      14∑∑∑∑me under Charles Pappas.                                              14∑∑∑∑know who signed the report.∑So, did you ever talk to
      15∑∑Q.∑∑Do you know who said that to you?                                   15∑∑∑∑the actual investigator in the sexual assault
      16∑∑A.∑∑It most likely was Captain Builivant.                               16∑∑∑∑investigation?
      17∑∑Q.∑∑What did Captain Builivant say that specifically -- do              17∑∑A.∑∑I may have.∑I don't recall.
      18∑∑∑∑you remember any more than what you just said?                        18∑∑Q.∑∑So, it's your -- in your prior deposition, you
      19∑∑A.∑∑Just that there was an in-person training that some of              19∑∑∑∑testified you don't know whether any staff members were
      20∑∑∑∑the investigators attended.∑And I don't have the                      20∑∑∑∑asked any questions in the IA investigation.∑Do you
      21∑∑∑∑specific recollection of the exact wording.                           21∑∑∑∑now know whether they were asked any questions?
      22∑∑Q.∑∑So, you asked a supervisor to have IA take the                      22∑∑A.∑∑I do not.
      23∑∑∑∑specialized training in 2016.∑Did that then get                       23∑∑Q.∑∑You didn't listen to the recordings?
      24∑∑∑∑ordered?                                                              24∑∑A.∑∑I did not.
      25∑∑A.∑∑Yes.                                                                25∑∑Q.∑∑So, you're not aware that not one single solitary


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      ∑1∑∑∑∑question was asked of the victim about where any staff                ∑1∑∑A.∑∑We do everything in our power to --
      ∑2∑∑∑∑was, what any staff was doing, whether he asked for                   ∑2∑∑Q.∑∑I'm not asking what you do --
      ∑3∑∑∑∑help, anything to do with what was going on with staff                ∑3∑∑A.∑∑-- predict and prevent assaults in the jail.
      ∑4∑∑∑∑whatsoever, you're not aware of that?                                 ∑4∑∑Q.∑∑Your job as PREA director is to prevent rape and sexual
      ∑5∑∑A.∑∑I am not.                                                           ∑5∑∑∑∑assault, right?
      ∑6∑∑Q.∑∑So, how did you just testify a moment ago that you're               ∑6∑∑A.∑∑I think there is no question.
      ∑7∑∑∑∑able to sit here and assess the quality of the IA                     ∑7∑∑Q.∑∑Are you comfortable as somebody who has worked in -- as
      ∑8∑∑∑∑investigation into this matter?                                       ∑8∑∑∑∑somebody who has been a leader in this department, as
      ∑9∑∑A.∑∑My understanding of this case is that the inmate told               ∑9∑∑∑∑somebody who has been a retiree after a long period of
      10∑∑∑∑an officer that he had a problem.∑The officer acted                   10∑∑∑∑service, as someone who has been in training, as
      11∑∑∑∑immediately.∑Removed him from the ward with -- got                    11∑∑∑∑someone who has been a PREA director, as someone who
      12∑∑∑∑assistance, got medical assistance.∑Called internal                   12∑∑∑∑has been a deputy sheriff, well at your level of
      13∑∑∑∑affairs.∑There was no indication that there was any                   13∑∑∑∑command, are you comfortable with the concept that a
      14∑∑∑∑fault on the officer's response to a claim of assault.                14∑∑∑∑rape occurs under the watch of officers and they are
      15∑∑Q.∑∑How would there be any indication of fault on the part              15∑∑∑∑never questioned about what they saw, what they were
      16∑∑∑∑of the people who were responsible, and as you just                   16∑∑∑∑doing that night, as part of the workings of the IA?
      17∑∑∑∑testified 15 or 20 minutes ago, experts in paying                     17∑∑A.∑∑I am never comfortable.∑I think our officers do a
      18∑∑∑∑attention to people's safety if the victim wasn't even                18∑∑∑∑great job every day.∑It's difficult and hard to do.
      19∑∑∑∑asked a single question about what the experts on                     19∑∑Q.∑∑It's also hard to be a prisoner in the Wayne County
      20∑∑∑∑safety were doing or where they were or how they                      20∑∑∑∑jail or in any other jail facility, isn't it?
      21∑∑∑∑responded at the time of the rape?                                    21∑∑A.∑∑I don't have an answer to that.
      22∑∑A.∑∑That would be a question for the investigator.                      22∑∑Q.∑∑Really?∑After all your years.∑I mean, let's break it
      23∑∑Q.∑∑But I'm asking you.∑You said you could sit here and                 23∑∑∑∑down.∑You understand that the prisoners have no means
      24∑∑∑∑testify about the quality of the investigation.∑And                   24∑∑∑∑to defend themselves when they're locked away in these
      25∑∑∑∑then you said, you know, there's no indication of any                 25∑∑∑∑places, right?

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      ∑1∑∑∑∑problem.                                                              ∑1∑∑A.∑∑I think they have the ability to assist in their own
      ∑2∑∑A.∑∑I'm confident that if there was an indication of a                  ∑2∑∑∑∑welfare.
      ∑3∑∑∑∑problem, it would have gone through discipline and I                  ∑3∑∑Q.∑∑Okay.∑But if they throw a punch, they can be
      ∑4∑∑∑∑would have seen it from the disciplinary chief and we                 ∑4∑∑∑∑prosecuted for that, right?
      ∑5∑∑∑∑would have acted on that information.∑Because that's                  ∑5∑∑A.∑∑Correct.
      ∑6∑∑∑∑what internal affairs does every time, hundreds of                    ∑6∑∑Q.∑∑Okay.∑And they certainly can't have a weapon, right?
      ∑7∑∑∑∑times.                                                                ∑7∑∑A.∑∑We do everything to control contraband and weapons into
      ∑8∑∑Q.∑∑So, maybe there would have been all kinds of follow-up,             ∑8∑∑∑∑the jail system.
      ∑9∑∑∑∑all kinds of discipline, and thinking about it, and                   ∑9∑∑Q.∑∑They could have a weapon, they're not supposed to have
      10∑∑∑∑paying attention to it.∑Except my question to you is                  10∑∑∑∑weapons, right?
      11∑∑∑∑how would you ever get there if no one bothered to even               11∑∑A.∑∑Correct.
      12∑∑∑∑ask a single question about what the staff was doing                  12∑∑Q.∑∑And they're not supposed to be engaging in any kind of
      13∑∑∑∑that night?∑How would you know if you don't -- you say                13∑∑∑∑fighting, right?
      14∑∑∑∑there is no indication.∑I agree there is no indication                14∑∑A.∑∑Correct.
      15∑∑∑∑because there is no investigation of it.∑So, how can                  15∑∑Q.∑∑Okay.∑So, people are locked in with serial rapists in
      16∑∑∑∑you say what would have happened if there is no                       16∑∑∑∑small confined spaces, sometimes for weeks or months at
      17∑∑∑∑investigation?                                                        17∑∑∑∑a time, and they are not supposed to fight anyone, and
      18∑∑A.∑∑I think there was an investigation and I think they did             18∑∑∑∑they're not supposed to have a weapon.∑Can we agree
      19∑∑∑∑a good job.∑They were able to prosecute the person.                   19∑∑∑∑that that is not a great and comfortable place to live
      20∑∑Q.∑∑Okay.∑But I'm not asking about prosecuting assailants.              20∑∑∑∑or exist either?∑You said the officers had a hard job.
      21∑∑∑∑Your job as the PREA director is to prevent the rape,                 21∑∑∑∑Which is getting along in a very dangerous scenario?
      22∑∑∑∑right?∑I mean, it's great that you prosecuted                         22∑∑A.∑∑And we do our best to make them comfortable.
      23∑∑∑∑afterwards.∑Someone went to jail for that.∑But                        23∑∑Q.∑∑So, to my question, are you -- you said you're never
      24∑∑∑∑someone was also raped, and your job is to prevent                    24∑∑∑∑comfortable with, I guess, IA investigations.∑My
      25∑∑∑∑that, right?                                                          25∑∑∑∑question had been are you comfortable, in all your


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      ∑1∑∑∑∑experiences and all your seniority, with an IA                        ∑1∑∑∑∑way the matter could have been better handled by the
      ∑2∑∑∑∑investigation that doesn't ask a single question?∑Are                 ∑2∑∑∑∑staff or the institution itself?
      ∑3∑∑∑∑you aware of other IA investigations that don't ask                   ∑3∑∑A.∑∑Well, that might go back to my previous answer. I
      ∑4∑∑∑∑even a single question about where the officers were at               ∑4∑∑∑∑don't ever -- I think we can always do better.∑I think
      ∑5∑∑∑∑the time?                                                             ∑5∑∑∑∑we did a good job.∑I guess I don't understand your
      ∑6∑∑A.∑∑I'm not sure I agree that they didn't ask a single                  ∑6∑∑∑∑question.
      ∑7∑∑∑∑question.                                                             ∑7∑∑Q.∑∑I think you do.∑I asked you for your list of specific
      ∑8∑∑Q.∑∑Because you don't know, do you?∑You don't really know               ∑8∑∑∑∑steps particular to the Solomon and Burks matter that
      ∑9∑∑∑∑what they asked, right?                                               ∑9∑∑∑∑were taken to assess whether the institution or staff
      10∑∑A.∑∑I know they asked questions.∑You can't conduct an                   10∑∑∑∑could have reacted better prior to the rape or
      11∑∑∑∑investigation without asking questions.                               11∑∑∑∑prevented, in any way, the rape?
      12∑∑Q.∑∑Okay.∑But you, sitting here today, you don't know that              12∑∑A.∑∑I still don't see how they could have reacted better
      13∑∑∑∑they never -- well, you testified before you don't know               13∑∑∑∑than they did based on the facts of the case that I
      14∑∑∑∑what was asked of the officers or whether they were                   14∑∑∑∑know.
      15∑∑∑∑given written statements to do or questioned in any                   15∑∑Q.∑∑Do you know any specific steps?
      16∑∑∑∑way.∑You already said that.∑And you earlier said you                  16∑∑A.∑∑A complaint was made by an inmate.∑There was an
      17∑∑∑∑didn't listen to the tapes.∑You don't know what my                    17∑∑∑∑immediate reaction to the staff to separate, to
      18∑∑∑∑client was asked.∑Is it going to be your testimony,                   18∑∑∑∑protect, to get help, to care for.∑And there's no
      19∑∑∑∑leaving here today, that you can put your print on, you               19∑∑∑∑indication that anything was done improperly before or
      20∑∑∑∑know, quality job guys, on an investigation that you                  20∑∑∑∑after.
      21∑∑∑∑don't know what the questions were?                                   21∑∑Q.∑∑A rape happening inside your prison isn't an indication
      22∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Well, excuse me.∑Objection,                         22∑∑∑∑that maybe there could have been something that could
      23∑∑∑∑exceeds the scope of this witness's testimony and                     23∑∑∑∑have happened better?
      24∑∑∑∑expected testimony at trial.∑Go ahead and answer, if                  24∑∑A.∑∑No.∑You're asking me for a specific that someone did.
      25∑∑∑∑you can.                                                              25∑∑∑∑Well, I don't think there is evidence of anyone doing

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      ∑1∑∑A.∑∑I believe today that they did a good investigation and              ∑1∑∑∑∑anything inappropriate or contributing to the assault.
      ∑2∑∑∑∑I think that did they ask a single question needs to be               ∑2∑∑Q.∑∑Okay.∑So, have you completed your answer on the
      ∑3∑∑∑∑asked to the internal affairs.                                        ∑3∑∑∑∑specific steps you're aware of?
      ∑4∑∑BY MS. PRESCOTT:                                                        ∑4∑∑A.∑∑I'm sorry.∑I'm not understanding the question.
      ∑5∑∑Q.∑∑I don't understand the basis for your opinion that it               ∑5∑∑Q.∑∑I asked you a question, whether you could list specific
      ∑6∑∑∑∑was a good investigation.                                             ∑6∑∑∑∑steps that were undertaken.∑I repeated it twice.
      ∑7∑∑A.∑∑From the perspective of PREA, prisoners got all the                 ∑7∑∑∑∑You've answered it as best you can, I imagine.∑Do you
      ∑8∑∑∑∑service that they needed that was necessary and                       ∑8∑∑∑∑have more to add?
      ∑9∑∑∑∑required and they did it in an expedient, quick manner.               ∑9∑∑A.∑∑I'm not clear on the question still.
      10∑∑∑∑They protected both prisoners by separating them,                     10∑∑Q.∑∑The question had been what particular steps were taken
      11∑∑∑∑receiving medical care.                                               11∑∑∑∑to assess whether the institution as a whole, or the
      12∑∑Q.∑∑So, you think PREA is solely limited to getting medical             12∑∑∑∑personnel on staff, could have better behaved, acted,
      13∑∑∑∑care, getting people separated, taking their statements               13∑∑∑∑fulfilled their duties to prevent the assault?
      14∑∑∑∑after the fact, and giving no attention whatsoever to                 14∑∑A.∑∑Talk to the internal affairs captain, review his case
      15∑∑∑∑what the institutional or personnel failures might have               15∑∑∑∑in the three month time window and annual window, more
      16∑∑∑∑been or even just things that could be improved on?                   16∑∑∑∑discussion.∑Nothing from internal affairs or
      17∑∑∑∑You think that's what PREA is about?                                  17∑∑∑∑discipline or that warranted action.
      18∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Excuse me.∑Objection,                               18∑∑Q.∑∑Anything else?
      19∑∑∑∑mischaracterizes prior testimony.∑You can answer, if                  19∑∑A.∑∑No.
      20∑∑∑∑you can.                                                              20∑∑Q.∑∑You said in your list more discussion.∑Are you talking
      21∑∑A.∑∑I think I need you to ask a question.                               21∑∑∑∑about talking to the IA captain?∑You're not sure who?
      22∑∑BY MS. PRESCOTT:                                                        22∑∑∑∑You're not sure when?
      23∑∑Q.∑∑I'll rephrase it.                                                   23∑∑A.∑∑Builivant, during the course of the case, which
      24∑∑∑∑∑∑∑∑∑Specific to the Solomon and Burks rape, what                     24∑∑∑∑stretched on for a very long time.∑So, yeah, we would
      25∑∑∑∑analysis was conducted to determine if there was any                  25∑∑∑∑have reviewed it together within our three-month


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      ∑1∑∑∑∑review.                                                               ∑1∑∑∑∑information.∑But of course I think I testified earlier
      ∑2∑∑Q.∑∑What did Builivant do specifically to assess whether                ∑2∑∑∑∑that we get an announcement that there's been an issue
      ∑3∑∑∑∑any staff members might need to be retrained,                         ∑3∑∑∑∑and we ensure that the investigation is proceeding and
      ∑4∑∑∑∑disciplined, talked to, about their behaviors or                      ∑4∑∑∑∑that everything is being done that we expect to be
      ∑5∑∑∑∑failures or acts or omissions?                                        ∑5∑∑∑∑done.
      ∑6∑∑A.∑∑He would act on anything that he found wrong or unusual             ∑6∑∑Q.∑∑What I'm asking about is you did testify about this
      ∑7∑∑∑∑or failing from the investigation.                                    ∑7∑∑∑∑earlier, but you recall how there is statistics that
      ∑8∑∑Q.∑∑Do you know specific steps Builivant took as to the                 ∑8∑∑∑∑report out the number of assaults that happen in the
      ∑9∑∑∑∑Burks and Solomon investigation to determine staff                    ∑9∑∑∑∑jail, and is it substantiated, is it not substantiated.
      10∑∑∑∑appropriateness or inappropriateness of responses?                    10∑∑∑∑Those are the reviews you're talking about doing in IA,
      11∑∑A.∑∑I don't know.                                                       11∑∑∑∑and sitting down and doing regularly, right?
      12∑∑Q.∑∑Do you know anything the investigator did in that                   12∑∑A.∑∑Yes.
      13∑∑∑∑regard, not Builivant but the actual -- Christopher                   13∑∑Q.∑∑There are numbers -- and I think there's numbers that
      14∑∑∑∑Lawson, if that helps you?                                            14∑∑∑∑get put out for every period.∑Is it a year?∑Or
      15∑∑A.∑∑Not outside of the investigation itself.                            15∑∑∑∑sometimes you do it quarterly?∑Do you recall that?∑Do
      16∑∑Q.∑∑How about Commander Cane, who is in charge of the floor             16∑∑∑∑you remember that?
      17∑∑∑∑security?                                                             17∑∑A.∑∑I lost the question.∑Sorry.
      18∑∑A.∑∑I don't believe we had any interaction.∑Maybe we spoke              18∑∑Q.∑∑That's okay.∑You report out to the bureau of prisons
      19∑∑∑∑about it, but I do not recall.                                        19∑∑∑∑the number of different categories of different things,
      20∑∑Q.∑∑Do you know of any steps she took specific to the staff             20∑∑∑∑sexual misconduct, sexual assaults, et cetera, by a
      21∑∑∑∑that were on duty on the night of the rape to                         21∑∑∑∑year, right?
      22∑∑∑∑investigate it for herself or to discipline or coach in               22∑∑A.∑∑Yes.
      23∑∑∑∑any way as to their failures or acts or omissions?                    23∑∑Q.∑∑You recall that we covered, in your last deposition,
      24∑∑A.∑∑I would have to defer to her.∑I do not know.                        24∑∑∑∑that this rape happens in 2016.∑And in the 2016
      25∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Can we take a break in the next                     25∑∑∑∑report, you write zero for number of sexual assaults in

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      ∑1∑∑∑∑15 minutes or so?                                                     ∑1∑∑∑∑the prison, right?
      ∑2∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑Yeah.                                              ∑2∑∑A.∑∑Well, there's different categories.∑So, it's not a yes
      ∑3∑∑BY MS. PRESCOTT:                                                        ∑3∑∑∑∑or a no.∑There is on-going investigation.∑Mr. Solomon
      ∑4∑∑Q.∑∑Why isn't there any documentation of you reviewing                  ∑4∑∑∑∑should be reflected in an on-going status, or
      ∑5∑∑∑∑anything about the Solomon and Burks rape in your role                ∑5∑∑∑∑Mr. Burks.
      ∑6∑∑∑∑as PREA coordinator?                                                  ∑6∑∑Q.∑∑But nobody in your department, in the sheriff's office,
      ∑7∑∑A.∑∑Well, it was my practice to create -- review documents              ∑7∑∑∑∑ever took any steps to get to an answer about whether
      ∑8∑∑∑∑if I saw a need to review the case.                                   ∑8∑∑∑∑your department substantiated it or didn't?∑Didn't
      ∑9∑∑Q.∑∑So, you didn't review all the cases?                                ∑9∑∑∑∑they just say we're handing it to the prosecutor and
      10∑∑A.∑∑I reviewed all the cases, but I only would write a                  10∑∑∑∑they'll do what they want to do; am I correct?
      11∑∑∑∑report on if I thought something was actionable.                      11∑∑A.∑∑No.∑What we would hope is that we would move from
      12∑∑Q.∑∑So, the only thing we have that suggests that you, in               12∑∑∑∑on-going to a finality.∑But it took two years in his
      13∑∑∑∑any way -- you don't have an e-mail.∑You don't have                   13∑∑∑∑case.∑And the finality, in his case, should have been
      14∑∑∑∑any writings from Builivant, Chakrabarty, your boss,                  14∑∑∑∑reflected as an assault substantiated.∑It would have
      15∑∑∑∑Cane, or anybody else, nothing in writing about you                   15∑∑∑∑moved categories.
      16∑∑∑∑ever having anything to do with reviewing the                         16∑∑Q.∑∑So, other departments do what they're going to do.
      17∑∑∑∑investigation of Solomon and Burks as PREA coordinator,               17∑∑∑∑That's not up to you.∑Like Kim Worthy's office, she
      18∑∑∑∑right?                                                                18∑∑∑∑can prosecute.∑I don't want to use my resources for
      19∑∑A.∑∑Not outside of my three-month review and annual review.             19∑∑∑∑what -- she can do whatever she wants.∑And that's not
      20∑∑Q.∑∑You mean the numbers that reflect that there wasn't                 20∑∑∑∑in your jurisdiction, right?∑You don't control those
      21∑∑∑∑even an attack at all in 2016?∑Is that what you mean                  21∑∑∑∑decisions?
      22∑∑∑∑by the three-months review and the annual review?∑Is                  22∑∑A.∑∑Yes, we don't.
      23∑∑∑∑that what you're referring to?                                        23∑∑Q.∑∑And she could get -- one of her prosecutors could make
      24∑∑A.∑∑I'm referring to the time that we go over the cases for             24∑∑∑∑a mistake and not turn over some important evidence and
      25∑∑∑∑reporting is a chance to see any additional new                       25∑∑∑∑the case could get thrown out, or a person could -- a


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      ∑1∑∑∑∑case can be dismissed, even though they committed a                   ∑1∑∑A.∑∑I think in the previous deposition we discovered that
      ∑2∑∑∑∑rape in the Wayne County jail; do you understand that?                ∑2∑∑∑∑his category wasn't changed.∑And I believe that that
      ∑3∑∑A.∑∑I'm sorry.∑You would have to repeat that.                           ∑3∑∑∑∑was an omission because of the length of time it took
      ∑4∑∑Q.∑∑Do you understand that the prosecutor could end up with             ∑4∑∑∑∑to prosecute.∑I understand that you're saying it could
      ∑5∑∑∑∑a dismissal of a case where there's absolutely a rape                 ∑5∑∑∑∑have gone earlier.
      ∑6∑∑∑∑that has occurred in the Wayne County jail even though                ∑6∑∑Q.∑∑So that the data given to the federal government
      ∑7∑∑∑∑they can't get a conviction for it; do you understand                 ∑7∑∑∑∑accurately reflected what your own department was
      ∑8∑∑∑∑that?                                                                 ∑8∑∑∑∑concluding.∑That's why I was asking those questions.
      ∑9∑∑A.∑∑Yes.                                                                ∑9∑∑A.∑∑And generally they resolve within that year.∑But this
      10∑∑Q.∑∑And you understand that the jail and the sheriff's                  10∑∑∑∑one did not.
      11∑∑∑∑office has its own responsibility to determine for                    11∑∑Q.∑∑But it's not -- your department has no problem stamping
      12∑∑∑∑itself whether allegations are substantiated or not,                  12∑∑∑∑things unsubstantiated and closing files.
      13∑∑∑∑right?                                                                13∑∑A.∑∑If that can be determined from the initial response.
      14∑∑A.∑∑Yes.                                                                14∑∑Q.∑∑And from the initial response, your department
      15∑∑Q.∑∑And you can't delegate that to somebody else, correct?              15∑∑∑∑determined this should be prosecuted, right?
      16∑∑A.∑∑Correct.∑And we would move it to substantiated,                     16∑∑A.∑∑I don't know the answer to that.
      17∑∑∑∑whether it was prosecuted or not.∑Whether, based on                   17∑∑Q.∑∑Let's ask it this way, and then we can go on break.
      18∑∑∑∑information from the captain, that he felt it was                     18∑∑∑∑From the day this got sent to the prosecutor, and for
      19∑∑∑∑substantiated.                                                        19∑∑∑∑the following year it took the prosecutor to get to the
      20∑∑Q.∑∑Why didn't that ever happen in 2016 or 2017 in your                 20∑∑∑∑conviction, your office wasn't doing any further steps
      21∑∑∑∑reporting out that there is no substantiated cases?                   21∑∑∑∑on this, right?
      22∑∑∑∑Why didn't anybody ever make a finding and say we                     22∑∑A.∑∑No.∑In our opinion, I think I testified, there wasn't
      23∑∑∑∑substantiate that this happened in our facility?                      23∑∑∑∑any further steps to take.
      24∑∑A.∑∑Well, I believe, at the time, we were waiting for that              24∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑We can take a break.
      25∑∑∑∑to resolve.                                                           25∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Thank you.

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      ∑1∑∑Q.∑∑So, you just decided to delegate it in this case and                ∑1∑∑∑∑∑∑∑∑∑(Recess taken at 10:47 a.m.)
      ∑2∑∑∑∑not make your own determination?                                      ∑2∑∑∑∑∑∑∑∑∑(Back on the record at 10:53 a.m.)
      ∑3∑∑A.∑∑No.∑I would ask them every three months was there                   ∑3∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑Back on the record.
      ∑4∑∑∑∑progress on that.∑Where would we put that now.                        ∑4∑∑BY MS. PRESCOTT:
      ∑5∑∑Q.∑∑Why didn't you say, for example, Burks passed a                     ∑5∑∑Q.∑∑Are you able to testify to any activities Commander
      ∑6∑∑∑∑polygraph.∑A prosecutor finds that there is a basis                   ∑6∑∑∑∑Cane took in the year 2016, the months leading up to
      ∑7∑∑∑∑for a warrant.∑A judge binds someone over.∑There are                  ∑7∑∑∑∑the rape, relative to improvements for sexual safety or
      ∑8∑∑∑∑findings that there is probable cause.∑Why didn't any                 ∑8∑∑∑∑assessments on what might be needed for improvements on
      ∑9∑∑∑∑of those steps say, along with what we see and what we                ∑9∑∑∑∑sexual safety in her jail division?
      10∑∑∑∑observe, we think that's enough, we think that's                      10∑∑A.∑∑Well, in general, she would have incorporated all this
      11∑∑∑∑substantiated?                                                        11∑∑∑∑training, overseen the training, taken the training.
      12∑∑A.∑∑And we would do that.∑And we should have done that.                 12∑∑∑∑Did you mean in general or specifically to this case?
      13∑∑∑∑If we didn't do it, we would have done it.                            13∑∑Q.∑∑So, specifically before the rape, what you actually
      14∑∑Q.∑∑Wasn't it substantiated to the extent of your people                14∑∑∑∑know happened, instead of what could have happened.
      15∑∑∑∑thinking this needs to go, and the prosecutor needs to                15∑∑A.∑∑Well, I know I ordered training of all the employees in
      16∑∑∑∑do this, the very day it went out to Kim Worthy's                     16∑∑∑∑that building.∑She got my communications regarding
      17∑∑∑∑office for a warrant?∑You don't send her office things                17∑∑∑∑various PREA issues.∑And she would have been aware of
      18∑∑∑∑you don't think happened, do you?                                     18∑∑∑∑classifications.∑The new educational pamphlet, the
      19∑∑A.∑∑Well, we send her things that we're looking for a                   19∑∑∑∑inmate rule book, all the things that were implemented
      20∑∑∑∑determination on from a criminal charge, for criminal                 20∑∑∑∑in that year.
      21∑∑∑∑liability.                                                            21∑∑Q.∑∑Okay.∑What I'm asking is things that she did.∑You're
      22∑∑Q.∑∑There's no piece of paper anywhere that you've ever                 22∑∑∑∑telling me about a pamphlet that existed.∑She could
      23∑∑∑∑seen where someone in your department says that the                   23∑∑∑∑have become aware of it.∑You know, training that you
      24∑∑∑∑sheriff's office says stamp substantiated, all the way                24∑∑∑∑ordered.∑I'm asking about what she ordered.∑What she
      25∑∑∑∑up to today; isn't that correct?                                      25∑∑∑∑did.


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      ∑1∑∑A.∑∑Specifically, I guess I can't answer that.                          ∑1∑∑A.∑∑I'm always reviewing them.∑I'm reviewing them all the
      ∑2∑∑Q.∑∑How about any command staff over that jail division,                ∑2∑∑∑∑time.
      ∑3∑∑∑∑same question.∑What specific steps they did, not what                 ∑3∑∑Q.∑∑Are you on the -- are you an expert on the standards?
      ∑4∑∑∑∑you did, in the say eight months before the rape?                     ∑4∑∑A.∑∑I know them well.
      ∑5∑∑A.∑∑I can't recall any specifics.                                       ∑5∑∑Q.∑∑So, is that a yes or a no?
      ∑6∑∑Q.∑∑Do you know whether the sheriff's office was compliant              ∑6∑∑A.∑∑Like I said, it depends on your definition of an
      ∑7∑∑∑∑with PREA in August of 2016?                                          ∑7∑∑∑∑expert.∑I would never say I know everything about
      ∑8∑∑A.∑∑I would say we were in a position of many jails that                ∑8∑∑∑∑something.
      ∑9∑∑∑∑were working towards full compliance.∑We were                         ∑9∑∑Q.∑∑Okay.∑And in 2016, you took your first classes on the
      10∑∑∑∑complaint in many ways.                                               10∑∑∑∑standards, right?
      11∑∑Q.∑∑What were the ways that you weren't compliant in 2016?              11∑∑A.∑∑Yes.
      12∑∑A.∑∑That we were not?                                                   12∑∑Q.∑∑Were you an expert when you were taking those classes,
      13∑∑Q.∑∑Right.∑That you were working toward.                                13∑∑∑∑or because you had taken the modules?
      14∑∑A.∑∑One of our challenges is the PREA standard of viewing               14∑∑A.∑∑Yeah, I'm not sure -- do you want me to define expert?
      15∑∑∑∑inmates of the opposite gender.∑Because we don't have                 15∑∑∑∑You know, I know more about it all the time.∑But what
      16∑∑∑∑architecture that supports privacy screens for                        16∑∑∑∑would you say, novice?∑Would you say growing?∑Would
      17∑∑∑∑toileting and showering.∑And we talked about ways that                17∑∑∑∑you say improving?
      18∑∑∑∑we could change the building's architecture.∑But it                   18∑∑Q.∑∑What were your qualifications to be the director of
      19∑∑∑∑seemed impossible that we're abandoning that jail.∑And                19∑∑∑∑PREA, specific to sexual safety?
      20∑∑∑∑we instead brought in rules like the knock and announce               20∑∑∑∑∑∑∑∑∑I understand and I would never -- I'm glad we
      21∑∑∑∑rule for opposite gender viewing.                                     21∑∑∑∑have people who are long termers and have incredible
      22∑∑Q.∑∑Anything else in the 2016 area of not quite compliant,              22∑∑∑∑experience.∑I see that you've educated yourself.∑But
      23∑∑∑∑not quite there yet?                                                  23∑∑∑∑I am unsure of what your qualifications were to
      24∑∑A.∑∑Well, I think we were working on multiple standards at              24∑∑∑∑specialize in anything to do with sexual safety in
      25∑∑∑∑the same time to bring them into fruition, including a                25∑∑∑∑prisons in the year 2016.∑Can you fill me in on that.

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      ∑1∑∑∑∑zero tolerance standard, which I thought was one of the               ∑1∑∑A.∑∑Well, I believe that all of my staff are experts at
      ∑2∑∑∑∑most important PREA standards.∑And because that                       ∑2∑∑∑∑providing custodial care for detainees.∑And they were
      ∑3∑∑∑∑involves a culture change, and that was something I had               ∑3∑∑∑∑experts -- I mean, they're experts.∑It's what they do
      ∑4∑∑∑∑discussions with command and written communication to                 ∑4∑∑∑∑day in and day out, year after year, shift after shift,
      ∑5∑∑∑∑help create a -- everything I did was focused on zero                 ∑5∑∑∑∑over and over.∑That's all they do is take care of
      ∑6∑∑∑∑tolerance, meaning a culture change.∑Meaning this is                  ∑6∑∑∑∑prisoners and diffuse situations and intervene in
      ∑7∑∑∑∑something we think about every day, even in regular                   ∑7∑∑∑∑dangerous situations and try to house people in the
      ∑8∑∑∑∑transactions, that don't appear to be something that                  ∑8∑∑∑∑safest place, but least restrictive way possible.∑So
      ∑9∑∑∑∑would contribute to a sexually charged environment, but               ∑9∑∑∑∑many considerations.∑So, you know, 25, 30 years of
      10∑∑∑∑could, and we were working on that.∑I think we were                   10∑∑∑∑doing that, I mean, who would know more than you,
      11∑∑∑∑working on all the standards.                                         11∑∑∑∑right, about that.∑And we're one of the state's larger
      12∑∑Q.∑∑What standard are you talking about that --                         12∑∑∑∑offices, sheriff's offices.∑So, if you are going to
      13∑∑A.∑∑To come up to the zero tolerance standard, that we need             13∑∑∑∑define expert as you defined it, yes.
      14∑∑∑∑to create a culture that supports that.∑That means                    14∑∑Q.∑∑So, by that definition, I worked in the conditions.
      15∑∑∑∑roll-call education.∑Everything that we're doing to                   15∑∑∑∑I've diffused situations.∑I dealt with many, many,
      16∑∑∑∑work towards that goal.                                               16∑∑∑∑many people.∑Then, by that definition, everyone who
      17∑∑Q.∑∑Is that still a work in progress?                                   17∑∑∑∑has been on staff for 25 years is equally qualified or
      18∑∑A.∑∑I think we are doing very well in that regard.                      18∑∑∑∑not qualified to be the PREA director?
      19∑∑Q.∑∑Any other areas of not being in compliance in August of             19∑∑A.∑∑To respond, protect, to assist with inmate needs,
      20∑∑∑∑2016?                                                                 20∑∑∑∑absolutely.∑So, do I have something more, yes.∑I have
      21∑∑A.∑∑I can't recall at this moment.                                      21∑∑∑∑a Bachelors and a Masters.∑I've been to the police
      22∑∑Q.∑∑Okay.∑So, the PREA standards, you're familiar with                  22∑∑∑∑executive research forum.∑I'm with the state's largest
      23∑∑∑∑them?                                                                 23∑∑∑∑sheriff's office.∑I have a great deal of knowledge
      24∑∑A.∑∑Yes.                                                                24∑∑∑∑about how to best care for inmates.∑There's no -- I
      25∑∑Q.∑∑When was the last time you reviewed them?                           25∑∑∑∑don't think that's a question.


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      ∑1∑∑Q.∑∑My question is what, in the year 2016, set you apart                ∑1∑∑∑∑finish.
      ∑2∑∑∑∑from others like Commander Cane or others like                        ∑2∑∑BY MS. PRESCOTT:
      ∑3∑∑∑∑Ms. Bell, one of the defendants in this case, who have                ∑3∑∑Q.∑∑Did you have more to your last answer?
      ∑4∑∑∑∑many, many, many years of taking care of prisoners in                 ∑4∑∑A.∑∑Just the fact that what we do every day is in the
      ∑5∑∑∑∑conditions of confinement, specifically to the PREA                   ∑5∑∑∑∑interest of sexual safety, of suicide prevention, of
      ∑6∑∑∑∑Act, and what it was bringing as a whole -- your words,               ∑6∑∑∑∑assault and batteries.∑Those are behaviors that we see
      ∑7∑∑∑∑a whole culture change.∑So, what did you have in 2016                 ∑7∑∑∑∑every day and react to every day.
      ∑8∑∑∑∑-- what did you have that spoke to the qualifications                 ∑8∑∑Q.∑∑You didn't remember what the question had been.∑The
      ∑9∑∑∑∑to bring around a cultural change?                                    ∑9∑∑∑∑question had been isn't it true that you had to take
      10∑∑A.∑∑Because I had the executive skills to do that.∑I was                10∑∑∑∑all this training in January of 2016 because you did
      11∑∑∑∑sergeant and commander and deputy chief.∑I inserted                   11∑∑∑∑not have prior training on the PREA standards, what
      12∑∑∑∑myself in every aspect of our agency.∑And I did it                    12∑∑∑∑each standard was, how it was going to be enforced, how
      13∑∑∑∑under four political administrations.∑There's no doubt                13∑∑∑∑it needed to be operationalized, what other departments
      14∑∑∑∑I would be qualified to do this.∑And you might know,                  14∑∑∑∑in the country were doing, all those kinds of things,
      15∑∑∑∑or you might not know, that agencies around the                       15∑∑∑∑you didn't have that prior to 2016; am I correct?
      16∑∑∑∑country, there is a -- the sergeant is the PREA                       16∑∑A.∑∑What was the first part of that question?
      17∑∑∑∑director or there is the lieutenant.                                  17∑∑Q.∑∑Am I correct that at some point in 2016, you had not
      18∑∑Q.∑∑Yes.                                                                18∑∑∑∑had training and education to specialize in whatever
      19∑∑A.∑∑So, I'm qualified.                                                  19∑∑∑∑the different PREA standards were, how they were
      20∑∑Q.∑∑Let's ask it this way:∑Did you have any education                   20∑∑∑∑operationalized, what other departments were doing
      21∑∑∑∑specific to sexual trauma, sexual victimization, sexual               21∑∑∑∑elsewhere, what they required, and so on?
      22∑∑∑∑defiance, PREA, any formal education in those subjects?               22∑∑A.∑∑My experience and my self study of that is what I have,
      23∑∑A.∑∑Perhaps in my Bachelors program and psychology courses.             23∑∑∑∑and then training courses.
      24∑∑Q.∑∑Perhaps or you did?                                                 24∑∑Q.∑∑The 2016 training course, right?
      25∑∑A.∑∑I would think yes that I did.                                       25∑∑A.∑∑Correct.

                                                                        Page 63                                                                        Page 65
      ∑1∑∑Q.∑∑Okay.∑When you say it like that, it sounds like you                 ∑1∑∑Q.∑∑Are you testifying that you took out the PREA Act at
      ∑2∑∑∑∑were imagining that's true, but you can't testify to it               ∑2∑∑∑∑some point prior to becoming involved as PREA director
      ∑3∑∑∑∑under oath?                                                           ∑3∑∑∑∑and you read the Act?
      ∑4∑∑A.∑∑Well, it was a long time ago.                                       ∑4∑∑A.∑∑Prior to '16?
      ∑5∑∑Q.∑∑Fair enough.∑I'm just asking for what you can sit here              ∑5∑∑Q.∑∑Yeah.
      ∑6∑∑∑∑and testify to under oath as a specific thing you                     ∑6∑∑A.∑∑Sure.
      ∑7∑∑∑∑remember.                                                             ∑7∑∑Q.∑∑When?
      ∑8∑∑A.∑∑We're aware of the psychology of a lock-up.∑We're                   ∑8∑∑A.∑∑As the deputy chief of jails in 2012.∑Maybe '11, '12,
      ∑9∑∑∑∑aware of manipulation.                                                ∑9∑∑∑∑'13.∑We had meetings on PREA even in those years.
      10∑∑Q.∑∑I'm asking about education, formal education.                       10∑∑Q.∑∑So, why weren't staff being trained on PREA in 2012 and
      11∑∑A.∑∑And I guess you asked that earlier.∑So, formally,                   11∑∑∑∑'13 if you were reading the Act and seeing that, as you
      12∑∑∑∑studying the Act, reading the Act, all my data from the               12∑∑∑∑say, your very most important standard said that you
      13∑∑∑∑PREA resource training, taking every training that they               13∑∑∑∑were to ensure the sexual safety, prevention,
      14∑∑∑∑have to offer.                                                        14∑∑∑∑detection, and response?
      15∑∑Q.∑∑Because you didn't know anything about what the Act's               15∑∑A.∑∑And don't forget every employee had that training in
      16∑∑∑∑ins and outs were, what the standards were, prior to                  16∑∑∑∑the correctional academy.
      17∑∑∑∑2016, correct?                                                        17∑∑Q.∑∑Why do you even have PREA training now then if you just
      18∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Objection, contradicts prior                        18∑∑∑∑go to the academy one day and you get, as you
      19∑∑∑∑testimony.                                                            19∑∑∑∑described, introduced to the concept that there was --
      20∑∑A.∑∑Right.∑Because we were aware of it in 2003.∑And we                  20∑∑∑∑there is a Prison Rape Elimination Act?∑Why do you
      21∑∑∑∑did --                                                                21∑∑∑∑have the training?∑Why don't you just rely on what's
      22∑∑BY MS. PRESCOTT:                                                        22∑∑∑∑at the academy?
      23∑∑Q.∑∑You were aware of it in 2002?                                       23∑∑A.∑∑I think the answer to that is we see that in the
      24∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Excuse me.∑You interrupted the                      24∑∑∑∑standard and we exceed the standards requirement.
      25∑∑∑∑witness, Sarah.∑Will you please allow the witness to                  25∑∑Q.∑∑So, your testimony is you're exceeding the requirements


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      ∑1∑∑∑∑of PREA in 2012 and '13 when it came to employee                      ∑1∑∑Q.∑∑Yes, I understand that.∑You're not here today to say
      ∑2∑∑∑∑training?                                                             ∑2∑∑∑∑that the Prison Rape Elimination Act didn't bring in a
      ∑3∑∑A.∑∑And in 2016.                                                        ∑3∑∑∑∑water shed change in the way that employees were to be
      ∑4∑∑Q.∑∑I'm back to your point.∑You said in 2012 and 2013                   ∑4∑∑∑∑trained and the entire culture shift that you described
      ∑5∑∑∑∑you're a leader in this department.∑And a leader of                   ∑5∑∑∑∑that it required, are you?
      ∑6∑∑∑∑all of the experts.∑You're pulling out the Act and                    ∑6∑∑A.∑∑No.∑I'm trying to follow your question.
      ∑7∑∑∑∑reading it and self studying it.∑So, I'm in 2012 and                  ∑7∑∑Q.∑∑I appreciate that.∑Because it was a hard one to get
      ∑8∑∑∑∑2013 now.∑And my question is why the department, if                   ∑8∑∑∑∑right.
      ∑9∑∑∑∑people like you are there self studying it, why doesn't               ∑9∑∑∑∑∑∑∑∑∑So, you have testified that PREA issued an
      10∑∑∑∑the department roll out training on PREA.∑And you                     10∑∑∑∑awareness that there needed to be, in the entire
      11∑∑∑∑answered well, they got it at the academy.∑And I said                 11∑∑∑∑industry, in the entire profession, a cultural -- all
      12∑∑∑∑well then why do they have it now?∑Why do the PREA                    12∑∑∑∑the way down to a cultural change, right?
      13∑∑∑∑training now after the academy, if you can just rely on               13∑∑A.∑∑Correct.
      14∑∑∑∑the first day before you were a sworn officer?∑That's                 14∑∑Q.∑∑So, while there may have been all kinds of stuff in
      15∑∑∑∑the question.                                                         15∑∑∑∑1980 or 1970 or 19 whatever, we needed to change things
      16∑∑A.∑∑It's a long-term process to meet and exceed all the                 16∑∑∑∑and congress made a bunch of findings about why, right?
      17∑∑∑∑standards.∑And that's certainly our goal.∑If I'm                      17∑∑A.∑∑Yes.
      18∑∑∑∑recalling 2012 and '13, we're talking about standards                 18∑∑Q.∑∑Because prison rape was described to be a serious
      19∑∑∑∑like the youthful offender standard where we were                     19∑∑∑∑problem and it was happening a lot, right?
      20∑∑∑∑struggling to create wards to house 17 year olds to                   20∑∑A.∑∑Yes.
      21∑∑∑∑comply with the Act.∑So, there are many pieces of the                 21∑∑Q.∑∑No matter what the training had been, it wasn't
      22∑∑∑∑Act that we're working on as command in those years.                  22∑∑∑∑stopping prison rape enough, according to U.S.
      23∑∑∑∑And we were able to correct the staffing plan to allow                23∑∑∑∑government?
      24∑∑∑∑for the formation of the youthful detainer ward.∑So,                  24∑∑A.∑∑Because one is too many.
      25∑∑∑∑there was other considerations going on.                              25∑∑Q.∑∑There was a huge problem seen by the government and

                                                                        Page 67                                                                        Page 69
      ∑1∑∑Q.∑∑At what point did anyone say we need to determine which             ∑1∑∑∑∑they made factual findings about that at the beginning
      ∑2∑∑∑∑employees have not received training on the PREA                      ∑2∑∑∑∑of the Act; you're familiar with that, right?
      ∑3∑∑∑∑standards because they haven't gone to an academy that                ∑3∑∑A.∑∑Yes.
      ∑4∑∑∑∑required it, or because they went to our academy before               ∑4∑∑Q.∑∑So, they said we need to change things, and here comes
      ∑5∑∑∑∑the year 2003?∑When did that discussion happen?                       ∑5∑∑∑∑2003 and they pass the Act.∑Everyone who had gone to
      ∑6∑∑A.∑∑There's two parts to that.∑There isn't anyone working               ∑6∑∑∑∑the academy before 2003 has not been part of what now
      ∑7∑∑∑∑that hasn't had exposure to the PREA requirement and                  ∑7∑∑∑∑is going to change.∑So, my question for you is because
      ∑8∑∑∑∑the jailers training in the state of Michigan.∑Because                ∑8∑∑∑∑they couldn't be -- because it wasn't passed, right,
      ∑9∑∑∑∑my recollection is it is part of the MSTC official                    ∑9∑∑∑∑and the cultural shift that we were going to do, and
      10∑∑∑∑academy.∑And I know that we have a module in ours.                    10∑∑∑∑the water shed moment hadn't begun.∑So, my question to
      11∑∑∑∑So, that may be one part.∑So, everyone is going to                    11∑∑∑∑you is when the Wayne County sheriff's office said we
      12∑∑∑∑have training on PREA.∑As you say initially --                        12∑∑∑∑got to go back and we got to pick up everybody who has
      13∑∑Q.∑∑Okay.∑But if you follow my point, if I go to the                    13∑∑∑∑been here since before 2003, or didn't go to our
      14∑∑∑∑academy in the year 2002, I don't have any exposure to                14∑∑∑∑academy, and they didn't have PREA-specific training,
      15∑∑∑∑the concept of the Prison Rape Elimination Act; do you                15∑∑∑∑when did they decide we got to do that?
      16∑∑∑∑agree with that?                                                      16∑∑A.∑∑You know, that's a question that we could defer to the
      17∑∑A.∑∑Well, if the Prison Rape Elimination Act didn't exist               17∑∑∑∑2012 training center.∑I'm not sure, sitting here right
      18∑∑∑∑in 2003 or didn't exist in 2002 --                                    18∑∑∑∑now.∑Because we always do in-service training.∑And I
      19∑∑Q.∑∑Right, it didn't.                                                   19∑∑∑∑was instrumental in training, our education system that
      20∑∑A.∑∑So, what they have would be sexual safety training,                 20∑∑∑∑we had at the time.∑And the training center was
      21∑∑∑∑just a viewpoint from a professional correctional                     21∑∑∑∑responsible for putting out program matter, in-services
      22∑∑∑∑officer, that this is something that we pay attention                 22∑∑∑∑every year.∑So, sitting here, I'm not sure that there
      23∑∑∑∑to, that is risk of suicide, risk of assault and                      23∑∑∑∑wouldn't have been something that they would have taken
      24∑∑∑∑batteries, risk of sexual predation is a risk that is                 24∑∑∑∑in those years.
      25∑∑∑∑always trained.                                                       25∑∑Q.∑∑Was there a zero tolerance policy on sexual assault and


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      ∑1∑∑∑∑sexual harassment promulgated with that kind of work                  ∑1∑∑∑∑conflict with the federal rule.∑And in Michigan, a 17
      ∑2∑∑∑∑and that kind of cultural construct before 2002 at the                ∑2∑∑∑∑year old cannot be housed in an adult jail.∑It
      ∑3∑∑∑∑Wayne County jail?                                                    ∑3∑∑∑∑violates PREA.
      ∑4∑∑A.∑∑I don't know if there was 1417 prior to the 2009 that's             ∑4∑∑Q.∑∑So, a state judge enforced state law and ordered that
      ∑5∑∑∑∑a revision.∑I'm not sure.                                             ∑5∑∑∑∑youth 17 and under be removed, right?
      ∑6∑∑Q.∑∑You're aware that PREA said that current employees who              ∑6∑∑A.∑∑I think so.
      ∑7∑∑∑∑have not received PREA training had to have it within                 ∑7∑∑Q.∑∑And so, that happened in 2013.∑And clearly by then,
      ∑8∑∑∑∑one year of the effective year of the PREA standards,                 ∑8∑∑∑∑the department knew this PREA, these PREA rules, we're
      ∑9∑∑∑∑correct?                                                              ∑9∑∑∑∑supposed to be following and enforcing them, right?
      10∑∑A.∑∑Correct.                                                            10∑∑A.∑∑Yes.
      11∑∑Q.∑∑And you're also aware that the agency was required to               11∑∑Q.∑∑Was there a memo or any kind of writing by anybody to
      12∑∑∑∑provide refresher training to all employees, even when                12∑∑∑∑say you guys, we're supposed to be training, we're
      13∑∑∑∑they had had something back at the academy, every two                 13∑∑∑∑supposed to have these refreshers for every single
      14∑∑∑∑years, right?                                                         14∑∑∑∑staff member for PREA?∑It came in effect in 2012.
      15∑∑A.∑∑Yes.                                                                15∑∑∑∑We're not doing that.∑Was there any memo that talks
      16∑∑Q.∑∑So, was there an audit done of who got what, and who                16∑∑∑∑about hey, here's what we're not compliant with, you
      17∑∑∑∑needs what, where is everybody in their two years, did                17∑∑∑∑guys; any time ever that you've seen?
      18∑∑∑∑they get it at what academy?∑Are you aware of any kind                18∑∑A.∑∑I don't recall from 2012.
      19∑∑∑∑of audit of that nature?                                              19∑∑Q.∑∑How about '13, '14, '15, '16?
      20∑∑A.∑∑I was not in the training center in those years.∑I'm                20∑∑A.∑∑I don't recall prior to mine.
      21∑∑∑∑not aware of any actions that would have been taken                   21∑∑Q.∑∑Well, you didn't write a memo saying here's what we're
      22∑∑∑∑regarding that.                                                       22∑∑∑∑not compliant with?
      23∑∑Q.∑∑And, in fact, when you come in in 2016, and you say                 23∑∑A.∑∑Regarding training?
      24∑∑∑∑everybody please order that there be this PREA                        24∑∑Q.∑∑Or anything.∑Any of the standards, did you?
      25∑∑∑∑training, it's because of this standard saying that                   25∑∑A.∑∑Well, there's several memos in there that are dealing

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      ∑1∑∑∑∑people needed to get refresher training on a regular,                 ∑1∑∑∑∑directly with standards that need improvement.
      ∑2∑∑∑∑at least two-year basis, right?                                       ∑2∑∑Q.∑∑Okay.∑You understood that the policy also needed to be
      ∑3∑∑A.∑∑Correct.                                                            ∑3∑∑∑∑revised and that's why you were working on it, right,
      ∑4∑∑Q.∑∑So, why did anybody issue that order in 2012 or 2013                ∑4∑∑∑∑because of PREA, right?
      ∑5∑∑∑∑when, as you say, people were sitting around in the                   ∑5∑∑A.∑∑We chose to update the 2009 version to incorporate more
      ∑6∑∑∑∑command offices self studying this thing?                             ∑6∑∑∑∑of the PREA rules, yes.
      ∑7∑∑A.∑∑I think I said we were acting on other portions of the              ∑7∑∑Q.∑∑And so, what, whether it's the training, whether it's
      ∑8∑∑∑∑Act in order to attempt to come into compliance.                      ∑8∑∑∑∑the policy -- let's go to auditing.∑PREA requires
      ∑9∑∑Q.∑∑Isn't it true -- isn't it that even the Act that had                ∑9∑∑∑∑audits for sexual safety.∑That's a standard that is
      10∑∑∑∑been passed, one of the things that happened is that a                10∑∑∑∑part of the law since 2012 at least; are you familiar
      11∑∑∑∑Wayne County judge said you had to move all the youth                 11∑∑∑∑with that?
      12∑∑∑∑and they couldn't be kept with the adults in 2013; do                 12∑∑A.∑∑Yes.
      13∑∑∑∑you remember that?                                                    13∑∑Q.∑∑There's never been an audit, right?
      14∑∑A.∑∑I don't remember.∑I don't remember the specific order.              14∑∑A.∑∑We plan on having an audit in the new facility.
      15∑∑∑∑I know we created a youthful ward.                                    15∑∑Q.∑∑But there hasn't been one yet?
      16∑∑Q.∑∑So, you don't recall that you just didn't create it,                16∑∑A.∑∑There hasn't been one at the current jail.
      17∑∑∑∑that it had to be litigated over and a judge ordered                  17∑∑Q.∑∑So, in that respect, and maybe others, but at least in
      18∑∑∑∑it?                                                                   18∑∑∑∑that respect, still no compliance with PREA right up to
      19∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Objection, foundation.∑Go                           19∑∑∑∑2021, right?
      20∑∑∑∑ahead and again answer, if you can.                                   20∑∑A.∑∑With respect to audits, yes.
      21∑∑BY MS. PRESCOTT:                                                        21∑∑Q.∑∑And I guess I can -- can you help me understand the
      22∑∑Q.∑∑I'll ask it again.∑You're not aware that a judge had                22∑∑∑∑thinking.∑This jail is so old and the facility is
      23∑∑∑∑to order that the department take the kids out of the                 23∑∑∑∑literally -- cannot comply with PREA, like cross-gender
      24∑∑∑∑adult areas because of PREA in 2013?                                  24∑∑∑∑viewing.∑Therefore, we're not going to audit what
      25∑∑A.∑∑I recall that happening regarding state laws, a                     25∑∑∑∑might be dangerous in this facility.∑I don't


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      ∑1∑∑∑∑understand the thinking of putting off the audit to                  ∑1∑∑∑∑with sprinkler systems.∑We have spent a lot of money
      ∑2∑∑∑∑move away from where, you know, you have PREA problems.              ∑2∑∑∑∑trying to make that jail safer and more comfortable for
      ∑3∑∑A.∑∑Well, we want to comply and want to work towards                   ∑3∑∑∑∑the inmates just within the last 20 years.
      ∑4∑∑∑∑complying, and our goal is to do that.∑And I think we                ∑4∑∑Q.∑∑That's because the inmates took the sheriff and the
      ∑5∑∑∑∑made significant progress.∑I don't think we felt like                ∑5∑∑∑∑county to court and said the conditions of confinement
      ∑6∑∑∑∑that this would help us, because it would negate -- the              ∑6∑∑∑∑here are, I think the word was barbaric, and the court
      ∑7∑∑∑∑new facility would need to have a hundred percent                    ∑7∑∑∑∑ordered a whole slew of improvements to be made.∑When
      ∑8∑∑∑∑compliance audit.∑And trying to bring 1926 into a 21st               ∑8∑∑∑∑the sheriff was in public saying we can't even invest
      ∑9∑∑∑∑century state-of-the art detention facility, you know,               ∑9∑∑∑∑in this building when we're going to be moving.∑Does
      10∑∑∑∑there would never be -- I don't know how we could pass               10∑∑∑∑that history sound familiar?
      11∑∑∑∑that audit.                                                          11∑∑A.∑∑Well, we weren't moving.∑The case is from 1971.∑And
      12∑∑Q.∑∑When you say 1926, you're talking about the date that              12∑∑∑∑we were building a new facility for 1984.
      13∑∑∑∑the Wayne County jail was open?                                      13∑∑Q.∑∑Right.∑And the sheriff publicly said that the office
      14∑∑A.∑∑Yeah.∑Well, not open, but that particular building.                14∑∑∑∑had stopped doing anything improvement wise in the jail
      15∑∑Q.∑∑That particular building.∑And so, your point is there              15∑∑∑∑because they expected to move.∑Do you recall that?
      16∑∑∑∑wasn't a way to pass the audit in the building that you              16∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Objection, foundation.
      17∑∑∑∑were in?                                                             17∑∑A.∑∑Yeah, I can't recall that.
      18∑∑A.∑∑There may have been a way, but the resources might not             18∑∑BY MS. PRESCOTT:
      19∑∑∑∑have been -- it might not have made sense to do that.                19∑∑Q.∑∑You don't recall that?
      20∑∑∑∑I mean, it didn't comply in any way.∑And interesting,                20∑∑A.∑∑No.
      21∑∑∑∑we do comply with the cross-gender viewing in that                   21∑∑Q.∑∑You don't recall that the sheriff had to go down and
      22∑∑∑∑building, but we don't have privacy screens there.                   22∑∑∑∑there was a whole court case in 2013 and '14 and fight
      23∑∑Q.∑∑Okay.∑So, any other reason that audits haven't been                23∑∑∑∑over the fact that there wasn't even money and they
      24∑∑∑∑conducted to this point?                                             24∑∑∑∑couldn't keep investing?∑You don't remember that?
      25∑∑A.∑∑Just that we're working towards that.∑That's our goal.             25∑∑A.∑∑I was not there in '14.∑I don't recall that.

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      ∑1∑∑∑∑And many other sheriff's offices are also working                    ∑1∑∑Q.∑∑But just to finish up this section, you never went back
      ∑2∑∑∑∑towards that goal.                                                   ∑2∑∑∑∑to a list of standards and said let's take out the list
      ∑3∑∑Q.∑∑Okay.∑You've never worked at any other sheriff's                   ∑3∑∑∑∑and let's line up where we're meeting and where we're
      ∑4∑∑∑∑office, correct?                                                     ∑4∑∑∑∑not meeting and put that in writing, right?∑You never
      ∑5∑∑A.∑∑Correct.                                                           ∑5∑∑∑∑did that?
      ∑6∑∑Q.∑∑You've never been detailed to another sheriff's office             ∑6∑∑A.∑∑That's what we did all in 2016.
      ∑7∑∑∑∑or whatnot, have you?                                                ∑7∑∑Q.∑∑Where is it?∑I'm asking did you put down on paper
      ∑8∑∑A.∑∑No.                                                                ∑8∑∑∑∑here's what we're missing and here's where we're
      ∑9∑∑Q.∑∑Are you aware of the classification systems that are               ∑9∑∑∑∑complying?
      10∑∑∑∑used and were used in 2016 to screen for risk of                     10∑∑A.∑∑Not like that.
      11∑∑∑∑potential victimization and potential aggressors                     11∑∑Q.∑∑Okay.
      12∑∑∑∑pursuant to PREA in other facilities around the region?              12∑∑A.∑∑I think there is a record of the standards that we
      13∑∑A.∑∑No.∑I'm not in the technology group.∑So, the                       13∑∑∑∑worked on in 2016.
      14∑∑∑∑awareness may be with our technology group.∑That is                  14∑∑Q.∑∑And so, you can't testify, even sitting here today,
      15∑∑∑∑their responsibility for a new computer system in the                15∑∑∑∑that the jail -- what items it was in compliance on and
      16∑∑∑∑new jail.∑I'm sure they're aware of it.                              16∑∑∑∑what it wasn't in compliance with in 2016, can you?
      17∑∑Q.∑∑Isn't it true that the department has made calculated              17∑∑A.∑∑My understanding is we were most in compliance with the
      18∑∑∑∑decisions over the years to forego investments in                    18∑∑∑∑Act in 2016, moving towards compliance.
      19∑∑∑∑safety and security and upgrades at the 1926 jail, as                19∑∑Q.∑∑Now, you said that everybody gets training on PREA and
      20∑∑∑∑you put it, because the hope and expectation was that                20∑∑∑∑everybody has had it.∑You don't know the date that
      21∑∑∑∑prisoners wouldn't be housed there much longer?                      21∑∑∑∑everybody got their statutory or their
      22∑∑A.∑∑No, I don't think that's true.∑I think we went through             22∑∑∑∑federally-required PREA training completed in the jail
      23∑∑∑∑extensive renovations and changes and spent millions                 23∑∑∑∑that you asked for it to happen, right?
      24∑∑∑∑and millions of dollars adding and making it safer for               24∑∑A.∑∑Other than it was done in that year.
      25∑∑∑∑prison inmates with lighting, with air-conditioning,                 25∑∑Q.∑∑For example, the lady who put Solomon down in the


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      ∑1∑∑∑∑classification that apparently allowed him to be with                 ∑1∑∑∑∑computers.
      ∑2∑∑∑∑my client, she got the training on the day my client                  ∑2∑∑Q.∑∑Fair enough.∑Listen, I understand you came into this
      ∑3∑∑∑∑was raped, according to a little certificate.∑You                     ∑3∑∑∑∑in January.∑I understand that.∑My point is the PREA
      ∑4∑∑∑∑would agree with me that that doesn't help someone for                ∑4∑∑∑∑standards came in in 2012.∑PREA was enacted in 2003.
      ∑5∑∑∑∑someone to get PREA training after they've already gone               ∑5∑∑∑∑And in none of that time, all of those prisoners that
      ∑6∑∑∑∑through the steps that lead to these two people being                 ∑6∑∑∑∑went through, the hundreds of thousands of people that
      ∑7∑∑∑∑housed together?                                                      ∑7∑∑∑∑were processed through those years, are going through
      ∑8∑∑A.∑∑How would she magically know about that.                            ∑8∑∑∑∑with classification people who, according to our
      ∑9∑∑Q.∑∑Are you aware whether the classification staff had any              ∑9∑∑∑∑records, aren't getting any kind of training, some of
      10∑∑∑∑PREA training, any kind of sexual assault -- some of                  10∑∑∑∑the civilians especially, and did you know that?
      11∑∑∑∑them aren't officers.∑They didn't go to the academy.                  11∑∑A.∑∑No.∑Because, like I said, we train civilians.∑So, I
      12∑∑∑∑Are you aware of that?                                                12∑∑∑∑don't look at them as being different or exempt from
      13∑∑A.∑∑So, if they didn't attend, they were required to take               13∑∑∑∑training.
      14∑∑∑∑this in-service training regardless.∑They might have                  14∑∑Q.∑∑What training did the woman who had classified Solomon
      15∑∑∑∑attended a civilian jailers training.∑We used to do                   15∑∑∑∑have on the day that she classified him; do you know
      16∑∑∑∑that.∑I'm not aware what they were doing with civilian                16∑∑∑∑that?
      17∑∑∑∑training.                                                             17∑∑A.∑∑No.
      18∑∑Q.∑∑They may have.∑But the records we got show they                     18∑∑Q.∑∑Do you know that she is basically an admin clerk?
      19∑∑∑∑didn't, after processing Burks and Solomon through, and               19∑∑A.∑∑I do not know that.
      20∑∑∑∑they didn't go to the academy.∑Were you aware that                    20∑∑Q.∑∑Do you recall that it used to be that sworn officers
      21∑∑∑∑that was the state of training and education in the                   21∑∑∑∑did interviews with inmates and did like a worksheet
      22∑∑∑∑office in 2016 like so?∑In 2016, were you aware of                    22∑∑∑∑with them as part of the old way things used to be done
      23∑∑∑∑that?                                                                 23∑∑∑∑when they were classified?
      24∑∑A.∑∑Well, I'm aware that even civilians get training before             24∑∑A.∑∑I'm aware that it's changed over time.∑That that was a
      25∑∑∑∑they start.∑And we always had an avenue to train them                 25∑∑∑∑way in the past.

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      ∑1∑∑∑∑in a civilian-style academy.∑So, without guns or --                   ∑1∑∑Q.∑∑But you're not aware of what the policy was that an
      ∑2∑∑Q.∑∑That's fair.∑Rolling back to the tape in your memory                ∑2∑∑∑∑officer would go through a worksheet with each inmate
      ∑3∑∑∑∑to 2016, do you recall being aware that classifications               ∑3∑∑∑∑and like an actual interview?
      ∑4∑∑∑∑were being handled by people who were not getting any                 ∑4∑∑A.∑∑If that's true, it's in the classification policy.
      ∑5∑∑∑∑academy training, let alone the two-year refresher                    ∑5∑∑Q.∑∑Yeah.∑From long ago.∑But that's not something that
      ∑6∑∑∑∑training that was supposed to be going on?                            ∑6∑∑∑∑you're familiar with?
      ∑7∑∑A.∑∑I would be aware, and was aware, that there would be                ∑7∑∑A.∑∑Well, I'm familiar with that that process happens and
      ∑8∑∑∑∑civilians working in various places in the agency.∑But                ∑8∑∑∑∑that someone interviews them, medically reviews them,
      ∑9∑∑∑∑they wouldn't be exempt from this updated training.                   ∑9∑∑∑∑and all the general steps.
      10∑∑Q.∑∑And they weren't -- it is just that it came after they              10∑∑Q.∑∑So, why did it change to the process that's going --
      11∑∑∑∑dealt with my client.∑So, I appreciate that now in the                11∑∑∑∑whatever the process is today?∑Do you know why it
      12∑∑∑∑year 2021 they've gotten the training, and maybe even                 12∑∑∑∑changed?∑Was it resources?
      13∑∑∑∑some refreshers that they're supposed to.∑Maybe                       13∑∑A.∑∑I wouldn't be -- I wouldn't have been part of the
      14∑∑∑∑they're getting the refresher trainings they're                       14∑∑∑∑discussion.
      15∑∑∑∑supposed to get.∑My question is whether in 2016 you                   15∑∑Q.∑∑Nobody ever said hey, you know, you've been retained,
      16∑∑∑∑were aware that the staff, in classification in                       16∑∑∑∑you've been deputized, you're on board, why don't you
      17∑∑∑∑particular, didn't get any sexual assault training?                   17∑∑∑∑sort of gather a memo of where we're falling down on
      18∑∑A.∑∑I would just be aware of the directive that they all                18∑∑∑∑the PREA standards or where we're doing really great?
      19∑∑∑∑received the training, including classification, and                  19∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Objection, asked and answered.
      20∑∑∑∑not excluding anyone.                                                 20∑∑BY MS. PRESCOTT:
      21∑∑Q.∑∑Right.∑That you gave that didn't go into effect until               21∑∑Q.∑∑It sounds like no one ever asked you to do that kind of
      22∑∑∑∑-- you don't even know when it was completed.∑Some                    22∑∑∑∑a write-up, right?
      23∑∑∑∑time in 2016, right?                                                  23∑∑A.∑∑Well, I guess my answer is I took it upon myself to
      24∑∑A.∑∑I gave the division some freedom to make their own end              24∑∑∑∑take it in smaller bites, to send it out with directive
      25∑∑∑∑dates based on their individual needs and access to                   25∑∑∑∑changes.


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      ∑1∑∑Q.∑∑Command staff above you never said please do this,                 ∑1∑∑∑∑it, they were expected, told what they were expected to
      ∑2∑∑∑∑right?                                                               ∑2∑∑∑∑do, right?
      ∑3∑∑A.∑∑No, that I recall.                                                 ∑3∑∑A.∑∑I don't look at policy as a tools to punish people.
      ∑4∑∑Q.∑∑Some basics on the policy piece.∑Is it your                        ∑4∑∑Q.∑∑But one nice thing about having policies is it puts
      ∑5∑∑∑∑understanding that written policies are meant to be                  ∑5∑∑∑∑people on notice of what their expectations are for
      ∑6∑∑∑∑picked up by anybody in the department who can read it               ∑6∑∑∑∑their conduct, right?
      ∑7∑∑∑∑and understand it and implement it, this is what we do,              ∑7∑∑A.∑∑To help them carry out their job.
      ∑8∑∑∑∑that's what the written policies are for?                            ∑8∑∑Q.∑∑Yeah.
      ∑9∑∑A.∑∑Yes.                                                               ∑9∑∑A.∑∑Yes.
      10∑∑Q.∑∑Do you think that someone who picks up the policies                10∑∑Q.∑∑And some of the policies are there because they're
      11∑∑∑∑about operations knows how the department really works               11∑∑∑∑needed to keep prisoners and staff safe, right?
      12∑∑∑∑when they read the policies?∑Or do you think that the                12∑∑A.∑∑Yes.
      13∑∑∑∑policies are just sort of guidelines that aren't really              13∑∑Q.∑∑And policies are -- when they're written, and it sounds
      14∑∑∑∑reflecting actual practice?                                          14∑∑∑∑like when you went through your whole process, and it
      15∑∑A.∑∑I think the policies do reflect practice.∑And I don't              15∑∑∑∑took a long time, it takes a long time because once a
      16∑∑∑∑think it's realistic to assume that we would just sit                16∑∑∑∑policy is in place, it's an order, it's a command.∑You
      17∑∑∑∑someone down and say here's 500 pages, now go do those               17∑∑∑∑don't get to pick and choose if you want to follow it,
      18∑∑∑∑things.∑It doesn't happen like that.                                 18∑∑∑∑correct?
      19∑∑Q.∑∑I'm saying if someone like me, if I read the policies,             19∑∑A.∑∑That's correct.
      20∑∑∑∑am I seeing what is really happening?∑Is there like a                20∑∑Q.∑∑You testified about your level of awareness of Burks
      21∑∑∑∑de facto set of actual practices that aren't what the                21∑∑∑∑and Solomon and who assigned them together, to be
      22∑∑∑∑policies show?                                                       22∑∑∑∑together.∑Do you recall being asked about that?
      23∑∑A.∑∑I don't think there is a de facto set of policies. I               23∑∑A.∑∑I don't, but I don't have an awareness of who
      24∑∑∑∑think the policies work in a totality where, you know,               24∑∑∑∑classified them and housed them.
      25∑∑∑∑over time and distance all these policies they don't --              25∑∑Q.∑∑How about were you honest when I asked you about what

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      ∑1∑∑∑∑they're not -- I don't believe they can work and just                ∑1∑∑∑∑you knew about whether people were following internal
      ∑2∑∑∑∑read this one.∑I mean, they just all work together and               ∑2∑∑∑∑policies about sexual assaults and assault and
      ∑3∑∑∑∑they all come from a different intention, let's say,                 ∑3∑∑∑∑batteries and how they were managed?
      ∑4∑∑∑∑right.∑So, there's -- but it doesn't mean that other                 ∑4∑∑A.∑∑Well, I'm not here to lie.
      ∑5∑∑∑∑things don't affect what's happening in that policy.                 ∑5∑∑Q.∑∑I'm asking about your prior testimony.∑You didn't see
      ∑6∑∑∑∑So, it's a complex environment.                                      ∑6∑∑∑∑anything wrong with your prior testimony about who was
      ∑7∑∑Q.∑∑So -- are you finished?∑I don't want to cut you off.               ∑7∑∑∑∑following policy, what you knew about who was following
      ∑8∑∑A.∑∑No, go ahead.                                                      ∑8∑∑∑∑policy, correct?
      ∑9∑∑Q.∑∑I'm not sure I understand.∑You said there is not a de              ∑9∑∑A.∑∑Well, my assumption is that people follow the policy.
      10∑∑∑∑facto set of the way we really do it, policies.∑And                  10∑∑Q.∑∑Well, okay.∑My question was whether or not you recall
      11∑∑∑∑then you just told me there is a complicated system and              11∑∑∑∑seeing anything wrong in your prior testimony about
      12∑∑∑∑everything affects it.∑Are you saying there is a de                  12∑∑∑∑what you knew, what you know when it comes to who
      13∑∑∑∑facto set of different practices?                                    13∑∑∑∑followed internal policies or who didn't regarding
      14∑∑A.∑∑No.∑I'm saying there are other policies that help you              14∑∑∑∑Solomon's placement?
      15∑∑∑∑understand the individual policy.∑If you have a                      15∑∑A.∑∑I still don't know that.∑I don't recall what's written
      16∑∑∑∑question, most likely there is another policy that's                 16∑∑∑∑in my prior testimony, but I don't know that.
      17∑∑∑∑answering that question.∑Because it is -- they can be                17∑∑Q.∑∑You aren't somebody who has a -- who has a particular
      18∑∑∑∑very specific.                                                       18∑∑∑∑knowledge of the classification process, such as the
      19∑∑Q.∑∑And part of the reasoning you have policies is so that             19∑∑∑∑screening documents and the steps, right?
      20∑∑∑∑the enforcement of expectations can be fair to the                   20∑∑A.∑∑I have not been in command over that.
      21∑∑∑∑staff and to the prisoners, right?                                   21∑∑Q.∑∑And you still don't know whether the classification
      22∑∑A.∑∑Enforcement of rules.                                              22∑∑∑∑process was handled according to policy or not?∑Or you
      23∑∑Q.∑∑So what you're enforcing, it's actually you already                23∑∑∑∑can't comment about the classification process with
      24∑∑∑∑knew this, you have the policies.∑So that when you                   24∑∑∑∑Solomon and Burks, can you?
      25∑∑∑∑have to enforce your rules, it's fair they knew about                25∑∑A.∑∑No.∑Because I don't -- I really don't understand. I


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      ∑1∑∑∑∑mean, I wasn't part of that.∑So, I don't have any                     ∑1∑∑A.∑∑Yes.∑610 was a protection ward.∑And you would be
      ∑2∑∑∑∑direct knowledge of it.∑But I do believe that they                    ∑2∑∑∑∑moved there if you had some sort of concern.∑Either
      ∑3∑∑∑∑correctly classified people.∑They're very good at it.                 ∑3∑∑∑∑the inmate or the housing officer would detect that
      ∑4∑∑∑∑I have no reason to believe that they wouldn't properly               ∑4∑∑∑∑would be a place to eliminate the general population
      ∑5∑∑∑∑classify anyone.                                                      ∑5∑∑∑∑interacting.
      ∑6∑∑Q.∑∑But you don't have any specific knowledge particular to             ∑6∑∑Q.∑∑Is protective custody supposed to be a place where the
      ∑7∑∑∑∑Solomon or Burks in that regard, right?                               ∑7∑∑∑∑custody is more protective than general population?
      ∑8∑∑A.∑∑No.                                                                 ∑8∑∑A.∑∑In the sense that you don't want to interact with
      ∑9∑∑Q.∑∑Same question with regard to the screening process with             ∑9∑∑∑∑another specific person or a specific group or you just
      10∑∑∑∑regard to either of them.∑You don't know anything                     10∑∑∑∑might feel safer with less people around you.∑I mean,
      11∑∑∑∑specific about Solomon and Burks and the screening                    11∑∑∑∑I think there's a wide range of reasoning for
      12∑∑∑∑intakes?                                                              12∑∑∑∑separating someone from the general population.
      13∑∑A.∑∑No.                                                                 13∑∑Q.∑∑Yes, I agree.∑But, for example, there could be two
      14∑∑Q.∑∑We talked about management of offenders or prisoners in             14∑∑∑∑different types of people.∑There could be Hannibal
      15∑∑∑∑the last deposition.∑Just to be clear on our                          15∑∑∑∑Lecter, who is going to eat anybody that he is housed
      16∑∑∑∑terminology, when I say management of a prisoner, I                   16∑∑∑∑with, and very extremely scary and can't be trusted, or
      17∑∑∑∑mean like how they're moved.∑You know, where they                     17∑∑∑∑an elderly grandfather who is 104 and can barely move.
      18∑∑∑∑might be housed.∑What programming they might receive.                 18∑∑∑∑Can both of those people be put into protective custody
      19∑∑∑∑Is that your understanding?                                           19∑∑∑∑in the same thing, in the same little interacting unit?
      20∑∑A.∑∑I understand what you're saying.∑I don't recall the                 20∑∑A.∑∑I think the answer is it depends.∑I mean, I'm trying
      21∑∑∑∑testimony.                                                            21∑∑∑∑to think through your scenario.∑And it would be
      22∑∑Q.∑∑Does that understanding of management line up with the              22∑∑∑∑unlikely someone who could barely move would be --
      23∑∑∑∑way you use the word management?∑When I say how is                    23∑∑∑∑might be in the medical ward for care and custody.
      24∑∑∑∑that prisoner managed, do you understand that to be in                24∑∑∑∑Someone who, you know, eats other people, I think they
      25∑∑∑∑reference to how they were housed, what programming                   25∑∑∑∑would be housed in a more restrictive environment like

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      ∑1∑∑∑∑they went to, where they were moved in the facility?                  ∑1∑∑∑∑maximum.
      ∑2∑∑A.∑∑I think of that term as housing.                                    ∑2∑∑Q.∑∑What if they have just been convicted of mutilating
      ∑3∑∑Q.∑∑Okay.∑Do you understand that in August of 2016, the                 ∑3∑∑∑∑dead bodies and raping young children, they don't go to
      ∑4∑∑∑∑Wayne County sheriff's office knew that my client,                    ∑4∑∑∑∑maximum security, do they?
      ∑5∑∑∑∑Mr. Burks, was at a serious risk of attack from other                 ∑5∑∑A.∑∑So, then you moved on to how do you determine those
      ∑6∑∑∑∑prisoners within his walls?                                           ∑6∑∑∑∑conditions.∑And that's a different question.
      ∑7∑∑A.∑∑I don't know.∑I don't have knowledge of that.                       ∑7∑∑Q.∑∑Okay.∑But let's go to this one.∑People who are
      ∑8∑∑Q.∑∑Do you know whether the Wayne County sheriff's office               ∑8∑∑∑∑charged with mutilating dead bodies and raping children
      ∑9∑∑∑∑knew that he was a particularly vulnerable prisoner in                ∑9∑∑∑∑and rape and mayhem.∑And then people that have been
      10∑∑∑∑August of 2016?                                                       10∑∑∑∑convicted of, you know, bad check writing.∑They've
      11∑∑A.∑∑I don't have any knowledge of that.                                 11∑∑∑∑never been convicted of eating people and mutilating
      12∑∑Q.∑∑Do you know if anyone knew that he had never been in                12∑∑∑∑dead bodies.∑They don't go to maximum security at the
      13∑∑∑∑prison before or jail before?                                         13∑∑∑∑Wayne County jail; you're aware of that?
      14∑∑A.∑∑I don't know.                                                       14∑∑A.∑∑I think the answer is it depends on -- it depends on
      15∑∑Q.∑∑You don't know.∑Did the Wayne County sheriff's office               15∑∑∑∑what they're presented with.
      16∑∑∑∑take action relative to Burks and his vulnerable status               16∑∑Q.∑∑So, they can, but they don't necessarily go to maximum
      17∑∑∑∑because he presented a harm to himself in particular?                 17∑∑∑∑security is your point?
      18∑∑A.∑∑Based on him being housed in the protection unit, I                 18∑∑A.∑∑Well, I think that's true for every prisoner that's
      19∑∑∑∑think they specifically drew the conclusion that they                 19∑∑∑∑classified.∑I think they make decisions on what they
      20∑∑∑∑put him there as a solution to what they viewed as a                  20∑∑∑∑see.
      21∑∑∑∑risk.                                                                 21∑∑Q.∑∑If they see, in the classification ward, that Solomon
      22∑∑Q.∑∑Okay.∑But do you know whether that's why he was there?              22∑∑∑∑had been arrested for mutilating a dead body, sexually
      23∑∑A.∑∑No.                                                                 23∑∑∑∑offending 13 to 15 year olds, why didn't they override
      24∑∑Q.∑∑Okay.∑And so, what is the special unit you're                       24∑∑∑∑anything and put him in maximum security?
      25∑∑∑∑referring to, protective custody?                                     25∑∑A.∑∑I don't have any knowledge of what they saw or didn't


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      ∑1∑∑∑∑see or how to classify that.                                          ∑1∑∑∑∑housing options that we have.∑There is single cell.
      ∑2∑∑Q.∑∑So, going back to policy then, are you aware that in                ∑2∑∑∑∑There is isolation.∑There's more housing available for
      ∑3∑∑∑∑the year 2016, protective custody was being used as a                 ∑3∑∑∑∑someone who is so vulnerable.∑I just can't agree that
      ∑4∑∑∑∑place to put people who were difficult to manage due to               ∑4∑∑∑∑it's A or B.
      ∑5∑∑∑∑institutional misconduct, difficulty with others,                     ∑5∑∑Q.∑∑You can't agree that it's something that should be done
      ∑6∑∑∑∑prisoner rock bossing, and so on, at the same time, in                ∑6∑∑∑∑or shouldn't be done?
      ∑7∑∑∑∑the same ward, putting people who were vulnerable to                  ∑7∑∑A.∑∑Well, no one is going to advocate for harming people
      ∑8∑∑∑∑attack?∑They're mixing those two groups in the same                   ∑8∑∑∑∑through housing.∑I mean, no one is going to say that.
      ∑9∑∑∑∑ward; did you know that in 2016?                                      ∑9∑∑Q.∑∑I understand.∑I'm talking about what is smart to do in
      10∑∑A.∑∑I would say, again, that it would depend on the facts               10∑∑∑∑order to keep people peaceful, happy, safe prisoners.
      11∑∑∑∑presented.∑There are many reasons you might not want                  11∑∑A.∑∑Yeah, they do that every day.
      12∑∑∑∑to be in general population.                                          12∑∑Q.∑∑People that aren't raped.∑And I'm asking you, in my
      13∑∑Q.∑∑I'm saying that are you aware that that pattern was                 13∑∑∑∑scenario, do you think that those two prisoner groups
      14∑∑∑∑occurring in 2016?                                                    14∑∑∑∑that I just described, or profiles I just described,
      15∑∑A.∑∑I'm not aware of that as a pattern, no.                             15∑∑∑∑are people that are properly housed together?∑Do you
      16∑∑Q.∑∑Are you aware of that ever occurring?                               16∑∑∑∑need me to repeat it?
      17∑∑A.∑∑I'm not aware of them dangerously putting people                    17∑∑A.∑∑Yeah.∑If you want me to answer a hypothetical, I need
      18∑∑∑∑together, no.                                                         18∑∑∑∑to understand the parameters.
      19∑∑Q.∑∑So, you understand that it would be dangerous to put a              19∑∑Q.∑∑You're here today to be an expert, right; you
      20∑∑∑∑vulnerable person in with somebody who was difficult to               20∑∑∑∑understand that?
      21∑∑∑∑manage, having problems with others, rock bossing,                    21∑∑A.∑∑Yes.
      22∑∑∑∑manipulating others, raping people, violating and                     22∑∑Q.∑∑Okay.∑And you're here today citing your expertise and
      23∑∑∑∑raping bunkies, and so on; you would not put those two                23∑∑∑∑all of the years of experience.∑So, that's why I'm
      24∑∑∑∑together, would you?                                                  24∑∑∑∑asking the hypothetical.∑A particular person who the
      25∑∑A.∑∑I think it's an impossible sort of question if we don't             25∑∑∑∑Wayne County jail has identified as being vulnerable to

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      ∑1∑∑∑∑have the facts of what they knew.                                     ∑1∑∑∑∑be attacked by other prisoners, should that profile of
      ∑2∑∑Q.∑∑I didn't ask what anyone knew.∑I'm saying you, with                 ∑2∑∑∑∑a person be housed with the profile of a person that
      ∑3∑∑∑∑your PREA lens over this stuff, you wouldn't think                    ∑3∑∑∑∑has been repeatedly charged with rape, mutilating dead
      ∑4∑∑∑∑those two should go together, that I just described,                  ∑4∑∑∑∑bodies, raping children, difficult to manage in the
      ∑5∑∑∑∑would you?                                                            ∑5∑∑∑∑facility, breaking rules, rock bossing people, a
      ∑6∑∑A.∑∑Again, I'd have to understand what are you -- the                   ∑6∑∑∑∑pattern of institutional misconduct?
      ∑7∑∑∑∑variables are so numerous.∑You'd have to look at the                  ∑7∑∑A.∑∑I would answer -- again, I would answer it depends. I
      ∑8∑∑∑∑two cases individually.∑Individually, through any                     ∑8∑∑∑∑mean, you could have all these cases but they might
      ∑9∑∑∑∑lens, including a PREA lens, and make that                            ∑9∑∑∑∑have been dismissed, or never charged.∑Are they
      10∑∑∑∑determination.∑Is there a time when it doesn't work                   10∑∑∑∑convictions.∑Are they -- I mean, are they convicted of
      11∑∑∑∑out and we have to move them, perhaps.∑If that's what                 11∑∑∑∑the crimes.∑I mean, I think your second scenario is
      12∑∑∑∑you're asking.∑But the idea that we would, you know,                  12∑∑∑∑too broad.
      13∑∑∑∑make mistakes, you know, I think we're very good at not               13∑∑Q.∑∑Okay.∑Well, let's just take a normal 65-year-old that
      14∑∑∑∑making mistakes, considering the amount of variables                  14∑∑∑∑can get up and down but they're never been in jail
      15∑∑∑∑and what they're presented with every day.                            15∑∑∑∑before.∑They don't have any, you know, history.
      16∑∑Q.∑∑Okay.∑So, let's stipulate that you imagine there could              16∑∑∑∑They're not a hardened criminal.∑And somebody who is
      17∑∑∑∑be lots of variabilities.∑My question is do you, with                 17∑∑∑∑accused and brought in for mutilating dead people.∑He
      18∑∑∑∑your PREA lens, think it's appropriate to put together,               18∑∑∑∑hasn't been convicted though, but he's been arrested
      19∑∑∑∑into the same ward, a person who is understood to be an               19∑∑∑∑for just a pattern of dozens of rapes and mutilating
      20∑∑∑∑especially vulnerable person and a person who is                      20∑∑∑∑dead bodies.∑Should those two people be together?
      21∑∑∑∑understood to be especially dangerous and difficult to                21∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Objection, we're getting so far
      22∑∑∑∑deal with, as demonstrated by interactions with other                 22∑∑∑∑afield on relevance.
      23∑∑∑∑prisoners, as demonstrated by their record?∑Do you                    23∑∑BY MS. PRESCOTT:
      24∑∑∑∑think that those two should be placed together?                       24∑∑Q.∑∑Go ahead.
      25∑∑A.∑∑I don't see how it's possible, considering all the                  25∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑You can answer if you can.


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      ∑1∑∑A.∑∑You know, I think I answered this already.∑If you're                ∑1∑∑∑∑inmates have problems, they get moved.∑And the fact
      ∑2∑∑∑∑going to have these extreme scenarios, the answer is                  ∑2∑∑∑∑that they had a reason to put them there.∑And that the
      ∑3∑∑∑∑going to be no.∑But I think it's gray.∑It's not black                 ∑3∑∑∑∑housing officer would say hey, this officer is having,
      ∑4∑∑∑∑and white.                                                            ∑4∑∑∑∑or this inmate is having problems on this floor, or
      ∑5∑∑BY MS. PRESCOTT:                                                        ∑5∑∑∑∑with the general population, what can we do.∑And
      ∑6∑∑Q.∑∑Why is the second scenario any different just because               ∑6∑∑∑∑sometimes, somehow -- I mean, that's so -- I think it's
      ∑7∑∑∑∑-- I mean, do you look at charges when putting people                 ∑7∑∑∑∑clear that there was some efforts made to protect both
      ∑8∑∑∑∑together?                                                             ∑8∑∑∑∑of those prisoners.
      ∑9∑∑A.∑∑For them it's real life.∑It's in the scenario.                      ∑9∑∑Q.∑∑Isn't it true that the individual floor security staff
      10∑∑Q.∑∑Trust me.∑I'm on this side of the table standing next               10∑∑∑∑have no ability whatsoever to remove a prisoner from a
      11∑∑∑∑to the person that's been raped.∑So, I got that.∑My                   11∑∑∑∑dangerous situation that they are witnessing on a
      12∑∑∑∑question for you is does the person who is extremely                  12∑∑∑∑floor?∑They can't do that?
      13∑∑∑∑scary because of their charges, does that ever come                   13∑∑A.∑∑That's wrong.∑They can do that.
      14∑∑∑∑into it?                                                              14∑∑Q.∑∑They don't have the authority or ability to do that, do
      15∑∑A.∑∑Yes.                                                                15∑∑∑∑they?
      16∑∑Q.∑∑Does this department ever look at that?                             16∑∑A.∑∑They do.
      17∑∑A.∑∑Of course they do.                                                  17∑∑Q.∑∑That's just on paper though.∑That's not practically
      18∑∑Q.∑∑Okay.∑So, why was Solomon a person who had been                     18∑∑∑∑happening.
      19∑∑∑∑charged over and over and over again with raping                      19∑∑A.∑∑I think you're wrong there.∑Because every move that
      20∑∑∑∑people, who had been convicted of raping people, who                  20∑∑∑∑happens starts with the housing officer's observation.
      21∑∑∑∑had been found to rape bunkies in the facility, why was               21∑∑∑∑Everything, of course, they do, they need guidance so
      22∑∑∑∑he housed with my client?                                             22∑∑∑∑they don't put people in the wrong place.∑Yes, they
      23∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Objection, mischaracterizes the                     23∑∑∑∑do.∑But it all starts with them, if they see people
      24∑∑∑∑record.∑You know, Ms. Prescott --                                     24∑∑∑∑who are sad, and might be at risk of suicide.∑What
      25∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑You don't need to verbally --                      25∑∑∑∑they see in their daily job, that all gets condensed.

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      ∑1∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑I'm just saying you're                              ∑1∑∑∑∑And if they feel that a housing change is necessary,
      ∑2∑∑∑∑misleading the -- you're purposely contradicting the                  ∑2∑∑∑∑classification gets involved and they make that change.
      ∑3∑∑∑∑record in this case.                                                  ∑3∑∑Q.∑∑But they can't remove someone on their own?
      ∑4∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑No, I'm not.                                       ∑4∑∑A.∑∑Absolutely they can, and they're required to.
      ∑5∑∑BY MS. PRESCOTT:                                                        ∑5∑∑Q.∑∑And they do it?
      ∑6∑∑Q.∑∑Why was someone with Solomon's profile housed with                  ∑6∑∑A.∑∑Of course they do.
      ∑7∑∑∑∑someone with my client's profile?                                     ∑7∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑Do you want to take a break?
      ∑8∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Objection, outside of the area                      ∑8∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑I don't need one.
      ∑9∑∑∑∑of this witness's expertise.                                          ∑9∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑I just want maybe five
      10∑∑A.∑∑And my previous answer was I don't know how he was                  10∑∑∑∑minutes.
      11∑∑∑∑classified.∑I don't have those facts.                                 11∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Sure.
      12∑∑BY MS. PRESCOTT:                                                        12∑∑∑∑∑∑∑∑∑(Recess taken at 12:02 p.m.)
      13∑∑Q.∑∑How, if you don't know how he was classified, and what              13∑∑∑∑∑∑∑∑∑(Back on the record at 12:18 p.m.)
      14∑∑∑∑the facts were, and how this could possibly be, or                    14∑∑BY MS. PRESCOTT:
      15∑∑∑∑whether it makes sense, are you here to say that you                  15∑∑Q.∑∑Do you know Keith Williams at all, one of the
      16∑∑∑∑think that it was done in accordance with the law?                    16∑∑∑∑defendants in this case?∑He's not with the department
      17∑∑A.∑∑I think I'm going to say that I was not involved in his             17∑∑∑∑any longer.
      18∑∑∑∑classification and I don't know how they came to that                 18∑∑A.∑∑I do not know that name.
      19∑∑∑∑conclusion.∑And I think I already agreed to your crazy                19∑∑Q.∑∑Do you know, even sitting here today, what rounds he
      20∑∑∑∑example where they're so far apart that it would be                   20∑∑∑∑did with the Solomon and Burks ward on the night of the
      21∑∑∑∑obvious.∑But I'm not prepared to say that it was                      21∑∑∑∑rape?
      22∑∑∑∑obvious with this Solomon.                                            22∑∑A.∑∑Didn't we look at --
      23∑∑Q.∑∑And you don't know who made any assessment or whether               23∑∑Q.∑∑We talked about the policy, yeah.∑We had a discussion
      24∑∑∑∑they took the appropriate steps, do you?                              24∑∑∑∑about rounds.
      25∑∑A.∑∑Well, I know what the practice is.∑That those -- if                 25∑∑A.∑∑And my impression was they were done.∑But perhaps 610


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      ∑1∑∑∑∑was inoperable, the card reader for 610.∑That's what I                ∑1∑∑∑∑is 60 minutes.∑And that officers are to do them
      ∑2∑∑∑∑recall.                                                               ∑2∑∑∑∑intermittently or so, and unpredictable patterns.∑And
      ∑3∑∑Q.∑∑Okay.∑So, do you know -- are you going to testify at                ∑3∑∑∑∑it takes time to walk from one side of the jail to the
      ∑4∑∑∑∑trial -- do you know whether rounds were done that                    ∑4∑∑∑∑other.∑And depending on where you start is where you
      ∑5∑∑∑∑night in ward 610?                                                    ∑5∑∑∑∑finish.∑But the rule is that you do that within the
      ∑6∑∑A.∑∑I would have to review those records to answer that.                ∑6∑∑∑∑60-minute time frame but still staggering your exit and
      ∑7∑∑∑∑And I think you showed me some.∑But at this point, I                  ∑7∑∑∑∑entering times.
      ∑8∑∑∑∑can't recall.∑So, what I can say is rounds were done.                 ∑8∑∑Q.∑∑Okay.∑Is that written somewhere?
      ∑9∑∑∑∑And I think we had a discussion of how it would be                    ∑9∑∑A.∑∑Yes.∑It's in the rounds policy.
      10∑∑∑∑difficult to do a round without seeing into 610, is I                 10∑∑Q.∑∑So, you think the rounds policy said you can do more
      11∑∑∑∑think what I said.                                                    11∑∑∑∑than 60 minutes if you're staggering, what you just
      12∑∑Q.∑∑But you don't have personal knowledge whether you were              12∑∑∑∑described?
      13∑∑∑∑a part of supervising the rounds?∑Or you know what the                13∑∑A.∑∑No.
      14∑∑∑∑records are.∑We all have the records.∑But you don't                   14∑∑Q.∑∑Do you know how many shifts Mr. Williams had worked?
      15∑∑∑∑have any personal knowledge?                                          15∑∑∑∑How many doubles or --
      16∑∑A.∑∑No, I don't.                                                        16∑∑A.∑∑No, I do not.
      17∑∑Q.∑∑And you don't have any knowledge of any discussion with             17∑∑Q.∑∑Do you know if Burks asked him for help with Solomon?
      18∑∑∑∑Williams and Mr. Burks on the day of the rape?                        18∑∑∑∑He expressed fear of Solomon?
      19∑∑A.∑∑No.                                                                 19∑∑A.∑∑I do not know.
      20∑∑Q.∑∑And do you have any prior knowledge of what Solomon was             20∑∑Q.∑∑When someone expresses fear of an inmate and says they
      21∑∑∑∑like at the -- you know, like in various periods of                   21∑∑∑∑need help with them, the staff is supposed to
      22∑∑∑∑being in the jail of his -- what his institutional                    22∑∑∑∑investigate that and take steps to deal with it, right?
      23∑∑∑∑regard was?                                                           23∑∑A.∑∑Yes.
      24∑∑A.∑∑I do not.∑And I don't recall him as a prisoner in any               24∑∑Q.∑∑Do you know whether Mr. Williams heard or saw anything
      25∑∑∑∑way.                                                                  25∑∑∑∑unusual that night?

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      ∑1∑∑Q.∑∑Do you know whether Mr. Williams had any experience                 ∑1∑∑A.∑∑I do not.
      ∑2∑∑∑∑with sexual assaultive inmates at the time of the rape                ∑2∑∑Q.∑∑Do you know whether he was derelict in any duty that
      ∑3∑∑∑∑of Mr. Burks?                                                         ∑3∑∑∑∑night?
      ∑4∑∑A.∑∑So, I'm not clear on experience, what you mean.                     ∑4∑∑A.∑∑I do not.
      ∑5∑∑Q.∑∑Like had he been an officer who had managed sexual                  ∑5∑∑Q.∑∑With regard to Ms. Bell, do you know -- again, we have
      ∑6∑∑∑∑assaultive inmates?∑And to what extent could you                      ∑6∑∑∑∑the records on the rounds.∑But do you have any
      ∑7∑∑∑∑testify to any of that?                                               ∑7∑∑∑∑information personally about the rounds she did that
      ∑8∑∑A.∑∑I could not, no.                                                    ∑8∑∑∑∑night?
      ∑9∑∑Q.∑∑Do you know what Mr. Williams particular duties were on             ∑9∑∑A.∑∑I do not.
      10∑∑∑∑the night of the rape?                                                10∑∑Q.∑∑Or discussions she had with Mr. Solomon?
      11∑∑A.∑∑I don't.                                                            11∑∑A.∑∑I do not know.
      12∑∑Q.∑∑Do you know whether that night he was operating                     12∑∑Q.∑∑Do you know if she had any prior knowledge of
      13∑∑∑∑according to standards and expectations for his                       13∑∑∑∑Mr. Solomon's history of institutional misconduct?
      14∑∑∑∑supervision of the prisoners?                                         14∑∑A.∑∑No.
      15∑∑A.∑∑My assumption would be yes.∑Do I know, no.                          15∑∑Q.∑∑Do you know if Williams had that information in August
      16∑∑Q.∑∑Do you know of any reason why the rounds would not be               16∑∑∑∑of 2016?
      17∑∑∑∑conducted every 30 minutes in protective custody that                 17∑∑A.∑∑I don't know.
      18∑∑∑∑night?                                                                18∑∑Q.∑∑Do you know whether Ms. Bell had prior experience
      19∑∑A.∑∑I do not have knowledge of that.                                    19∑∑∑∑managing sexually assaultive inmates?
      20∑∑Q.∑∑Or why they weren't conducted every 60 minutes that                 20∑∑A.∑∑No.
      21∑∑∑∑night?                                                                21∑∑Q.∑∑Do you know what her duties were -- she was with
      22∑∑A.∑∑I wouldn't have knowledge of that.                                  22∑∑∑∑Williams that night.∑Do you have any information what
      23∑∑Q.∑∑Do you understand that every either 30 or 60 minutes                23∑∑∑∑her different roles and duties were that night?
      24∑∑∑∑they were supposed to be conducted, right?                            24∑∑A.∑∑I don't know how they were scheduled.
      25∑∑A.∑∑Well, my understanding of rounds is that the standard               25∑∑Q.∑∑Do you know how many shifts she had worked that week?


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      ∑1∑∑A.∑∑I do not.                                                           ∑1∑∑∑∑that facility or otherwise?
      ∑2∑∑Q.∑∑Do you know whether Burks asked her for help with                   ∑2∑∑A.∑∑I didn't mean to suggest that that doesn't happen.
      ∑3∑∑∑∑Mr. Solomon, or this person that was coming to be                     ∑3∑∑∑∑Line of authority wise, I'm sure there are practices to
      ∑4∑∑∑∑housed with him?                                                      ∑4∑∑∑∑share the reports because, right, it's the commander's
      ∑5∑∑A.∑∑I do not know.                                                      ∑5∑∑∑∑jurisdiction.
      ∑6∑∑Q.∑∑Do you know whether she was derelict in any duty that               ∑6∑∑Q.∑∑But that wasn't happening according to Commander Cane;
      ∑7∑∑∑∑night?                                                                ∑7∑∑∑∑are you aware of that?
      ∑8∑∑A.∑∑No.                                                                 ∑8∑∑A.∑∑She may not have gotten that report.∑When I was a
      ∑9∑∑Q.∑∑Do you know whether the cameras were working on ward                ∑9∑∑∑∑commander, I would get those reports.
      10∑∑∑∑610 on the night of the rape?                                         10∑∑Q.∑∑I'm not talking about in Burks and Solomon.∑She said
      11∑∑A.∑∑I do not know.                                                      11∑∑∑∑she wasn't getting back, from internal affairs, their
      12∑∑Q.∑∑Isn't it true that you and the other policy makers and              12∑∑∑∑findings on the different examinations or
      13∑∑∑∑management at the Wayne County jail didn't consider it                13∑∑∑∑investigations internal affairs was doing.
      14∑∑∑∑something that was your responsibility or your job, to                14∑∑A.∑∑She would have to ask for that.∑I don't think that
      15∑∑∑∑look into whether there were any failures by jail staff               15∑∑∑∑they would generally distribute their investigation.
      16∑∑∑∑that could have contributed to sexual assaults from                   16∑∑∑∑It would go to the deputy chief over IA and then
      17∑∑∑∑2003 to 2016?                                                         17∑∑∑∑whoever else.
      18∑∑A.∑∑I do consider that within my job description and rely               18∑∑Q.∑∑So, suffice it to say, you weren't aware of Cane's
      19∑∑∑∑on internal affairs in large part to show me where                    19∑∑∑∑practice in this regard?
      20∑∑∑∑violations are in investigations.                                     20∑∑A.∑∑I was not.
      21∑∑Q.∑∑Is IA supposed to tell anyone else?                                 21∑∑Q.∑∑How is she going to be adequately assessing the
      22∑∑A.∑∑It's a closed unit.∑They keep those investigations                  22∑∑∑∑security apparatus and the operational apparatus with
      23∑∑∑∑confidential.∑There is a supervisor, the captain who                  23∑∑∑∑this lens of oh, sexual assault or sexual harassment is
      24∑∑∑∑would communicate with the disciplinary deputy chief,                 24∑∑∑∑happening here, is what we're finding, if she's not
      25∑∑∑∑who I communicate with.∑And that's the practice.∑They                 25∑∑∑∑getting the report back?

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      ∑1∑∑∑∑let us know if there's a violation that comes up with                 ∑1∑∑A.∑∑And I think that she should.∑My only other comment
      ∑2∑∑∑∑an investigation, like failure to do rounds.                          ∑2∑∑∑∑would be that perhaps she was unaware -- I mean, we
      ∑3∑∑Q.∑∑Are there policies that tell IA what they're supposed               ∑3∑∑∑∑were all thinking there was no deficiencies.∑But you
      ∑4∑∑∑∑to investigate?∑Specifically that they are supposed to                ∑4∑∑∑∑would have to ask her that.∑I don't know.
      ∑5∑∑∑∑be looking at whether staff may have contributed to an                ∑5∑∑Q.∑∑But you can understand -- you seem perfectly capable of
      ∑6∑∑∑∑unsafe sexual assault situation, or the institutional                 ∑6∑∑∑∑understanding that you might have very little record of
      ∑7∑∑∑∑failure, like we have a blind spot over here?∑Is there                ∑7∑∑∑∑sexual assaults or substantiated cases for two reasons.
      ∑8∑∑∑∑some policy that says IA should be specifically looking               ∑8∑∑∑∑It could be because they're not happening.∑It could be
      ∑9∑∑∑∑for those things?                                                     ∑9∑∑∑∑because they're not being detected or followed up on,
      10∑∑A.∑∑I can't think of a policy.∑But I know that they                     10∑∑∑∑right?
      11∑∑∑∑believe their duty is to report on what they find.∑And                11∑∑A.∑∑Yes.∑And PREA says expect an increase in reportings as
      12∑∑∑∑in my experience, they're looking for rule violations                 12∑∑∑∑we get close to full compliance.
      13∑∑∑∑that I would interpret, under a PREA lens, as something               13∑∑Q.∑∑Right.∑But at the policy-maker level, at the level of
      14∑∑∑∑that perhaps could be done differently.∑They wouldn't                 14∑∑∑∑the management and the people who could make changes at
      15∑∑∑∑be necessarily looking to the PREA lens, but they would               15∑∑∑∑the jail, isn't it correct that there's no
      16∑∑∑∑be looking for factual deficiencies.                                  16∑∑∑∑consideration of whether there might be failures by
      17∑∑Q.∑∑Was it anybody else's job to look at the IA                         17∑∑∑∑jail staff that contributed or led to sexual assaults
      18∑∑∑∑investigations under that particular lens that okay,                  18∑∑∑∑that just wasn't happening prior to August of 2016, was
      19∑∑∑∑whether or not it's a rule violation, it's a risk and                 19∑∑∑∑it?
      20∑∑∑∑we need to be managing this risk because of PREA?                     20∑∑A.∑∑Well, I think it was happening through the disciplinary
      21∑∑A.∑∑No.∑I think the commander could be involved.∑But                    21∑∑∑∑system.∑That's where all the oversight would start.
      22∑∑∑∑internal affairs has their own line of authority.                     22∑∑∑∑We would look at what came back from an investigation
      23∑∑Q.∑∑And you don't see that as problematic, that IA doesn't              23∑∑∑∑and say look at this.∑I mean, we terminated people for
      24∑∑∑∑circle back with the command staff and say look, this                 24∑∑∑∑results in our internal affairs investigations.∑That's
      25∑∑∑∑is what we found, whether it's exonerating the staff in               25∑∑∑∑where our information comes from.


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      ∑1∑∑Q.∑∑So, I know we just did this exercise, logical exercise              ∑1∑∑Q.∑∑And trust me when I say I can barely remember like
      ∑2∑∑∑∑a moment ago, but the fact that people are getting                    ∑2∑∑∑∑before Covid.∑It's all very foggy.∑So, I guess that
      ∑3∑∑∑∑disciplined may be an indication that that's how many                 ∑3∑∑∑∑I'm asking you things that go way back.∑Do you recall
      ∑4∑∑∑∑disciplines were necessary, or it may be a reflection                 ∑4∑∑∑∑any -- I imagine, and I don't need to know about staff
      ∑5∑∑∑∑of how many disciplines were caught and followed up                   ∑5∑∑∑∑that have been engaged with sexual misconduct with
      ∑6∑∑∑∑with, right?                                                          ∑6∑∑∑∑prisoners, so fraternization type disciplines.∑Putting
      ∑7∑∑A.∑∑Yes.                                                                ∑7∑∑∑∑those aside, do you recall any discipline of staff
      ∑8∑∑Q.∑∑Like we can't go back to 2016 and disaggregate that,                ∑8∑∑∑∑where there's been a finding of, you know, your lack of
      ∑9∑∑∑∑can we?                                                               ∑9∑∑∑∑supervision contributed to this sexually unsafe
      10∑∑A.∑∑No.                                                                 10∑∑∑∑situation for a prisoner?
      11∑∑Q.∑∑And disaggregate this is what our number showed on the              11∑∑A.∑∑And I think, again, that sort of conclusion would come
      12∑∑∑∑number of assaults and harassments and everything, was                12∑∑∑∑from reviewing an event.∑And it would be noted that
      13∑∑∑∑that really the number is just the number that was                    13∑∑∑∑something wasn't done, like rounds.∑And then we would
      14∑∑∑∑memorialized, right?                                                  14∑∑∑∑bring that person in and figure out why that happened,
      15∑∑A.∑∑Yes.                                                                15∑∑∑∑or if it happened.∑And certainly discipline could be
      16∑∑Q.∑∑And that's why I just go back to I know you haven't                 16∑∑∑∑an offering for that.
      17∑∑∑∑heard the tapes, but when you get the tapes years                     17∑∑∑∑∑∑∑∑∑I'm trying to think back over all discipline.
      18∑∑∑∑later, and you find out that not one question is asked                18∑∑∑∑You know, often that's similar to suicide.∑That's
      19∑∑∑∑about well wasn't there anyone doing rounds.∑Did you                  19∑∑∑∑reviewed.∑And we find that there is a deficiency, and
      20∑∑∑∑see any officers in the area.∑You know, did you call                  20∑∑∑∑we correct that.∑And it's similar here.
      21∑∑∑∑out for the officers.∑Have you told the officers you                  21∑∑∑∑∑∑∑∑∑I'm trying to think of a specific case, you
      22∑∑∑∑were afraid of him.∑I mean, there seems like a really                 22∑∑∑∑know, that we've terminated folks who, you know, maybe
      23∑∑∑∑big gap there, doesn't it?                                            23∑∑∑∑had concentual relationships with prisoners.∑But I
      24∑∑A.∑∑Yeah.∑I would have preferred those things were done.                24∑∑∑∑can't recall specific cases.
      25∑∑∑∑Normally they're done.                                                25∑∑Q.∑∑So my question had been you can't think of a case

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      ∑1∑∑Q.∑∑Can I ask it this way:∑I mean, the investigators are                ∑1∑∑∑∑relative to punishment, or discipline I should say, of
      ∑2∑∑∑∑supposed to be very highly trained, right, to do this                 ∑2∑∑∑∑a staff member relative to an element of, you know, you
      ∑3∑∑∑∑work, right?                                                          ∑3∑∑∑∑weren't supervising adequately?
      ∑4∑∑A.∑∑Yes.                                                                ∑4∑∑A.∑∑Other than them participating.
      ∑5∑∑Q.∑∑Right.∑You're not expecting and relying on Joe Blow,                ∑5∑∑Q.∑∑Do you know of anything in your awareness or that you
      ∑6∑∑∑∑who is in the jail from the street, to know what is                   ∑6∑∑∑∑plan to testify to that happened with respect to
      ∑7∑∑∑∑relevant and important to run your jail and what                      ∑7∑∑∑∑Mr. Burks or happened with respect to Mr. Solomon
      ∑8∑∑∑∑questions should be asked, do you?                                    ∑8∑∑∑∑because it was unique to them individually as opposed
      ∑9∑∑A.∑∑No.                                                                 ∑9∑∑∑∑to this is the way we do things, this is the policy,
      10∑∑Q.∑∑Did you have a staff in your PREA role in 2016 at all?              10∑∑∑∑this is the practice we do?
      11∑∑A.∑∑No.                                                                 11∑∑A.∑∑No.
      12∑∑Q.∑∑Do you recall what's the first thing you ever heard                 12∑∑Q.∑∑How about -- I mean, in other words, if they had been
      13∑∑∑∑about the Burks and Solomon matter?∑Can you roll back                 13∑∑∑∑any other prisoners, is it your understanding and
      14∑∑∑∑in your memory and say like the first thing I remember                14∑∑∑∑belief that anything that did or didn't happen would
      15∑∑∑∑is this?                                                              15∑∑∑∑have been the same in terms of the way the staff
      16∑∑A.∑∑It's difficult to recall 2016.∑You know, I can -- you               16∑∑∑∑reacted to them, the policies?
      17∑∑∑∑know, I can recall I talked to the captain of internal                17∑∑A.∑∑It sounds like you're asking was there a deviancy based
      18∑∑∑∑affairs frequently with different hats, with discipline               18∑∑∑∑on who they are.∑And I don't have any knowledge of
      19∑∑∑∑and with PREA, and I'm sure that came up at some point.               19∑∑∑∑that.
      20∑∑∑∑I don't know what we said about it.∑I'm sure it was in                20∑∑Q.∑∑Earlier when you testified -- I asked you about when
      21∑∑∑∑a log that we get every day for report, summaries and                 21∑∑∑∑the 2016 pamphlet was issued, and you didn't know the
      22∑∑∑∑that.∑I would be alerted.∑And then I would sometimes                  22∑∑∑∑date.∑Do you know it today?
      23∑∑∑∑-- sometimes I would call the commander and say yes                   23∑∑A.∑∑Let's see.
      24∑∑∑∑we've already called IA.∑That would probably be what I                24∑∑Q.∑∑Are you looking at Exhibit 3?
      25∑∑∑∑would half recall, I guess.                                           25∑∑A.∑∑Is that what we called this?


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      ∑1∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Yes.                                                 ∑1∑∑∑∑commander, they have over the staff.
      ∑2∑∑A.∑∑So, Exhibit 3, there is a memorandum from June 7, 2016.              ∑2∑∑Q.∑∑And you also -- and part and parcel of that is you're
      ∑3∑∑BY MS. PRESCOTT:                                                         ∑3∑∑∑∑not working in the jail's facility, right?
      ∑4∑∑Q.∑∑What does it say?                                                    ∑4∑∑A.∑∑I'm not.
      ∑5∑∑A.∑∑That says that I have made a thousand pamphlets ready                ∑5∑∑Q.∑∑You're not seeing the day-to-day?∑I mean, you might
      ∑6∑∑∑∑for you today.∑And of course here's the template from                  ∑6∑∑∑∑pass through, there might be a meeting, but you're not
      ∑7∑∑∑∑the PREA resource center.                                              ∑7∑∑∑∑there boots on the ground?
      ∑8∑∑Q.∑∑So, if Mr. Burks was already in -- so, these were to go              ∑8∑∑A.∑∑No.
      ∑9∑∑∑∑in when people were done with intake, right, screening?                ∑9∑∑Q.∑∑And that was true in 2016?
      10∑∑A.∑∑Yes.                                                                 10∑∑A.∑∑Yes.
      11∑∑Q.∑∑So, if Mr. Burks was already in prison, or jail --                   11∑∑Q.∑∑How long had it been since you had been on a routine
      12∑∑∑∑excuse me -- was there any order that said go give this                12∑∑∑∑basis, if not daily, then frequently during the week,
      13∑∑∑∑to everybody that was already here?                                    13∑∑∑∑in the jail divisions?∑How long had it been?
      14∑∑A.∑∑No, there was not.                                                   14∑∑A.∑∑Well, the last time I had a post in a jail was 2013.
      15∑∑Q.∑∑Do you think that he wouldn't have gotten the pamphlet?              15∑∑∑∑And then I retired.
      16∑∑A.∑∑I don't know.∑Because if he went back for a re-housing               16∑∑Q.∑∑So, your last post was something that was operationally
      17∑∑∑∑assignment, it could have been given to him.∑And I                     17∑∑∑∑in the jail?
      18∑∑∑∑incorporate these rules into the inmate handbook.∑And                  18∑∑A.∑∑Yes.
      19∑∑∑∑so, he would have had a handbook which would have                      19∑∑Q.∑∑Did you ever examine what other jails or prisons,
      20∑∑∑∑mimicked sexual safety information.                                    20∑∑∑∑federal, state, local facilities did in 2016 to manage
      21∑∑Q.∑∑Do you know when the updated handbook went out?                      21∑∑∑∑dangerous and difficult inmates where they would be
      22∑∑A.∑∑I do not have that.                                                  22∑∑∑∑managed and held?
      23∑∑Q.∑∑Do you know when the 2016 new signage went up in the                 23∑∑A.∑∑Yes.∑And I did that with Chuck Pappas.∑He had a
      24∑∑∑∑old division?                                                          24∑∑∑∑contact at the Michigan Department of Corrections and
      25∑∑A.∑∑I think there is a -- in that May 27 memorandum,                     25∑∑∑∑he sent us his PREA rule book to help us build the

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      ∑1∑∑∑∑there's a reference to expected behavior.∑The inmate                   ∑1∑∑∑∑policy.
      ∑2∑∑∑∑handbook is very clear.∑But that's not signage.∑I'm                    ∑2∑∑Q.∑∑Okay.∑So, what's going on with Chuck at this time?∑Is
      ∑3∑∑∑∑saying the handbook is clear on behavior.∑I'm assuming                 ∑3∑∑∑∑he on his way out and he's handing off to you?∑Or
      ∑4∑∑∑∑it was there in May, but maybe not.∑I thought I had a                  ∑4∑∑∑∑you're working together?
      ∑5∑∑∑∑signage one.∑Even if we do find it, I don't see a                      ∑5∑∑A.∑∑We're in such close quarters.∑We see each other, not
      ∑6∑∑∑∑date.                                                                  ∑6∑∑∑∑on a daily basis or anything, but it seems like that
      ∑7∑∑Q.∑∑Well, the exhibit is marked and it's part of the                     ∑7∑∑∑∑too would have been in that handover process.∑And he
      ∑8∑∑∑∑record.∑So, if it's there, it's there.∑Suffice it to                   ∑8∑∑∑∑gave me that resource to finish that policy.
      ∑9∑∑∑∑say, you don't have any information of your memory?                    ∑9∑∑Q.∑∑Okay.∑So, he gave you MDOC's policy?
      10∑∑A.∑∑Of the date that they were on?                                       10∑∑A.∑∑Yes.
      11∑∑Q.∑∑Right.                                                               11∑∑Q.∑∑And do you remember seeing an MDOC policy, specific
      12∑∑A.∑∑No, I don't.                                                         12∑∑∑∑provisions that there shall be a determination of a
      13∑∑Q.∑∑You testified at your prior deposition that you did not              13∑∑∑∑potential victim and who is potentially an aggressor?
      14∑∑∑∑have superintendent operational authority.∑What does                   14∑∑∑∑Do you recall seeing that?
      15∑∑∑∑that mean?                                                             15∑∑A.∑∑I do not.
      16∑∑A.∑∑That means I believe in my role as the director that I               16∑∑Q.∑∑Do you recall seeing that MDOC rules and regulations,
      17∑∑∑∑do not have the ability to order command officers to do                17∑∑∑∑similar to PREA, say that you can't house those two,
      18∑∑∑∑that.                                                                  18∑∑∑∑not only in the same cell, but even in the same pod?
      19∑∑Q.∑∑Okay.∑So, could it be a little bit like sort of like                 19∑∑A.∑∑Yes.
      20∑∑∑∑being in the chain of command in terms of operations,                  20∑∑Q.∑∑And you understand that to be what PREA said had
      21∑∑∑∑what you shall and shall not do?∑I'm just trying to                    21∑∑∑∑happened?
      22∑∑∑∑understand genuinely.                                                  22∑∑A.∑∑Yes.
      23∑∑A.∑∑I'm trying to think that through.∑As a director, I                   23∑∑Q.∑∑As of 2012?
      24∑∑∑∑don't have that line of command authority that I think                 24∑∑A.∑∑You know what, I don't have a memory of talking about
      25∑∑∑∑you just mentioned.∑That a sergeant, lieutenant,                       25∑∑∑∑that in 2012.


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      ∑1∑∑Q.∑∑Okay.∑But do you know, sitting here today, that that                 ∑1∑∑∑∑not called PREA tools.∑But we -- everyone screens for
      ∑2∑∑∑∑is one of the -- that is something that was dictated by                ∑2∑∑∑∑those things.∑I haven't seen one that is labeled
      ∑3∑∑∑∑the PREA standards that came out in 2012?                              ∑3∑∑∑∑Prison Rape Elimination Act screening.
      ∑4∑∑A.∑∑Yes.                                                                 ∑4∑∑Q.∑∑When you say we, that makes me think that Wayne County
      ∑5∑∑Q.∑∑And I'm going to hand you what I'm going to mark as                  ∑5∑∑∑∑asks those questions.∑Do you recall testifying in the
      ∑6∑∑∑∑Exhibit 4.∑It's the assessment sheet for all its                       ∑6∑∑∑∑last deposition that you do not know what the screening
      ∑7∑∑∑∑prisoners.                                                             ∑7∑∑∑∑tool is in Wayne County?∑You have not seen it?
      ∑8∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑You can look at it, Paul. I                         ∑8∑∑A.∑∑I'm aware that it asks similar questions.
      ∑9∑∑∑∑only have that one copy.                                               ∑9∑∑Q.∑∑You think Burks and Solomon were asked questions
      10∑∑∑∑∑∑∑∑∑MARKED FOR IDENTIFICATION:                                        10∑∑∑∑similar to what's on Exhibit 4?
      11∑∑∑∑∑∑∑∑∑DEPOSITION EXHIBIT 4                                              11∑∑A.∑∑Regarding predation and victimization, I would think
      12∑∑∑∑∑∑∑∑∑12:55 p.m.                                                        12∑∑∑∑they were.∑Do I know that, no, I don't.
      13∑∑BY MS. PRESCOTT:                                                         13∑∑Q.∑∑And so, wouldn't that be kind of important to know, you
      14∑∑Q.∑∑So, my only question is whether this is something that               14∑∑∑∑know, given that your PREA lens covers so many
      15∑∑∑∑you know, as you looked at PREA enforcement, like you                  15∑∑∑∑different -- I mean, it covers everywhere in the
      16∑∑∑∑just testified you got the policy from MDOC, did you                   16∑∑∑∑facility and every part of the operation.∑But wouldn't
      17∑∑∑∑get their little handy-dandy here is how to screen for                 17∑∑∑∑it be important to know whether the screening tools
      18∑∑∑∑PREA risk in Exhibit 4?                                                18∑∑∑∑were actually using the kinds of questions that would
      19∑∑A.∑∑No, I don't specifically recall this form.                           19∑∑∑∑get at like what's seen in Exhibit 4?
      20∑∑Q.∑∑Have you ever seen any score sheet like that that is                 20∑∑A.∑∑Yes.
      21∑∑∑∑specifically designed to get a factor of sexual                        21∑∑∑∑∑∑∑∑∑MARKED FOR IDENTIFICATION:
      22∑∑∑∑victimization or sexual aggressor from any facility                    22∑∑∑∑∑∑∑∑∑DEPOSITION EXHIBIT 5
      23∑∑∑∑anywhere?                                                              23∑∑∑∑∑∑∑∑∑12:57 p.m.
      24∑∑A.∑∑So, I see that this form is more than just a PREA form.              24∑∑BY MS. PRESCOTT:
      25∑∑∑∑It's all different characteristics.∑So, it would be --                 25∑∑Q.∑∑Exhibit 5 is called PREA risk assessment final scoring.

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      ∑1∑∑∑∑it would function in more than one way.∑This is                        ∑1∑∑∑∑I only have that one copy.∑So, this is an MDOC
      ∑2∑∑∑∑certainly augmenting a risk assessment to include                      ∑2∑∑∑∑document too.∑I'll just ask a couple questions.∑Let
      ∑3∑∑∑∑sexual aggression.                                                     ∑3∑∑∑∑me know when you've had a chance to check it out.
      ∑4∑∑Q.∑∑So, are you aware that MDOC has a whole other screening              ∑4∑∑A.∑∑Okay.
      ∑5∑∑∑∑class level?∑You could have one.∑You could be a four,                  ∑5∑∑Q.∑∑So, this is the MDOC's scoring guide that goes along --
      ∑6∑∑∑∑and that means you are going to go to maximum security                 ∑6∑∑∑∑so, 5 is the guide that scores when you have answers on
      ∑7∑∑∑∑facilities.                                                            ∑7∑∑∑∑4.∑And, you know, if you have a yes to certain
      ∑8∑∑A.∑∑I don't know that sheet.                                             ∑8∑∑∑∑questions, you get a really high score.∑For example,
      ∑9∑∑Q.∑∑So, let's go back to my question about Exhibit 4.∑Have               ∑9∑∑∑∑victim of a substantiated prisoner-on-prisoner
      10∑∑∑∑you seen a screening tool like what Exhibit 4 has used?                10∑∑∑∑non-consensual sexual act, you're going to get a really
      11∑∑∑∑Prison Rape Elimination Act risk assessment, have you                  11∑∑∑∑high score of the likely victim.∑You get 60 points for
      12∑∑∑∑seen that kind of a format?∑The wording might change                   12∑∑∑∑that.∑If you're an aggressor of a substantiated
      13∑∑∑∑here or there from either the PREA resource center on                  13∑∑∑∑prisoner-on-prisoner non-consentual sexual act, you get
      14∑∑∑∑line or other facilities in the United States.                         14∑∑∑∑a really high score the other way.∑And there's one in
      15∑∑A.∑∑In 2016?                                                             15∑∑∑∑between, like any history of perpetrated sexual
      16∑∑Q.∑∑Have you ever seen one sitting here today, all the way               16∑∑∑∑victimization by threat or force, any history of
      17∑∑∑∑until today?                                                           17∑∑∑∑perpetrated physical abuse, gang affiliation, et
      18∑∑A.∑∑Well, we talked about that with someone from New York                18∑∑∑∑cetera, history of consensual sex in a facility.∑Have
      19∑∑∑∑this week.                                                             19∑∑∑∑you ever seen Exhibit 5 or, you know, in other words,
      20∑∑Q.∑∑Okay.∑How about ever before this week?                               20∑∑∑∑the score sheet that MDOC was using in 2016?
      21∑∑A.∑∑No.                                                                  21∑∑A.∑∑Not that I recall.
      22∑∑Q.∑∑Do you know whether other counties in the area were                  22∑∑Q.∑∑Have you ever seen any kind of a score sheet that gives
      23∑∑∑∑using screening tools like as in Exhibit 4?                            23∑∑∑∑differentiated scores based on the questions that are
      24∑∑A.∑∑We all have screening tools and we all ask questions                 24∑∑∑∑asked anywhere at any time right up until today?
      25∑∑∑∑that related to victimization and predation.∑They're                   25∑∑A.∑∑Once again, every assessment tool is going to ask these


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      ∑1∑∑∑∑things in different ways.∑And we're going to see if                    ∑1∑∑A.∑∑I think we were concentrating on writing our policy and
      ∑2∑∑∑∑there's an aggressor, number one here, based on                        ∑2∑∑∑∑I think we were comparing policy to policy, not jail
      ∑3∑∑∑∑criminal history and try to gather that same                           ∑3∑∑∑∑operation.∑So, I don't think we were at that level.
      ∑4∑∑∑∑information.                                                           ∑4∑∑Q.∑∑So, if you were comparing policy to policy, why not
      ∑5∑∑Q.∑∑So, my question is whether you have seen score sheets                ∑5∑∑∑∑institute, like MDOC, a clear role that says you shall
      ∑6∑∑∑∑that differentiate, based on what you identified                       ∑6∑∑∑∑with a potential aggressor, with a potential victim.
      ∑7∑∑∑∑someone said, this is how much of a weight should be                   ∑7∑∑A.∑∑I think that's what we are already trying to do.
      ∑8∑∑∑∑given based on these scores?∑Have you ever seen that                   ∑8∑∑Q.∑∑Well, how is that possible when Mr. Ramel testified
      ∑9∑∑∑∑undertaken, given a score sheet, at any time in any                    ∑9∑∑∑∑there isn't even a categorization of potential
      10∑∑∑∑facility?                                                              10∑∑∑∑aggressors and potential victims?
      11∑∑A.∑∑Not that I can recall.                                               11∑∑A.∑∑More an emphasis on history you're saying that.
      12∑∑Q.∑∑And are you aware that in the Wayne County jail in                   12∑∑Q.∑∑The history of 2013, '14, '15, '16 is what I'm focused
      13∑∑∑∑2016, you cannot score higher or lower because of                      13∑∑∑∑on.
      14∑∑∑∑anything to do with a sexual crime?∑You know, so you                   14∑∑A.∑∑I'm sorry.∑I lost the question.
      15∑∑∑∑either have an assaultive felony or you don't.∑There                   15∑∑Q.∑∑Fair enough.∑So, Mr. Ramel has said we don't identify.
      16∑∑∑∑is nothing that honed in on sexual victimization; are                  16∑∑∑∑We don't have a flag.∑We don't have a categorization.
      17∑∑∑∑you aware of that?                                                     17∑∑∑∑So, how can you be managing according to category that
      18∑∑A.∑∑I am not specifically aware of the instrument they used              18∑∑∑∑isn't even traced and tracked?
      19∑∑∑∑in 2016.                                                               19∑∑A.∑∑Well, 14-17 says you take into account predation.∑And
      20∑∑Q.∑∑Fair enough.∑Don't you think that would be important                 20∑∑∑∑it said it in 2009 and it said it in 2016.∑And those
      21∑∑∑∑to differentiate, okay, there is a lot of aggressive                   21∑∑∑∑were always considerations.∑Now, it might not look
      22∑∑∑∑people or violent people that are in the jail that have                22∑∑∑∑like that, but that has always been in the policy.
      23∑∑∑∑never been sexually aggressive?∑Wouldn't it be                         23∑∑∑∑∑∑∑∑∑MARKED FOR IDENTIFICATION:
      24∑∑∑∑important to have a tool to sort that out?                             24∑∑∑∑∑∑∑∑∑DEPOSITION EXHIBIT 6
      25∑∑A.∑∑It would be important to know that information.∑You                  25∑∑∑∑∑∑∑∑∑1:06 p.m.

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      ∑1∑∑∑∑know, how you gather it is probably different ways.                    ∑1∑∑BY MS. PRESCOTT:
      ∑2∑∑Q.∑∑Wouldn't it be important though to translate it into a               ∑2∑∑Q.∑∑Exhibit 6 goes along with 4 and 5.∑So, it's Prison
      ∑3∑∑∑∑score so you could assess specifically the risk of                     ∑3∑∑∑∑Rape Elimination Act (PREA) risk assessments manual
      ∑4∑∑∑∑sexually victimizing somebody else as opposed to the                   ∑4∑∑∑∑from MDOC.∑And it's got a date, I think, August 12,
      ∑5∑∑∑∑risk that you're just scary and violent in general?                    ∑5∑∑∑∑2015.∑Take a look at it.∑I mean, you can take as long
      ∑6∑∑A.∑∑I think that would be helpful, yes.                                  ∑6∑∑∑∑as you want.∑My question is whether you, first, have
      ∑7∑∑Q.∑∑Why wasn't it ever instituted all the way up until                   ∑7∑∑∑∑seen this document before?
      ∑8∑∑∑∑today?                                                                 ∑8∑∑A.∑∑I don't think I've seen this.
      ∑9∑∑A.∑∑You know, my thought is that we have a system and we                 ∑9∑∑Q.∑∑Do you know of anyone, yourself, or anyone from the
      10∑∑∑∑use that system and we're aware of sexual predation and                10∑∑∑∑Wayne County sheriff's office, asking MDOC will you
      11∑∑∑∑victimization.∑And we do try to protect inmates in                     11∑∑∑∑give us your manual for how you do your sexual assaults
      12∑∑∑∑that way with the tool that we use.∑It may not look                    12∑∑∑∑or your PREA screening?
      13∑∑∑∑like that.∑So, you know, is that something that we'll                  13∑∑A.∑∑Not to my knowledge.∑We were asking for the general
      14∑∑∑∑look at when we move to the new system in a year, yes.                 14∑∑∑∑policy examples that would be put out in '16.∑And this
      15∑∑Q.∑∑But you don't have an answer as to why not, in 2014 or               15∑∑∑∑looks like their prison management system that's unique
      16∑∑∑∑'15 or '13, after PREA came out and said to do this?                   16∑∑∑∑to them.
      17∑∑A.∑∑My thought is that we said we do screen and we do                    17∑∑Q.∑∑To this day, is there any manual that tells anyone in
      18∑∑∑∑screen for those attributes, but it doesn't look like                  18∑∑∑∑classifications here is the PREA requirements for how
      19∑∑∑∑that.                                                                  19∑∑∑∑to do classification screening?
      20∑∑Q.∑∑And you've told me everything you know about the                     20∑∑A.∑∑Other than our policies, I'm not aware of one.
      21∑∑∑∑screening process, right?                                              21∑∑Q.∑∑Was protective custody a place that had additional
      22∑∑A.∑∑As far as I can determine, yes.                                      22∑∑∑∑layers of oversight or procedures for additional
      23∑∑Q.∑∑When Mr. Pappas and you got the policy, did you ask                  23∑∑∑∑oversight of the inmates?
      24∑∑∑∑what they use for screening tools?∑I know you said you                 24∑∑A.∑∑Protective custody to me is a broad term.∑So, there's
      25∑∑∑∑haven't seen them.∑Did you ask for those?                              25∑∑∑∑different types of housing.∑If you're referring to


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      ∑1∑∑∑∑610's own protection specifically --                                   ∑1∑∑A.∑∑Well, cameras aren't -- those were a prophylactic sort
      ∑2∑∑Q.∑∑Let's focus on 610, yes.∑That ward, did it have                      ∑2∑∑∑∑of thing that we did additionally in that building to
      ∑3∑∑∑∑special rules for additional oversight or protection?                  ∑3∑∑∑∑try to increase coverage.∑So, it wasn't tied to a type
      ∑4∑∑A.∑∑As far as I understand, there is a classification                    ∑4∑∑∑∑of inmate.∑It was a building sort of installation.
      ∑5∑∑∑∑option for folks who cannot or they do not want to be                  ∑5∑∑Q.∑∑Is protective custody just another housing unit?∑Is it
      ∑6∑∑∑∑in general population.∑It could be for a high profile.                 ∑6∑∑∑∑treated as just another housing unit?
      ∑7∑∑∑∑It could be for someone who just doesn't do well with a                ∑7∑∑A.∑∑And then again it would be -- do you mean special
      ∑8∑∑∑∑large group of people.∑It's not like a mental health                   ∑8∑∑∑∑custody?
      ∑9∑∑∑∑ward that requires direct observation or 30-minute                     ∑9∑∑Q.∑∑I'm talking about ward 610, that level of whatever. I
      10∑∑∑∑rounds, that I'm aware of.                                             10∑∑∑∑know there's other kinds of special arrangements.∑But
      11∑∑Q.∑∑So, remember we reviewed the policy and how the policy               11∑∑∑∑ward 610, regular protective custody, isn't it the case
      12∑∑∑∑talked about continuous rounds of individuals two and                  12∑∑∑∑that protective custody is just a different name for
      13∑∑∑∑higher; you're not aware of that?                                      13∑∑∑∑the same thing?∑It's just another housing unit?
      14∑∑A.∑∑Say that again.                                                      14∑∑A.∑∑You might think that, but the reason it's not is
      15∑∑Q.∑∑Do you recall that policy in 2016 actually provided                  15∑∑∑∑because it limits the amount of people.∑It's a small
      16∑∑∑∑that there would be continuous rounds for individuals                  16∑∑∑∑ward.∑There's only three, four cells.∑It reduces the
      17∑∑∑∑not in medical, but continuous rounds relative to                      17∑∑∑∑amount of people that you're around.
      18∑∑∑∑individuals that were at a classification of two or                    18∑∑Q.∑∑It reduces the number of people and increases the
      19∑∑∑∑higher?                                                                19∑∑∑∑exposure to any one of them, right?
      20∑∑A.∑∑So, I'm aware that there is a policy for one of the                  20∑∑A.∑∑I don't know that I agree with that.
      21∑∑∑∑divisions that was written with the words continuous                   21∑∑Q.∑∑Okay.∑I think we'll just move on from there.
      22∑∑∑∑rounds.∑But I think I said last time in January, and I                 22∑∑∑∑∑∑∑∑∑Are you aware of anything else that
      23∑∑∑∑think I said earlier today, that the idea that it takes                23∑∑∑∑differentiates ward 610, that level of protective
      24∑∑∑∑an hour to do a round, you're continuously on a round.                 24∑∑∑∑custody, from general population, other than there's
      25∑∑∑∑Continuous rounds, it means different things, I think,                 25∑∑∑∑fewer people?

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      ∑1∑∑∑∑to different people.∑And so, if the question is am I                   ∑1∑∑A.∑∑Well, there are other things that we would do depending
      ∑2∑∑∑∑aware of it, yes.                                                      ∑2∑∑∑∑on who we house there.∑So, if it was someone who
      ∑3∑∑Q.∑∑But you think it means that you can sit at the desk for              ∑3∑∑∑∑wanted to shower independently, then they would be
      ∑4∑∑∑∑45 minutes of the hour and not be on your feet moving                  ∑4∑∑∑∑pulled one at a time to shower.∑So, there are other
      ∑5∑∑∑∑between people?                                                        ∑5∑∑∑∑things that could happen in that ward.
      ∑6∑∑A.∑∑It doesn't mean that.∑Because you have two people that               ∑6∑∑Q.∑∑Can straight people go to alternative lifestyle?∑Can
      ∑7∑∑∑∑work there.∑So, someone is walking and someone is at                   ∑7∑∑∑∑they go to the alternative lifestyles area because they
      ∑8∑∑∑∑the desk to provide you security there.                                ∑8∑∑∑∑don't want to be around people who might be sexual
      ∑9∑∑Q.∑∑Okay.∑And is that your understanding of how things                   ∑9∑∑∑∑offenders?
      10∑∑∑∑worked on 610 in the week up to and including the rape?                10∑∑A.∑∑My opinion is in general, no.∑But, again, people would
      11∑∑A.∑∑I don't know the answer to that because I wasn't, you                11∑∑∑∑call that a special -- they might call that a special
      12∑∑∑∑know, administering that facility.                                     12∑∑∑∑custody ward.∑Because as you're screening people and
      13∑∑Q.∑∑Fair enough.∑Okay.∑So, would you agree that there's                  13∑∑∑∑someone says look, I'm a transgender person, and you
      14∑∑∑∑no more rounds in protective custody than not                          14∑∑∑∑talk to that person, and you send them to medical and
      15∑∑∑∑protective custody, more frequently or --                              15∑∑∑∑they say I consider myself male or female.∑How do you
      16∑∑A.∑∑I think the answer could be yes, depending on who's in               16∑∑∑∑identify.∑Where would you feel comfortable.∑So, it
      17∑∑∑∑there and what's in there, what the intention was.∑If                  17∑∑∑∑all happens at the intake.
      18∑∑∑∑it's just because I'm not comfortable around people,                   18∑∑Q.∑∑Yeah.∑I'm saying can someone say yeah I'm straight and
      19∑∑∑∑then perhaps the standard doesn't change.∑It goes back                 19∑∑∑∑I'm not trans, but I don't want to be around people
      20∑∑∑∑to what does unprotected mean.∑What does special                       20∑∑∑∑that are potentially sex offenders?∑Can you opt into
      21∑∑∑∑housing mean.∑You know, what do those mean.                            21∑∑∑∑the alternative in the hopes that that might be a
      22∑∑Q.∑∑Okay.∑So, it could be, but it's not baked into the                   22∑∑∑∑better place?
      23∑∑∑∑cake or inherent that in protective custody we have                    23∑∑A.∑∑Again, it would be a totality of what's presented to
      24∑∑∑∑more rounds or more oversight or more cameras and so                   24∑∑∑∑you.∑I want to go somewhere is never a reason that we
      25∑∑∑∑on?                                                                    25∑∑∑∑send you.∑You might feel safe there, but we might say


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      ∑1∑∑∑∑you might feel safe there, but we're not confident that               ∑1∑∑Q.∑∑And that wasn't what everyone had been doing, including
      ∑2∑∑∑∑the other people are safe with you there.                             ∑2∑∑∑∑Wayne County hadn't been doing, before PREA, right?
      ∑3∑∑Q.∑∑Right.                                                              ∑3∑∑A.∑∑Well, we would always identify transgender people and
      ∑4∑∑A.∑∑So, we might not make that decision.                                ∑4∑∑∑∑determine safe housing for them, or people at risk for
      ∑5∑∑Q.∑∑Okay.∑And it's certainly not just an option where you               ∑5∑∑∑∑sexual aggression, based on the size or any number of
      ∑6∑∑∑∑can select oh, I'm in jail, I want to get my menu out                 ∑6∑∑∑∑factors.∑I mean, we always did that.∑So, I didn't
      ∑7∑∑∑∑and I would like to check that I'm in the alternative                 ∑7∑∑∑∑think we weren't doing that.
      ∑8∑∑∑∑life?∑It's not the prisoner's option?                                 ∑8∑∑Q.∑∑Is it your testimony that MDOC was screening for the
      ∑9∑∑A.∑∑It could start with the prisoner requesting.∑But then               ∑9∑∑∑∑PREA risk factors before PREA even happened?
      10∑∑∑∑we have to do some research and discussion and                        10∑∑A.∑∑I don't have an understanding of their screening.
      11∑∑∑∑determine what the needs really are based on our                      11∑∑Q.∑∑I apologize.∑I know you said that.∑Okay.∑So, what is
      12∑∑∑∑expertise as keeping people safe and what they are                    12∑∑∑∑the function and role of any sort of sexual assault
      13∑∑∑∑requesting.∑We don't dismiss it.                                      13∑∑∑∑review, whether it's a sexual assault review team or
      14∑∑Q.∑∑I got it.∑It's just that it's not -- in and of itself,              14∑∑∑∑whatever the verbiage might have been at Wayne County?
      15∑∑∑∑it's not enough?                                                      15∑∑∑∑What's its purpose?
      16∑∑A.∑∑Un-un.                                                              16∑∑A.∑∑In my opinion, the purpose is, and always was, to look
      17∑∑Q.∑∑That's a no?                                                        17∑∑∑∑at anything unusual that could be changed to improve
      18∑∑A.∑∑No, it's not in and of itself.                                      18∑∑∑∑safety in any sort of action, even if it's a suicide,
      19∑∑Q.∑∑I see you wrote a memo about trans inmates and this                 19∑∑∑∑even if it's an assault and battery, those type of
      20∑∑∑∑alternative lifestyle area.∑Did you understand that to                20∑∑∑∑reviews.∑You know, that's part of command's
      21∑∑∑∑be something that was just dictated by federal law,                   21∑∑∑∑responsibility, is to make sure we're doing the best we
      22∑∑∑∑that you needed to provide a safe area for people who                 22∑∑∑∑can and look at those incidents to determine is there
      23∑∑∑∑do qualify?                                                           23∑∑∑∑anything out of the ordinary.∑How can we change
      24∑∑A.∑∑No.∑I understand that we have to provide options for                24∑∑∑∑anything.∑And the things I responded to, it's clear
      25∑∑∑∑people as they present themselves.∑A transgender                      25∑∑∑∑why I looked into those.

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      ∑1∑∑∑∑person might not be comfortable on a special housing.                 ∑1∑∑Q.∑∑Okay.∑And certainly by 2015, or early 2016, I think
      ∑2∑∑∑∑They say I identify as male, and that's how I would                   ∑2∑∑∑∑you've already testified the department understood that
      ∑3∑∑∑∑like to be housed.∑Well, we'll look for options in                    ∑3∑∑∑∑that kind of review was necessary to protect against
      ∑4∑∑∑∑that regard.                                                          ∑4∑∑∑∑reasonably obvious risks to people that they might be
      ∑5∑∑Q.∑∑So, it is required that there be segregation of people              ∑5∑∑∑∑sexually assaulted, right?
      ∑6∑∑∑∑who are potentially transgender so that they're not                   ∑6∑∑A.∑∑Right.
      ∑7∑∑∑∑held with the gender they don't identify with?                        ∑7∑∑Q.∑∑And part of what they're reviewing is investigations,
      ∑8∑∑A.∑∑Yes.∑We have to look out for everyone's interest as                 ∑8∑∑∑∑right?∑You get a complaint, you got to investigate it,
      ∑9∑∑∑∑they enter.                                                           ∑9∑∑∑∑and then you got to like sort of post mortem the whole
      10∑∑Q.∑∑Certainly the department understood, in 2016, someone               10∑∑∑∑situation, right?
      11∑∑∑∑can be at risk of being sexually violated if they are                 11∑∑A.∑∑Right.
      12∑∑∑∑straight and they do not ask for an alternative                       12∑∑Q.∑∑And investigations had to be full and fair and complete
      13∑∑∑∑lifestyle?                                                            13∑∑∑∑and thorough in order for the sexual assault review
      14∑∑A.∑∑Correct.                                                            14∑∑∑∑team to do anything with them, right?∑That's what they
      15∑∑Q.∑∑Were you aware, in 2016, that MDOC had been separating              15∑∑∑∑should be at least?
      16∑∑∑∑potential victims and aggressors for years by then when               16∑∑A.∑∑Yes.
      17∑∑∑∑you sit down with Mr. Pappas and go through the policy?               17∑∑Q.∑∑Do you think that the investigators were required to
      18∑∑A.∑∑I think our awareness is that we were always looking                18∑∑∑∑look not just at what happened but why it happened?
      19∑∑∑∑out for aggressors and victimization in our intake,                   19∑∑A.∑∑I think that's part of a good investigation.
      20∑∑∑∑including sexual aggression victimization.                            20∑∑Q.∑∑So, did you write a set of disclosures for this case?
      21∑∑Q.∑∑Okay.∑Do you understand that MDOC had instituted                    21∑∑A.∑∑I'm not sure.
      22∑∑∑∑policies specifically rating people on the -- you                     22∑∑Q.∑∑I'll hand you what was sent to me as defendant's
      23∑∑∑∑understood PREA brought in specific factors you were                  23∑∑∑∑disclosure pursuant to rules of federal procedure.∑So,
      24∑∑∑∑required to assess, right?                                            24∑∑∑∑I don't know if we need to mark it, but I guess take a
      25∑∑A.∑∑Correct.                                                            25∑∑∑∑minute to look through it and tell me if you've seen


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      ∑1∑∑∑∑that document before.                                                  ∑1∑∑∑∑Things that you witnessed, things that you observed, or
      ∑2∑∑A.∑∑Is this something new or something old?                              ∑2∑∑∑∑things that, you know, add up to, you know, we did the
      ∑3∑∑Q.∑∑Is this something that you prepared, that you've seen                ∑3∑∑∑∑right thing with him.
      ∑4∑∑∑∑before?                                                                ∑4∑∑A.∑∑My opinion is that we did the right thing and we always
      ∑5∑∑A.∑∑I guess, I'm not sure what date it's from.                           ∑5∑∑∑∑do the right thing for the inmates that we house. I
      ∑6∑∑Q.∑∑It got to me on September 7th.∑And it's signed by                    ∑6∑∑∑∑can certainly -- I can witness that we have an intake
      ∑7∑∑∑∑Mr. O'Neill.                                                           ∑7∑∑∑∑system.∑That we have medical.∑That we have
      ∑8∑∑A.∑∑I know I looked at something similar to this before                  ∑8∑∑∑∑classification.∑That we have housing officers that do
      ∑9∑∑∑∑today, just a couple days ago, right.                                  ∑9∑∑∑∑rounds.∑That we protect our inmates.∑We rehouse them
      10∑∑Q.∑∑Okay.∑So, you've seen it.∑Do you know if you saw it                  10∑∑∑∑when necessary.∑That we advise them on the zero
      11∑∑∑∑before September 7th?                                                  11∑∑∑∑tolerance by signage and education, pamphlets.∑And
      12∑∑A.∑∑I don't know.                                                        12∑∑∑∑that we protect them by responding and investigating
      13∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Can we take a break when we get                      13∑∑∑∑and mitigating and providing services for victims.∑All
      14∑∑∑∑to a good breaking point.                                              14∑∑∑∑the things that we've been talking about.
      15∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑Just let me ask a few more                          15∑∑Q.∑∑Anything else?
      16∑∑∑∑questions.                                                             16∑∑A.∑∑I think intentional creation of our policies that we've
      17∑∑BY MS. PRESCOTT:                                                         17∑∑∑∑already talked about.∑Using the PREA resource for
      18∑∑Q.∑∑This isn't a list that you wrote out?                                18∑∑∑∑training and all the training that we've done for
      19∑∑A.∑∑No.                                                                  19∑∑∑∑everyone in the facility.
      20∑∑Q.∑∑Here in B it says that this is a summary of facts and                20∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑All right.∑Do you want to
      21∑∑∑∑opinions Director Davis is expected to testify about.                  21∑∑∑∑take that break?
      22∑∑∑∑And then there's a set of factors.∑A, from the prior                   22∑∑∑∑∑∑∑∑∑MR. O'NEILL:∑Sure.∑Thanks.
      23∑∑∑∑page, says Director Davis is expected to present                       23∑∑∑∑∑∑∑∑∑(Recess taken at 1:33 p.m.)
      24∑∑∑∑evidence under these rules regarding the fact that                     24∑∑∑∑∑∑∑∑∑(Back on the record at 1:38 p.m.)
      25∑∑∑∑Wayne County jail took measures to address the risk of                 25∑∑BY MS. PRESCOTT:

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      ∑1∑∑∑∑sexual assault in the jails, and thus, the defendants                  ∑1∑∑Q.∑∑Do you know anything about any medical review of
      ∑2∑∑∑∑did not act with deliberate indifference as to whether                 ∑2∑∑∑∑anything to do with Solomon or Burks at any time?
      ∑3∑∑∑∑plaintiff was subject to an assault in the jail on                     ∑3∑∑A.∑∑I think I gathered from the reports they had medical
      ∑4∑∑∑∑August 24th, 2016.∑Do you know how B relates to A?                     ∑4∑∑∑∑treatment after the attack.
      ∑5∑∑∑∑So, this list of B, does it go with the point in A?∑Or                 ∑5∑∑Q.∑∑How about anything from before the attack?
      ∑6∑∑∑∑do you know, one way or another?                                       ∑6∑∑A.∑∑Other than normal screening, I am not aware.
      ∑7∑∑A.∑∑I guess I don't have an opinion on that.                             ∑7∑∑Q.∑∑You're really not aware of the normal screening.∑You
      ∑8∑∑Q.∑∑Okay.∑Do you know what -- do you have a conception in                ∑8∑∑∑∑just have to know that everybody has to go through the
      ∑9∑∑∑∑your mind, or a view in your own words, of what it is,                 ∑9∑∑∑∑quarantine period and go to medical, right?
      10∑∑∑∑what amounts to deliberate indifference versus what is                 10∑∑A.∑∑Yes.
      11∑∑∑∑on the other side of that line?                                        11∑∑Q.∑∑So, what might have been done with Solomon, or meds, or
      12∑∑A.∑∑I don't think I could express an opinion on a legal                  12∑∑∑∑what his conditions were, you don't know?
      13∑∑∑∑concept like that.                                                     13∑∑A.∑∑I do not.
      14∑∑Q.∑∑Okay.∑Do you have a sense of what steps could be in                  14∑∑Q.∑∑So, you don't know whether he was a person who was,
      15∑∑∑∑this document, could not be in this document, that                     15∑∑∑∑because of medical conditions, a potentially eminent
      16∑∑∑∑Wayne County took that show it met its duties or its                   16∑∑∑∑danger to Mr. Burks?
      17∑∑∑∑responsibilities to Mr. Burks in the months, years,                    17∑∑A.∑∑I'm not aware of that.
      18∑∑∑∑days, leading up to his rape?                                          18∑∑Q.∑∑And have you testified about everything you know about
      19∑∑A.∑∑I mean, can I think of anything that hasn't been turned              19∑∑∑∑the housing of Mr. Solomon and Mr. Burks, the specifics
      20∑∑∑∑in prior to 2016, is that what you're asking?∑I don't                  20∑∑∑∑of who and what put them together, and what was the
      21∑∑∑∑know what you're asking.                                               21∑∑∑∑decision making there?∑I think you said you really
      22∑∑Q.∑∑I guess what I'm asking is there's -- you know, we have              22∑∑∑∑don't know about that, right?
      23∑∑∑∑-- I'm asking you about any facts that you would bring                 23∑∑A.∑∑That's correct.
      24∑∑∑∑to the table and say okay, this is what, in my view,                   24∑∑Q.∑∑You said that one of the things that's done, in
      25∑∑∑∑shows that we were doing the right thing by Mr. Burks.                 25∑∑∑∑general, is to re-house individuals, when necessary,


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      ∑1∑∑∑∑when there's fear or, you know, known enemies or                      ∑1∑∑∑∑whether policy was followed in the, you know, months

      ∑2∑∑∑∑threats or those kind of things, right?                               ∑2∑∑∑∑leading up to the rape, in terms of operational reviews

      ∑3∑∑A.∑∑Right.                                                              ∑3∑∑∑∑and keeping people trained, keeping people staffed

      ∑4∑∑Q.∑∑But you don't know whether those policies were carried              ∑4∑∑∑∑appropriately, and whatnot?

      ∑5∑∑∑∑out with regard to Burks or Solomon, correct?                         ∑5∑∑A.∑∑Yes.

      ∑6∑∑A.∑∑I do not.                                                           ∑6∑∑Q.∑∑Okay.∑Is there any factor, any item, assertion, in

      ∑7∑∑Q.∑∑Do you know whether Mr. Williams, Keith Williams, or                ∑7∑∑∑∑either of the reports that you know of, that wasn't

      ∑8∑∑∑∑Ms. Bell had any training specific to PREA standards                  ∑8∑∑∑∑accurate?∑So, the characterization of policy and

      ∑9∑∑∑∑before August 24th, 2016?                                             ∑9∑∑∑∑whether it's sufficient or not, it's on the record.

      10∑∑A.∑∑The answer is I know it was directed to happen. I                   10∑∑A.∑∑My impression was it was very lengthy, and I would have

      11∑∑∑∑don't know when it happened.∑Unless it's in the                       11∑∑∑∑to go over it again.

      12∑∑∑∑previous paperwork where we did find some signature                   12∑∑Q.∑∑Who do you think -- there have been times today where

      13∑∑∑∑sheets, I don't recall at this moment.                                13∑∑∑∑you said look, I know what the policy is supposed to

      14∑∑Q.∑∑You used a word, it was either all or always, in most               14∑∑∑∑be.∑I don't know how it was implemented.∑Who is

      15∑∑∑∑of your recent -- you know, we always protect all of                  15∑∑∑∑ultimately responsible for that question whether, on

      16∑∑∑∑the prisoners.∑And those are -- you know, I'm trying                  16∑∑∑∑610, on August 24, 2016, and the weeks and months

      17∑∑∑∑to recall exactly the wording and I won't be perfect at               17∑∑∑∑leading up to it, that would set the conditions that

      18∑∑∑∑it.∑But is it your testimony here today that Wayne                    18∑∑∑∑would apply that we were following policy?∑What is

      19∑∑∑∑County jail has always protected all the prisoners that               19∑∑∑∑that person's name?

      20∑∑∑∑have come through its doors?                                          20∑∑A.∑∑I guess that would be the commander of the facility who

      21∑∑A.∑∑I was trying to -- it might be hyperbole, but I'm                   21∑∑∑∑would have control over scheduling and duties and

      22∑∑∑∑suggesting that that's our business, to keep people                   22∑∑∑∑assignments.∑And they would have ultimate -- they

      23∑∑∑∑safe.∑And that's what we do every day.                                23∑∑∑∑would have the authority that I wouldn't have to look

      24∑∑Q.∑∑Okay.∑So, I guess what I'm taking, in part, is your                 24∑∑∑∑at all of those questions.

      25∑∑∑∑point -- I guess that -- well, strike that.                           25∑∑Q.∑∑Do you know whether the commanders, could they move



                                                                       Page 135                                                                     Page 137
      ∑1∑∑∑∑∑∑∑∑∑So, your point is that the goal is to keep                       ∑1∑∑∑∑between jails from time to time, or someone could be

      ∑2∑∑∑∑people safe, the effort is to keep people safe, not                   ∑2∑∑∑∑promoted and moved or whatever it may be, whether they

      ∑3∑∑∑∑necessarily that they are always safe?                                ∑3∑∑∑∑come in and take a look at the recent history of any
      ∑4∑∑A.∑∑Our goal is to keep everyone safe to the best of our                ∑4∑∑∑∑sexual assault or sexual harassment allegations that

      ∑5∑∑∑∑knowledge and experience and do our best to predict                   ∑5∑∑∑∑have been occurring here?

      ∑6∑∑∑∑dangerousness through the classification process.                     ∑6∑∑A.∑∑Not that I'm aware of.

      ∑7∑∑Q.∑∑Did you read the report -- you said that a couple of                ∑7∑∑Q.∑∑Do you see how that could be helpful in understanding

      ∑8∑∑∑∑the things that you looked at ahead of today were some                ∑8∑∑∑∑operationally what issues may be ongoing?
      ∑9∑∑∑∑reports of some experts that we hired.∑Did I interpret                ∑9∑∑A.∑∑In general that practice would be good.∑Not just for

      10∑∑∑∑that correctly?                                                       10∑∑∑∑this idea, but for operations in general.∑Maybe they

      11∑∑A.∑∑That's correct.                                                     11∑∑∑∑do.∑I don't know.
      12∑∑Q.∑∑Was there anything in the reports that you thought was              12∑∑Q.∑∑When they come in, they review other things, right,
      13∑∑∑∑incorrect?                                                            13∑∑∑∑where are we on staffing, on overtime?
      14∑∑A.∑∑I think that the PREA representative was incorrect in               14∑∑A.∑∑Correct.
      15∑∑∑∑her general assertion that we don't have any policy and               15∑∑Q.∑∑They come in and they look at where are we on
      16∑∑∑∑we don't do anything, which was my impression of what                 16∑∑∑∑headcount, correct?
      17∑∑∑∑she wrote.∑And I think the jail expert's opinion                      17∑∑A.∑∑Right.
      18∑∑∑∑saying that yes, I do have policy, but I didn't follow                18∑∑Q.∑∑So, it's not like the idea of coming in and looking at
      19∑∑∑∑it is incorrect.∑From what I know, we followed our                    19∑∑∑∑okay, where have we been, where are we heading.∑That's

      20∑∑∑∑policy.                                                               20∑∑∑∑not something out of the ordinary.∑It's just that they

      21∑∑Q.∑∑Have we covered everything that you know about the                  21∑∑∑∑haven't done it in these particular ways that you

      22∑∑∑∑following or not following of policy as to Burks,                     22∑∑∑∑described, right?
      23∑∑∑∑Solomon, and the rape?                                                23∑∑A.∑∑They could.∑I tracked results when I was commander.

      24∑∑A.∑∑Yes.                                                                24∑∑∑∑But I don't know what their practice is.

      25∑∑Q.∑∑And have we covered everything that you know about                  25∑∑Q.∑∑With a PREA lens or the review of what PREA required,




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      ∑1∑∑∑∑would it be appropriate to house someone who was a risk                ∑1∑∑∑∑MR. O'NEILL:∑I don't need a break.

      ∑2∑∑∑∑of being a serious harm to a bunkie in a situation                     ∑2∑∑∑∑MS. PRESCOTT:∑I can pass the witness.

      ∑3∑∑∑∑where they are together mingling all day, like in ward                 ∑3∑∑∑∑MR. O'NEILL:∑And no questions.∑Thank you.
      ∑4∑∑∑∑610?                                                                   ∑4∑∑∑∑(The expert deposition was concluded at

      ∑5∑∑A.∑∑I would only say change that to say known risk.                      ∑5∑∑1:52 p.m.∑Signature of the witness was not

      ∑6∑∑Q.∑∑A known risk?                                                        ∑6∑∑requested by counsel for the respective parties

      ∑7∑∑A.∑∑Yeah.                                                                ∑7∑∑hereto.)

      ∑8∑∑Q.∑∑Then the answer would be it would not be appropriate,                ∑8
      ∑9∑∑∑∑correct?                                                               ∑9

      10∑∑A.∑∑It is.∑I mean, in general, it's appropriate to not                   10

      11∑∑∑∑house someone who is a known risk with someone that's a                11

      12∑∑∑∑potential victim.∑So, sometimes those people would be                  12
      13∑∑∑∑housed alone.∑But it's hard to speculate.                              13

      14∑∑Q.∑∑Is it an expectation of an officer that if someone is                14

      15∑∑∑∑waving them over, calling for them like in the night,                  15

      16∑∑∑∑that they should assess what is going on?∑Is this                      16

      17∑∑∑∑real.∑Is there something they need.∑Would that be an                   17
      18∑∑∑∑expectation?                                                           18

      19∑∑A.∑∑Yes.                                                                 19

      20∑∑Q.∑∑Were you aware that Burks was waving a kite and calling              20

      21∑∑∑∑for help while he's just been raped overnight and the                  21

      22∑∑∑∑officer ignores him and doesn't help, doesn't render                   22
      23∑∑∑∑assistance?                                                            23

      24∑∑A.∑∑I was not aware of that.∑But I became aware, somehow                 24

      25∑∑∑∑in the deposition process, that there was a claim of                   25



                                                                        Page 139                                                                   Page 141
      ∑1∑∑∑∑that.∑If it's true or not, I do not know.                              ∑1∑∑∑∑∑∑∑∑∑∑∑CERTIFICATE OF REPORTER

      ∑2∑∑Q.∑∑So, that claim has been made by him under oath in a                  ∑2∑∑STATE OF MICHIGAN )

      ∑3∑∑∑∑court of law and in a federal lawsuit.∑So, the under                   ∑3∑∑∑∑∑∑∑∑∑∑∑) SS
      ∑4∑∑∑∑oath part was, I don't know, 2017.∑All the way up to                   ∑4∑∑COUNTY OF MACOMB∑)

      ∑5∑∑∑∑the lawsuit is filed in 2019.∑Do you know of anyone                    ∑5

      ∑6∑∑∑∑that ever went back, given those pieces of information,                ∑6∑∑∑∑∑∑∑∑∑∑I, LAURA AMBRO, certify that this deposition

      ∑7∑∑∑∑and said you're still supervising people, let's ask you                ∑7∑∑∑∑was taken before me on the date hereinbefore set forth;

      ∑8∑∑∑∑about this.∑Let's find out what your take is on that.                  ∑8∑∑∑∑that the foregoing questions and answers were recorded
      ∑9∑∑∑∑Did anyone do that right up until I called him in and                  ∑9∑∑∑∑by me stenographically and reduced to computer

      10∑∑∑∑subpoenaed him?                                                        10∑∑∑∑transcription; that this is a true, full and correct

      11∑∑A.∑∑I wouldn't have any direct knowledge if that occurred                11∑∑∑∑transcript of my stenographic notes so taken; and that

      12∑∑∑∑or if someone responded.∑But my experience is that's                   12∑∑∑∑I am not related to, nor of counsel to, either party
      13∑∑∑∑what we do.∑Of course we would respond because on                      13∑∑∑∑nor interested in the event of this cause.

      14∑∑∑∑midnights you can hear -- it's quiet and you can hear                  14

      15∑∑∑∑someone asking for assistance.∑Of course we would                      15

      16∑∑∑∑respond.                                                               16

      17∑∑Q.∑∑It would not be appropriate to allow a person to go                  17
      18∑∑∑∑overnight before they could get help that they were                    18

      19∑∑∑∑asking for?                                                            19

      20∑∑A.∑∑We would help them immediately once we were informed.                20

      21∑∑Q.∑∑So, did you say no, that we would help them                          21

      22∑∑∑∑immediately?                                                           22∑∑∑∑∑∑∑∑∑∑∑∑LAURA AMBRO, CSR-5882
      23∑∑A.∑∑Once we were informed, yes.                                          23∑∑∑∑∑∑∑∑∑∑∑∑Notary Public,

      24∑∑∑∑∑∑∑∑∑MS. PRESCOTT:∑I think that I'm done.∑If you                       24∑∑∑∑∑∑∑∑∑∑∑∑Macomb County, Michigan.
      25∑∑∑∑want to take a break.                                                  25∑∑∑∑My Commission expires: July 5, 2026




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